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  20-4238-cv
      United States Court of Appeals
                                     for the

                       Second Circuit

  MARCIA MELENDEZ, JARICAN REALTY INC., 1025 PACIFIC LLC,
   LING YANG, TOP EAST REALTY LLC, HAIGHT TRADE LLC,
       ELIAS BOCHNER, 287 7TH AVENUE REALTY LLC,

                                                             Plaintiffs-Appellants,

                                     – v. –

 CITY OF NEW YORK, a municipal entity, MAYOR BILL DE BLASIO, as
  Mayor of the City of New York, COMMISSIONER LOUISE CARROLL,
  Commissioner of New York City Department of Housing Preservation &
   Development, COMMISSIONER JONNEL DORIS, Commissioner of
          New York City Department of Small Business Services,

                                                            Defendants-Appellees.
                    ––––––––––––––––––––––––––––––
        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF NEW YORK


                      JOINT APPENDIX
             Volume 7 of 16 (Pages A-1643 to A-1905)


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       Press Release: Small Property Owners of New
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       CNBC Article: Retail Rents Plummet Across
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           Q'IbE New N",ork ginics              https://nyti.ms/3eDvM 18




11 Numbers That Show How the Coronavirus Has
Changed N.Y.C.
Unemployment has skyrocketed, but so has the size of the city's volunteer pool
and the number of people fostering animals. One month into the shutdown, the
city is as complex as it ever was.


By Corina Knoll, Azi Paybarah, Jacob Meschke and Elaine Chen

April 20, 2020


New York City has never looked so unlike itself. Deserted streets and vacant stores.
Essential workers taking to lonely subways. Mandatory face coverings.

But beyond the changes we can see outright are other lifestyle shifts that reflect the
struggles and needs that have emerged within the last month.

Unemployment, of course, is up, and the number is staggering. With the state's
shutdown extended until at least May 15, it is adesperate time for many.

But some of the data shows glimmers of hope. While hundreds of food banks were
forced to close, the city's volunteer pool vastly expanded. Air pollution is down.
Applications to foster abandoned animals skyrocketed.

Our altered city, by the numbers, is just as complex as the one we remember.


2,637%
Increase in unemployment claims




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....   8/12/2020
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  Acommercial district in the Bronx. Desiree Rios for The New York Times



During the week of March 22, nearly 144,000 unemployment claims were made in
New York City. That constituted a2,637 percent increase from last year, when the
same time frame yielded about 5,300 claims.

And there's still many who have yet to file as the state's system was overwhelmed.


7%
Decrease in trash collection in Manhattan




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....   8/12/2020
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  Sanitation workers in Brooklyn. Demetrius Freeman for The New York Times




March data from the city's Department of Sanitation shows the amount of refuse
collected from Manhattan residences shrank by nearly 7percent compared to the
borough average for that month over the last five years.

The decrease is most likely areflection of New Yorkers who had the means to
relocate.

Greenwich Village, the Upper West Side and the Upper East Side, neighborhoods
with some of the highest median incomes in the city, led the way with 11,10 and 8
percent declines.

The rest of the city saw little change, although Staten Island logged the biggest
increase, producing over 7percent more refuse than usual.


3,000
Number of applications to Foster Dogs




  The Union Square farmers market in Manhattan. James Sprankle for The New York Times




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....   8/12/2020
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Interest in fostering pets has surged in the city, as many New Yorkers find
themselves looking for companionship and having more time at home to care for a
pet.



           Latest Updates: The Coronavirus Outbreak >
           Updated 2020-08-12T10:58:18.105Z


            •Scores of restaurants in the U.S. have had to temporarily close after outbreaks.

            •Britain's lockdown recession is the deepest in Europe and North America.

            •Crisis in the nation, crickets on Capitol Hill.

           More live coverage: Markets



Foster Dogs, anonprofit that works with about 30 shelters and rescue organizations
in the New York City area, fielded more than 3,000 applications for fostering in
March. Traffic to its website increased 250 percent.

In comparison, Foster Dogs received an average of 140 applications amonth in
2019.

"It was more interest than we've ever seen before," said Sarah Brasky, who
founded the organization.

In March, Muddy Paws Rescue, aNew York nonprofit, received seven times the
number of applications for dog fostering than it had just two months earlier.


18%
Decrease in morning electricity usage




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....           8/12/2020
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  Overlooking the Cypress Hills neighborhood of Brooklyn. Sarah Blesener for The New York Times




The dip began as workplaces and schools started closing, then accelerated through
the rest of March.

By the end of the month, the city's energy use was down by more than 10 percent,
according to the New York Independent System Operator, the agency responsible
for managing the state's electric grid.

The change was most pronounced on weekday mornings, when usage would
normally spike as people started their days and businesses opened. With
nonessential workers ordered to stay home, it appeared that many were awakening
later than usual.


42%
Increase in complaints about loud televisions

New Yorkers' patience with noisy neighbors has run thin, particularly when it
comes to blaring televisions, which prompted a42 percent increase in 311
complaints in March compared to last year, according to NYC Open Data.

Complaints of loud talking and music increased by 12 and 30 percent across the city.

Similarly, residential noise complaints, abroad category that's also one of the most
common, rose significantly in every borough, peaking with a33 percent increase in
Staten Island. New Yorkers are especially irritated with helicopter noise;
grievances about helicopters have tripled across the city.


90%
Decrease in subway ridership




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....             8/12/2020
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  An elevated subway platform in the East New York neighborhood of Brooklyn. Juan Arredondo for The
  New York Times




The Metropolitan Transportation Authority has struggled the last three years to
improve acrumbling system, even as ridership numbers had been higher than ever.
Last year, during one week in mid-April, 34 million swipes were recorded at M.T.A.
stations.

That number was whittled down to just 2.5 million rides during the week ending
April 11. The steepest declines were in Manhattan, while the Bronx, which has the
highest poverty rate of any of the boroughs, saw ridership drop the least.

The M.T.A., which oversees the subways, buses and two commuter rails, has
suffered crew shortages as thousands fall sick. So far, the agency has reduced bus
service and temporarily eliminated some subway lines. Already deep in debt and
heavily reliant on revenue from fares, New York City's transit faces atough future.


19.9%
Decrease in overall crime as the city shut down




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....        8/12/2020
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  Police officers in the SoHo neighborhood of Manhattan. Diana Zeyneb Alhindawi for The New York Times




March began with an uptick in major crimes, such as murder and burglary, but
there was soon asharp decline in overall crime in every borough.

From March 12 through March 31, murders decreased by 25 percent when
compared with the same period last year, according to the Police Department.
Complaints of rape and grand larceny both went down as well.

Reports of domestic violence fell nearly 15 percent. That drop, however, could mean
victims have been less able to report abuse.

The virus has put astrain on the department: It must enforce the new restrictive
rules while dealing with adiminished force. One out of every six New York City
police officers is out sick or in quarantine.


60%
Decrease in traffic at the busiest bridges and tunnels




  The Belt Parkway in the Bay Ridge neighborhood of Brooklyn. Stephen Speranza for The New York Times




On the first Monday in March, more than 850,000 vehicles traveled across the
M.T.A.'s nine city crossings, including the Queens-Midtown Tunnel and the
Verrazzano-Narrows Bridge. Three weeks later, that number had plummeted to
about 351,000.




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....           8/12/2020
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The less congested roads gave drivers anewfound sense of freedom. The city's
automated speed cameras issued nearly 25,000 speeding tickets in asingle day at
the end of March, double the number from the previous month, according to city
data.

Still, the roads have appeared safer. Traffic accidents overall dropped nearly 60
percent, with just over 1,000 motor vehicle collisions reported during the last week
in March, according to an analysis of police data by anonprofit watchdog group.


288%
More people signed up to volunteer




  A storefront in the West Harlem neighborhood of Manhattan. srittainy Newman/The New York Times




Many New Yorkers volunteer each year, but March alone had an increase of almost
three times the number of volunteer applications, with 6,500 compared with around
2,400 last year, based on data from New York Cares, an expansive volunteer
network, which partnered with the city to coordinate coronavirus relief efforts.

The large spike in those eager to assist their communities was often directed
toward food programs and social support for older adults, the primary areas of need
across the city.

"There's ahuge surge in need for virtual volunteering, to have afriend or neighbor
to talk to," said Anusha Venkataraman, the city's chief service officer.




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....       8/12/2020
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New York Cares reported that its volunteers distributed more than 130,000 meals in
March — 55,000 more than the previous month.



37%
Of food banks have closed




  The food pantry at New Covenant Dominion Cathedral in the Morrisania neighborhood of the
  Bronx. Desiree Rios for The New York Times




Despite the increased interest in volunteering, the heightened danger from
coronavirus to those over 65 years of age has forced some food bank sites to close,
particularly those run by volunteers who are older and retired.

City Harvest and Food Bank for New York City, the two largest food charities in the
city, have seen areduction in the number of soup kitchens and pantries they serve.
Nearly 40 percent of Food Bank's 800 delivery sites have closed while City Harvest
reported that one-third of the 284 sites it serves have closed.



25%
Decrease in air pollution across the city




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....        8/12/2020
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   Overlooking the Williamsburg, Manhattan and Brooklyn Bridges. Ryan Christopher Jones for The New
  York Times




In atwist, the stay-at-home efforts have made it safer to breathe outside.

Air quality has vastly improved, with an average 25 percent decrease in pollution
across the city, based on data by state environmental monitors of the levels of
particulate matter, apollutant tied to asthma and lung cancer.

Staten Island showed the most dramatic drop at 35 percent. The borough has long
had areputation for noxious skies from heavy traffic and ferries and barges in New
York Harbor.

Reporting was contributed by Winnie Hu, Nikita Stewart, Lindsey Rogers Cook and Ashley Southall.




https://www.nytimes. com/2020/04/20/nyregion/coronavirus-nyc-numbers-unemployment....         8/12/2020
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         COMMITTEE      ON    HOUSING      AND     BUILDINGS           JOINTLY   WITH
         COMMITTEE      ON    CONSUMER AFFAIRS               AND   BUSINESS
   1     LICENSING                                                                  1


   2     CITY   COUNCIL
         CITY   OF NEW     YORK
   3
                                                 X
   4
         TRANSCRIPT      OF    THE    MINUTES
   5
                        Of    the
   6
         COMMITTEE    ON      HOUSING AND        BUILDINGS
   7     JOINTLY WITH         THE    COMMITTEE        ON
         CONSUMER AFFAIRS            AND   BUSINESS
   8     LICENSING


   9                                             X


 10                                  April    28,      2020
                                     Start:           1:15      P.M.
 11                                  Recess:          4:00      p.m.


 12
         HELD   AT:                  Remote      Hearing
 13
         B E F O R E:                Robert      E.    Cornegy,         Jr.,
 14                                  Chairperson           of    the    Committee   on
                                     Housing       and Buildings
 15
                                     Andrew      Cohen,
 16                                  Chairperson           of    the    Committee   on
                                     Consumer         Affairs      and Business
 17                                  Licensing


 18
        COUNCIL   MEMBERS:
 19                                  Speaker       Corey        Johnson

                                     Margaret         Chin
 20
                                     Karen    Koslowitz

                                     Brad    Lander
 21
                                     Justin      Brannan

 22                                  Kalman      Yeger

                                     Ritchie       Torres
 23
                                     Farah    N.      Louis

                                     Fernando         Cabrera
 24
                                     Carlina       Rivera

 25
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         COMMITTEE      ON   HOUSING   AND   BUILDINGS    JOINTLY WITH

   1     COMMITTEE      ON   CONSUMER AFFAIRS      AND   BUSINESS
         LICENSING

   2    COUNCIL   MEMBERS      (CONT.):


   3                             Barry    Grodenchik
                                 Mark    Gjonaj
   4                             Keith    Powers
                                 Helen    Rosenthal
   5


   6


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         COMMITTEE      ON   HOUSING       AND        BUILDINGS     JOINTLY WITH

   1     COMMITTEE      ON   CONSUMER AFFAIRS               AND   BUSINESS
         LICENSING                                                                  3

   2                         A P P E A R A N C E S


   3
           Michael      McKee

           Treasurer         of    the   Tenants        Political       Action
   4
           Committee

   5
           Barika     Williams
   6       Executive         Director       at    Association          for

           Neighborhood            and Housing          Development
   7


   8       Caryn     Schreiber

           Legal     Aid     Society
   9

           Andy Morrison
 10
           Campaigns         Director       at    New     Economy      Project

 11
           Oksana     Mironova
 12        Housing      Policy Analyst


 13
            Dana    Sussman

 14        Commission         on    Human    Rights


 15         Sheriff     Joseph       Fucito

            Department        of    Finance
 16

           AnnMarie        Santiago
 17
            Department        Housing       Preservation          and    Development
 18

           Ava     Farkas
 19
           Met     Council

 20
            Julia    Duranti-Martinez

 21        Campaign        Coordinator           at    New Economy       Project


 22
            Joseph    Condon

           Community Housing               Improvement         Program,      CHIP
 23


 24         David    Chemtob

           Renaissance            Realty
 25
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         COMMITTEE      ON   HOUSING   AND    BUILDINGS     JOINTLY WITH

   1     COMMITTEE      ON   CONSUMER AFFAIRS        AND   BUSINESS
         LICENSING

   2                         A P P E A R A N C E S(CONT.)


   3
           Kenneth      Litwack

           Marshals      Association     of    the   City   of    New York
   4


   5


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         COMMITTEE         ON    HOUSING       AND       BUILDINGS              JOINTLY WITH

   1     COMMITTEE         ON    CONSUMER AFFAIRS                   AND       BUSINESS
         LICENSING                                                                                     5

   2         UNIDENTIFIED:             Okay,         Dane,         we     can    begin.


   3          CHAIRPERSON          CORNEGY:         Are       you       ready        for    me    to


   4          gavel    in?


   5         UNIDENTIFIED:             Dane,        we    cannot           hear       you.


   6          CHAIRPERSON          CORNEGY:           Ralph,             start       it


   7         UNIDENTIFIED:             Good     afternoon                 ladies          and


   8   gentleman       and welcome             to    today's             New    York       City


   9   hearing.        At       this   time,        we    ask       that       everyone          to


 10    silence    all       electronic          devices.                 We    need       everyone         to


 11    turn    their       cameras       at    the       beginning             of    the       hearing       on


 12    for    proper       identification.                    Please          mute    your


 13    microphones          on    Zoom.        Microphones                will       be    unmuted         for


 14    you when       it    is    your    turn       to       speak.           Silence          all


 15    electronic          devices,       so    as       to    eliminate             any


 16    disturbances             during    your       testimony.                 Any members             of


 17    the    public       wishing       to    testify             can    email       their


 18    statements          to    testimony@council.nyc.gov.                                Again,       you


 19    can    email    your       testimony          to


 20    testimony@council.nyc.gov.                             We    are       ready       to    begin


 21    today's    hearing.


 22           CHAIRPERSON          CORNEGY:          [Gavel]             Welcome           to    today's


 23    hearing    held by          Committee             on    Housing          and Buildings


 24    chaired by myself               and     the       Committee             on    Consumer


 25    Affairs    and Business                Licensing             chaired by             Council
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         COMMITTEE         ON    HOUSING       AND    BUILDINGS             JOINTLY WITH

   1     COMMITTEE         ON    CONSUMER AFFAIRS                AND       BUSINESS
         LICENSING                                                                                  6

   2   Member       Andrew       Cohen.        We    are    also       joined          today by


   3   Speaker       Corey       Johnson       who    would          like    to    share       some


   4   opening       remarks.


   5          SPEAKER       JOHNSON:           Thank       you    Chairs         Cornegy        and


   6   Cohen    for       holding       this    hearing          today.           Nice    to    see


   7   everyone,          I hope       everyone       is    safe       and       healthy       and      I


   8   want    to    just       remember       all    of    the       hero's       out    there.


   9   Our    healthcare          workers       and    all       of    the       city workers


 10    that    we    have       lost,    so    many    of       them during             this    hard


 11    time.


 12          This    crisis        has    us    fighting          on   two        fronts;


 13    against       the    virus       and    against          an    unprecedented


 14    economic       crisis.           We    can't    forget          that       the    suffering


 15    and    anxiety       in    New York          City    right          now    isn't    just


 16    about    health.           It's       also    about       peoples          economic


 17    circumstances.


 18          When    you     are    being      hounded by              creditors         because


 19    you    are   behind        on    bills.        When       your       landlord maybe


 20    harassing          you    for    your    rent       or    you're          worried       about


 21    whether       you    can    afford       to    feed       your       family,       that       fear


 22    can    become       overwhelming.              New       York       City was       in    a


 23    housing       emergency          even    before          this       epidemic.           Almost


 24    a third       of    New Yorkers          were       late       on    their       rent.        20


 25    percent       had    the    utilities          shut       off       and    19    percent
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         COMMITTEE ON HOUSING AND BUILDINGS                                 JOINTLY WITH
   1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
         LICENSING                                                                              7

   2   were    doubled up          in    apartments,          15 percent were                  facing


   3   eviction.           Almost half          of New Yorkers                are    at   or    near


   4   the poverty line             and now,          over half             a million workers


   5   are probably out             of    a job.


   6          The    ripple       effects       here    are       devastating.


   7   Unemployment benefits                   will    help but             it's    not   that


   8   simple.        Not       everyone       is    eligible          and payments            have


   9   been very          slow to       arrive.        If    you were          struggling


 10    before       and had to pay your bills                      with       credit      cards


 11    over money,          back payments             aren't       going to make               you


 12    whole.        That means          that many tenants                  won't be       able       to


 13    pay rent.           But    keeping       renters       in       their homes         has       to


 14    be   our     number       one priority.              Not    just       during this


 15    crisis       but    after    the    emergency orders                   are    lifted.          We


 16    have    to    give New Yorkers                impacted by this                crisis      a


 17    fighting       chance       to    get back on          their          feet.


 18           So,    today we       are   hearing two bills                   that will         help


 19    give New Yorkers             some piece          of mind to             let    them know


 20    that    the    City Council             is    going to          do    everything we


 21    can to make          sure New Yorkers                aren't          going to      suffer


 22    harms      that we        can't    fix       later.        We    can't       compound the


 23    tragedies          we're    already          seeing by letting New Yorkers


 24    become       homeless       or have          creditors          go    after    them


 25    because       of    no    fault    of    their       own.
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         COMMITTEE         ON    HOUSING           AND   BUILDINGS              JOINTLY WITH

   1     COMMITTEE         ON    CONSUMER AFFAIRS                   AND        BUSINESS
         LICENSING                                                                                  8

   2          Introduction             1936    which          I'm    co-sponsoring with


   3   Council       Member       Torres,          would protect                tenants       impacted


   4   by COVID-19             from    landlords             who    may       retaliate       against


   5   them.        And    Intro.          1912,    which          I've       sponsored would


   6   protect       the       hundreds       of    thousands             of    vulnerable          New


   7   Yorkers       and       struggling          business             owners.


   8          While   many mortgage                 holders             have    been    offered


   9   more    concrete          relief,          renters          and business          owners         are


 10    left    to    worry       of    what       will       happen       when    temporary


 11    eviction       moratoriums             are       lifted.           And    those       with


 12    debts    like       medical          bills       or    credit          cards    are    left      to


 13    hope    that       their       lenders       will       do       the    right    thing.


 14           We're       going       to   need     rent       cancelation             and


 15    reductions          but    while       we    work       to       make    that    happen,         we


 16    need    to    put       a backstop          in    place.


 17           Introduction             1912    will      prevent              Marshals       and    City


 18    Sheriffs       from       taking       property             or    executing       money


 19    judgements.              This       means    that       evictions          and    debt


 20    collection          would be          paused.           It       also    means    tenants


 21    would    have       time       to    repay       their       rent.        This    would


 22    apply    to    actions          against          all    New       Yorkers       through


 23    September          or    longer       if    the       state       of    emergency


 24    continues          into    the       fall.


 25
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          COMMITTEE           ON   HOUSING        AND     BUILDINGS          JOINTLY WITH

   1      COMMITTEE           ON   CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                  9

   2           If    you   were       impacted by          COVID-19,          Marshals          and


   3    Sherriff's            will    be   banned        from       collecting          debts    and


   4    performing            evictions       until       April       of    2021.        We    have       a


   5    lot    more       work here        but     I believe          these       bills       will       put


   6    us    on    the    right      track.


   7           I want      to      thank     all    the    advocates,             the


   8    stakeholders            and    the    members          of    the    Administration


   9    who    are      here    today.        I look       forward          to    hearing       from


  10    you    all      and    I now       turn    it    back       over    to    Chair       Cornegy.


  11    Chair       Cornegy?          Did we       lose    the       Chair?        I'll       turn       it


  12    over       to   Chair      Cohen.


  13           CO-CHAIR         COHEN:        Alright,          are    we    still       looking


  14    for    Rob?


  15           SPEAKER         JOHNSON:           I don't       see    him on       here,       so


  16    you    may want         to    go    in.


  17           CO-CHAIR         COHEN:       Alright,           now,       I'm gone.


  18           SPEAKER         JOHNSON:           No,    you    are       here.


  19           CO-CHAIR         COHEN:        I don't          know why my          screen       is


  20    going.


  21           SPEAKER         JOHNSON:           You're       on.


  22           CO-CHAIR         COHEN:        I appreciate                that,    except       that


  23    my    screen       unfortunately            for    some       reason       has    gone


  24    black       and    it's      going    to    be    hard       to    read my       opening.


  25           SPEAKER         JOHNSON:           Okay.
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          COMMITTEE         ON    HOUSING          AND     BUILDINGS               JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                      AND     BUSINESS
          LICENSING                                                                                        10

   2           CO-CHAIR          COHEN:           I don't          know what's                going    on.


   3           SPEAKER         JOHNSON:            Take       your       time.           Thank    you       to


   4    everyone       for       your       patience.              We    are       doing       this


   5    remotely,         it     isn't       easy,       so    I appreciate                   everyone


   6    bearing       with       us.


   7           If   the     Sergeants             or    Carl       if    you       are    there       if    you


   8    could       reach      out     to    Chair       Cornegy.


   9           UNIDENTIFIED:                 In    the    process             of    doing       that       now.


  10           SPEAKER JOHNSON:                    Thank       you.


  11           CO-CHAIR          COHEN:           I am happy             to    give       my    opening,


  12    so.


  13           SPEAKER         JOHNSON:            Okay,       go       ahead.


  14           CO-CHAIR          COHEN:           I don't       want          to    freelance          but


  15    I'm    going      to     start       by wising my                Speaker          a happy


  16    birthday       today.


  17           SPEAKER         JOHNSON:            Thank       you.


  18           CO-CHAIR          COHEN:           And    then       I'm going             to    say    good


  19    afternoon         to     everybody.              I am Andrew                Cohen       and    I am


  20    the    Chair      of     the    Committee             on    Consumer             Affairs       and


  21    Business       Licensing.


  22           I want       to    thank       everyone          who       has       managed       to       join


  23    us    for    this      remote        hearing.              I want          to    thank    Council


  24    Member       Cornegy,          although          he    can't          hear       me    right       at


  25    this    second.           He    is    the       driving          force          behind    this
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          COMMITTEE ON HOUSING AND BUILDINGS                                    JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                  11

   2    hearing.              As    it will be mentioned at                      today's       hearing,


   3    we're       seeking          feedback on          two pieces             of    legislation.


   4    I am looking                forward to hearing                from a broad             spectrum


   5    of   stakeholders              including tenants,                      property owners,


   6    the Marshals,                Sheriff's,          the    advocates,             and the


   7    public,          so    that    the       Council       can    get       a better


   8    perspective                on both       sides    of    the       issue.


   9         With these bills,                     the   Council           hopes       to mitigate


  10    tenant harassment                   during the          COVID-19             crisis    and help


  11    keep    as       many       folks    as    possible          in    their homes          and


  12    business          properties.


  13           In    addition,             the    Council      recognizes              many


  14    landlords             are    facing       financial pressures                   and need to


  15    weigh       in    on       these    issues       during these                challenging


  16    times.           Intro.       1912       which has       been          introduced by the


  17    Speaker,          would limit             the    actions          of    City Sheriff's


  18    and Marshals                would limit          the    action          City Marshals             and


  19    Sheriffs          could take             during both the pandemic                      and post


  20    crisis       recovery.


  21           The    COVID emergency is                   disrupting people's                   lives


  22    in   the most horrific                    of ways.           So,       the    last    thing


  23    that    they          should have          to worry about                is    having their


  24    money or property                   seized.        I am very             supportive          of


  25    the various                addition moratoria by both the                            state    and
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          COMMITTEE         ON    HOUSING       AND       BUILDINGS              JOINTLY WITH

   1      COMMITTEE         ON     CONSUMER AFFAIRS                   AND      BUSINESS
          LICENSING                                                                                        12

   2    federal       governments             and    as       the    Chair          of    Consumer


   3    Affairs       and Business             Licensing             Committee,               I am very


   4    happy    to    see      that     we    are       trying          to    do    what       we      can    on


   5    the    local       level.


   6           I commend         the     Speaker          on    his       leadership               on    this


   7    issue.        I look         forward        to    gathering             feedback             from our


   8    witnesses          today,       so    that       we    can       ensure          that      this


   9    legislation             successfully             achieves             its    aims.           Before


  10    we    begin    the      testimony,           I would             like       to    thank         the


  11    central       staff       for    the    hours          and hours             and      hours       of


  12    work    it    took      to     get    media       prepared             and       to   get       this


  13    hearing       up    and      running.            I would          also       like       to


  14    acknowledge          the       Committee          Members             who    have       joined         us.


  15    I think we          have       Council       Members             Chin,       Koslowitz,


  16    Lander,       Brannan,          Koo,    Yeger.


  17           And with         that,        I don't          know       if    Robert         is    back,


  18    but    I will       —


  19           UNIDENTIFIED:                 He's    back.


  20           CO-CHAIR         COHEN:         Turn       it   back           over       to   Rob.        Thank


  21    you,    Rob.


  22           CHAIRPERSON             CORNEGY:           Sorry          about       that,         I don't


  23    know we       lost      my     feed    a little             bit       but    thank         you    for


  24    jumping       right       in    Chair       Cohen,          as    you       always         do    and


  25    saving       the    day.
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          COMMITTEE ON HOUSING AND BUILDINGS                                 JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                     13

   2           I want          to    thank Speaker          Johnson          and also wish him


   3    a very happy birthday.                       Unfortunately,                you have             to


   4    celebrate          it with us          in    this    way but          you       are       always


   5    willing to             stand up       and be    there          for us,          so    I


   6    appreciate             you    Speaker       Johnson.


   7           As   we    all        know the       impacts       of   the        novel


   8    coronavirus             have been       devastating and vast.                             At    this


   9    hearing,          the       Committees       hope    to    gain       a better


  10    understanding of                the    economic       implications                   of    the


  11    virus.           With       special    attention paid to                   the       struggles


  12    of    tenants          as    residents       citywide          face       unprecedented


  13    financial          strain.


  14           To   that        end,    we'll       also be    hearing two pieces                            of


  15    legislation             aimed at protecting tenants                         as       the       City


  16    works       to    recover       from this       crisis.              In    an    effort


  17    curtail          the    spread of       the virus,             the    state          has       been


  18    on pause          since March which has                   been       a critical                tool


  19    to    facilitate             social    distancing and                save       lives.           An


  20    unfortunate but                necessary component                   of    this       pause          is


  21    the    closure          of    nonessential businesses                      effectively


  22    stalling much of                the    city's       economy.              The    result has


  23    been    a loss          of    employments       for hundreds                of       thousands


  24    of New Yorkers                and the       numbers       continue          to       grow.


  25
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          COMMITTEE ON HOUSING AND BUILDINGS                               JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                 14

   2         Now,       in     a city where           a disproportionate                    share       of


   3    the population was                rent burdened even prior                          to    the


   4    pandemic,         more     and more           residents          are    not       sure    how


   5    they will make              rent.        In    an    effort       to mitigate             some


   6    of   the    renters         concerns,          the    state       and    federal


   7    government have              each enacted measures                      to halt


   8    evictions         for      a period of          time.


   9         While       this      allows        tenants       to    remain          in    their


  10    apartments           for   now,     it    does       not    guarantee             the    tenants


  11    unable      to pay rent will be                     able    to    stay in          their


  12    apartment         once      eviction          actions       resume.           Or    that


  13    tenants         will be      safe    from the          landlord harassment                      on


  14    the basis         of having been               impacted by the virus.


  15         Today,          we will be          hearing two bills                   that       seek to


  16    provide         additional        long term protections                       to    tenants


  17    effected by the              crisis.           The    first       is    Intro.          1912,


  18    which      is    sponsored by the               Speaker.           This       bill would


  19    prohibit         the    City Sheriff            and Marshals             from taking


  20    certain         actions      related to             eviction       and debt


  21    collection until              the    end of          the    first month after                   the


  22    state      of    emergency of            September          30,    2020,          whichever


  23    is   later.


  24         For New Yorkers                impacted by COVID-19,                         the    effects


  25    of   the bill would be               to       extend until             the    end of       the
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             COMMITTEE       ON      HOUSING          AND       BUILDINGS          JOINTLY WITH

   1         COMMITTEE       ON      CONSUMER AFFAIRS                    AND      BUSINESS
             LICENSING                                                                                        15

   2    seventh       month          after       the       state       of    emergency             or    April


   3    1,    2021,       whichever             is    later.


   4           Second,          is    Intro.          1936      which        is    sponsored by


   5    Council       Member          Ritchie          Torres          and       the    Speaker.              This


   6    bill    would make                it    illegal          for    a landlord             to       harass       a


   7    tenant       based       on       their       status       as       a person          impacted by


   8    COVID-19.           Including                whether       they          are    an    essential


   9    worker       or    because             they were          laid       off       or    because          they


  10    received          a rental             concession          or       forbearance             where          the


  11    eviction          moratoria             were       in    effect.


  12           We    look       forward          to    hearing          from       the       Department            of


  13    Housing       Preservation                   and    Development,                the    Department


  14    of    Finance       and       the       Commissioner                on    Human       Rights          as


  15    well    as    from       interested members                         of    the       public       about


  16    these       bills.           We    will       now hear          an       opening       statement


  17    from    Chair       Cohen,             well    actually,             you       already          heard


  18    that    statement             from       Chair          Cohen.           Thank       you    so    much


  19    and    I do       want       to    add before             we    go       into       testimony          that


  20    we've       also    been          joined by             Justin       Brannan,          Ritchie


  21    Torres,       and       Farah          Louis.


  22           At    this    point,             I'll    hand       it       over       to Austen.


  23           AUSTEN       BRANDFORD:                 Yeah,       great,          thank       you.           I am


  24    Austen       Brandford,                I'm    Counsel          for       the    City       Council          of


  25    Committee          on    Housing             and Buildings                and before             we
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          COMMITTEE         ON    HOUSING             AND    BUILDINGS           JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                   AND     BUSINESS
          LICENSING                                                                                     16

   2    start,       I want       to       remind       everyone          that       you    will       be    on


   3    mute    until       you       are    called          on    to    testify.           I'd      like        to


   4    point    you       will       be    unmuted by             the    host.        I will          be


   5    calling       on    panelists             to    testify.           Please          listen       for


   6    your    name       to    be    called          as    I will       be    periodically


   7    announcing who                the    next       panelist          will       be.        During       the


   8    hearing,       if       Council          Members          have    questions,            please


   9    use    the    Zoom       raise       hand       function          and    I will          call       you


  10    in    order.


  11           When    called upon,                please         be     sure    to    let      us     know


  12    to    whom your          questions             are    directed,          so    they       can       be


  13    unmuted       to.        We    will       be    limiting          Council          Member


  14    questions          for    four       minutes          including          responses.                 Our


  15    first    panelist             will       be    Mike       McKee,       Barika       Williams,


  16    Caryn    Schreiber             and Andy Morrison.                       I will          call    you


  17    when    it's       your       turn       to    speak       and    your       testimony will


  18    be    limited       to    three          minutes.           A Sergeant             at   Arms        will


  19    keep    a timer          and       let    you       know when          you    begin       and when


  20    your    time       is    up.        This       panel       will    be    followed by


  21    Council       Member          questions.              You       will    then       hear


  22    testimony          from the          Administration                which       will       followed


  23    by    additional          Council             Member       questions.


  24           Finally,         we     will      hear        public       testimony.


  25
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS          JOINTLY WITH

   1      COMMITTEE         ON     CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                      17

   2           We    will    now       start       with       our    fist   panelist              Mike


   3    McKee       who    will       be    followed by             Barika       Williams.


   4           MICHAEL       MCKEE:              Good Afternoon.


   5           SERGEANT       AT      ARMS:            Mike,    your       clock will             begin


   6    when    you       start       your       testimony.


   7           MICHAEL       MCKEE:              Sorry.        Good    afternoon,                my    name


   8    is    Michael       McKee,          I'm    a Treasurer             of    the       Tenants


   9    Political          Action          Committee.            I want         to    make       it    clear


  10    that    I'm testifying                   only    on    behalf       of       myself       and


  11    tenants       not    on       behalf       of    any    other       organization.


  12           We    are    very much             in    support       of    these          two    pieces


  13    of    legislation.                 They    are       important          pieces       of       the


  14    puzzle       but    I want          to    parenthetically which                      Corey          a


  15    happy birthday.                    I also       want    to    thank          the    Council          for


  16    getting back             to    work       and    showing       how       it    can       be    done


  17    and    are    very much             hoping       that       this    legislation                will


  18    follow       your    lead.           And       just    as    somebody who                has    been


  19    cooped       up    for    seven          weeks,       I'm going          thank       the


  20    Council       for    taking          the       leadership          on    opening          our       city


  21    streets       to    pedestrians.


  22           Intro.       1912      and        Intro.       1936    are       important             pieces


  23    of    what    is    needed          to    protect       tenants          but       it's       not


  24    everything          that       we    need       as    many    of    you       know       and    as      we


  25    have    discussed.                 The    ultimate          thing       we    need       is    some
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          COMMITTEE         ON       HOUSING       AND    BUILDINGS            JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS               AND     BUSINESS
          LICENSING                                                                                     18

   2    kind    of    cancelation             or       forgiveness          of    rent.          We    are


   3    now    facing       a situation                where    literally             hundreds         of


   4    thousands          of    tenants          all    across       New      York     State         and


   5    across       the    country          simply       cannot       pay       rent       through         no


   6    fault    of    their          own    because       they've          lost       their      income.


   7           When    the       courts       reopen       and when            eviction


   8    moratoria          are       lifted,       we're       going      to     be    in    a


   9    situation          where       a lot       of    these      people        are       going      to      be


  10    facing       eviction          and    displacement             and       that's       why      it's


  11    important          that       we    get    rent    cancellation                in    addition


  12    to    these    other          measures.           They      are     very       glad      to    see


  13    that    for    people          effected by COVID-19,                      that       protection


  14    against       eviction             will    continue         into       next     spring         and


  15    we    commend       you       for    that.


  16           I want      to        emphasize          that   we     are      talking       about


  17    cancelling          rents,          cancelling          mortgage          payments,            and


  18    cancelling          utilities.                 And we    do    believe          that      mom and


  19    pop    landlords             need    relief       as    well      as     tenants.             We


  20    think    the       big       landlords          like    Black       Zone       can    take         a


  21    haircut.           They       can    certainly          absorb         this     situation


  22    for    several          months.


  23           I am    a volunteer                on    a hotline         sponsored by                the


  24    MET    Council          on    Housing          and until       two       or    three      months


  25    ago,    almost          all    of    the       calls    were      how     do    I get
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                     19

   2    repairs       done?           How    do    I force          my    landlord          to    fix


   3    something?              Things       like    that.           The       last    six weeks          the


   4    calls       have    all       been    about       I can't             pay    the    rent.        I'm


   5    out    of    a job.           I've    lost       hours.           My    income       has    been


   6    reduced.           My    income       has    been       eliminated.                 What    do    I


   7    do?


   8           We've       also       had    a lot       of    calls          from    tenants       who


   9    want    to    break       their       lease       because             they    can't       afford


  10    to    pay    the    rent       anymore       and       of    course          one    thing we


  11    know    is    that       New York          State       law       on    breaking          lease    is


  12    very bad.           We're       hoping       to       get    some       relief       once       the


  13    state       legislature             goes    back       into       business.


  14           SERGEANT         AT    ARMS:         Time       expired.


  15           MICHAEL       MCKEE:           Thank       you    very much.


  16           AUSTEN       BRANDFORD:              Thank       you      Mike.         We   will        now


  17    here    from Baricka                Williams          who    will       be    followed by


  18    Caryn       Schreiber.


  19           CHAIRPERSON             CORNEGY:           One       second,          I just      want     to


  20    acknowledge             the    presence          of    Fernando             Cabrera       and


  21    Carlina       Rivera.


  22           SERGEANT         AT    ARMS:         And Barika,               your     time      will


  23    start       when    you       begin       your    testimony.


  24           BARIKA WILLIAMS:                    Good       afternoon.              Thank      you,


  25    Speaker       Johnson,          and happy birthday                      I should          also
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          COMMITTEE         ON HOUSING AND BUILDINGS                         JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS             AND BUSINESS
          LICENSING                                                                                  20

   2    add.     Thank you             to    Chair       Cornegy,       to       Chair    Cohen.


   3    It's    nice       to    see       all    of    you back       in my new          roll       as    ED


   4    at ANHD       and       I'm    sorry that we             haven't          gotten       to


   5    interact          except       for       remotely.


   6           You   all        know,      many of        you   all     know ANHD             and our


   7    work on behalf                of    80    plus    nonprofits,             tenants       groups


   8    and CDC's          across          the    city.        We've    fought          for    decades


   9    against       harassment             of    tenants,       many of which                are


  10    things       that we've             accomplished          in partnership with


  11    the    City Council                and    specifically with many of                         the


  12    people       on    this       Zoom call.              And ensuring             that    all


  13    tenants       are       protected against                harassment             especially


  14    during       these       challenging             times.        It    is       incredibly


  15    important.              We    cannot       stress       how much          the    stress       of


  16    the    pandemic          of    living          through    this,          of    losing


  17    people,       of    losing          family members,             of       struggling


  18    through health                is    only made          more    complicated when                   the


  19    tenants       are       facing harassment                and displacement.                    And


  20    facing harassment                   and displacement                in    a moment where


  21    that    really          compromises             your    safety and the                safety of


  22    your    family.


  23           So,   we     fully          support       expanding          the       definition          of


  24    harassment          to       include       threats       based on persons                   having


  25    been    impacted by COVID,                      the    Intro.       of    1936    2020.
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          COMMITTEE ON HOUSING AND BUILDINGS                            JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               21

   2    Absolutely looking                forward to          and happy to          continue


   3    to work with the                City Council          to pass       this


   4    legislation          and to       expand these protections.                          We


   5    really appreciate                the    intention behind             1912       and


   6    really applaud the                city using          its    authority over


   7    Sheriffs       and Marshals             to prevent          evictions       in       this


   8    time    and during this                current moratorium.


   9           We    do have      a few concerns             with the bill              as


  10    currently drafted and that's                         because many of ANHD's


  11    members       are    nonprofits,          are       CDC's    who have been                their


  12    community caretakers,                   been    on    the    frontlines


  13    throughout          all    of    this.         And while       tenants          in    these


  14    buildings       are       often    struggling,          they absolutely need


  15    relief.        We    have       a lot    of    concerns       about pushing and


  16    extending the             loss    of    rental       income    onto      the very


  17    nonprofits          who    are    trying to          support    their


  18    communities          throughout          this.


  19           We    know that          statewide,          two-thirds      of     the       folks


  20    who    filed    for unemployment                earned       $40,000       or    less,         so


  21    that    is    really the          tenants       that mainly reside                   in    our


  22    buildings       and in          communities          and we    really just                don't


  23    want    to    end up       in    a place where          the    extension             of


  24    anything means             that    there       is    a loss    of    services             or


  25    that    that burden             falls    back on       our    nonprofits             that
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          COMMITTEE         ON       HOUSING       AND     BUILDINGS            JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                AND     BUSINESS
          LICENSING                                                                                     22

   2    we're      going        to    need because          we're          desperately             going


   3    to   need     the       affordable          housing          coming       out       of    this


   4    into    the       long,       the    very    long       term work             of    recovery.


   5           So,    to    piggyback          on    some       of   what       Mike        McKee       said,


   6    we   can't        substitute          meaningful             rent    relief.


   7           SERGEANT         AT    ARMS:         Time    is       expired.


   8           BARIKA WILLIAMS:                    Okay,    but       just       to    say we       want


   9    to   absolutely make                 this    a priority             for       all       levels    of


  10    government.              Thank       you.


  11           CHAIRPERSON             CORNEGY:           Thank       you,      very        good.


  12    Before       we    go    to    the    next    panelist,             I'd       also       like    to


  13    acknowledge             that       there    are    at    least       four          or    five    of


  14    my   colleagues              who    have    been    here       since          the       beginning


  15    of   the     hearing.              I neglected          to    go    to    my       second


  16    screen       to    see       that    they were          there.           Barry


  17    Grodenchik,             Mark       Gjonaj,    Keith          Powers       and Helen


  18    Rosenthal          have       been    here    from       the       beginning.              I just


  19    neglected          to    go    to    the    second       screen          and       see    them,


  20    welcome.


  21           AUSTEN       BRANDFORD:              Thank       you.       We     will          now here


  22    from    Caryn       Schreiber          who    will       be    followed by Andy


  23    Morrison.           Karen?


  24           SERGEANT         AT    ARMS:         Karen,       your       time      will        start


  25    when    you       begin       your    testimony.
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          COMMITTEE            ON    HOUSING       AND       BUILDINGS             JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                    AND   BUSINESS
          LICENSING                                                                                           23

   2           CARYN       SCHREIBER:              Thank          you.        Good      afternoon,


   3    thank       you    Chairpersons                Cornegy          and    Cohen          and members


   4    of    the    Committees             for    the       opportunity                to    testify          on


   5    behalf       of    the       Legal       Aid    Society.              The       nation's             oldest


   6    and    largest          not-for-profit                legal       services


   7    organization.


   8           We   welcome          this        opportunity             to    endorse             and       share


   9    our    view       on    this       legislation             and we          commend             the


  10    committees             for    holding          today's          hearings             on    both       bills


  11    which will             provide       relief          to    numerous             New Yorkers             who


  12    are    currently             on    the    edge       of    homelessness                   and


  13    financial          distress.


  14           We   strongly              support      the     passage             of   the       bills        and


  15    have    some       suggested             recommendations                   to    strengthen             the


  16    legislation.                 We    strongly          support          the       passage          of


  17    Intro.       1912,       which will             temporarily help                      in       taking


  18    restitution             of    property          and       the    execution                of    money


  19    judgments.              As    you    are       aware,       the       COVID-19             pandemic


  20    is    causing          devastating             and    lasting          economic                hardship


  21    that    disproportionately                      impacts          low       and moderate


  22    income      New        Yorkers       and       communities             of       color.           This


  23    has    caused          numbers       low       and moderate                income          New


  24    Yorkers       to       default       or    fall       behind          on    financial


  25    obligation.
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                   AND     BUSINESS
          LICENSING                                                                                        24

   2           The    COVID-19         pandemic          has        amplified New                York


   3    City's       ongoing       housing          crisis          in    ways       that       are


   4    impossible          to    ignore.           Housing          insecurity             is       a brutal


   5    fact    of    life       for    many New Yorkers.                       44    percent             of    New


   6    York    City       renters       are       rent       burdened          and       four       out       of


   7    ten    low    income       people          in   New        York    are       either          homeless


   8    or    severely       rent       burdened.


   9           A budget          overwhelmed by housing                         costs       increase


  10    the    families          risk    of    food       insecurity,                lack       of    access


  11    to    proper       medical       care       and       addiction          and with             little


  12    room    for    savings,          a reduction                in    work hours             or       an


  13    unexpected          expense          may    cause          turmoil       and ultimately


  14    displacement.              And       similar          to    the    COVID-19             pandemic,


  15    involuntary          displacement                is    not       born    equally             in    New


  16    York    City where             low    income,          Black       and       Latinx


  17    households          are    most       impacted by                eviction


  18    homelessness.


  19           Housing       and       security         now        impacts       a far      broader


  20    range    of    households             than       it    did       earlier          this       year.


  21    For    low    and moderate             income          renters          on    the       precipice


  22    rent    burdened          and without             savings,          they have                now


  23    fallen       off    of    a financial             cliff.           While          New    Yorkers


  24    are    right       now protected                from       eviction          by    Governor


  25    Cuomo's       90-day       statewide            eviction           moratorium,                the
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          COMMITTEE ON HOUSING AND BUILDINGS                             JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                           25

   2    economic        landscape          is    unlikely to be             dramatically


   3    altered by the           end of          the    state moratorium on                June


   4    20 tH


   5            By June       20 th , renters          will    owe months       of    rent


   6    arrears        and    fees.        Many will promptly                face    eviction


   7    proceedings           seeking thousands                of   dollars     of    debt       and


   8    disposition.            Far    from solving up                the    crisis,       the    end


   9    of    this     short    term moratorium will be                      catastrophic


  10    for     renters.


  11            The   eviction        of   any one          household is        a tragedy


  12    and the        eviction       of    thousands          of   renter households              is


  13    a humanitarian           crisis.           The       consequences       of    eviction


  14    are vast        and have       devastating             long term negative


  15    impacts.           Similarly,           New Yorkers         face     financial


  16    challenges           beyond eviction                and the    hardships       imposed


  17    by money judgments                 are    equally as          devastating          for


  18    individual           judgment       debtors          and communities          at    large.


  19            An    increasing number                of   judgment        debtors    have


  20    contacted the           Legal Aid Society in                   the    last    few weeks


  21    seeking assistance                 due    to    frozen bank accounts                and


  22    garnished wages.


  23            So,   we     suggest,      well we          support    the     legislation,


  24    we    have     a few    suggestions             that will       further       reduce


  25    the     harm including             clarifying —
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          COMMITTEE         ON       HOUSING       AND    BUILDINGS            JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                AND      BUSINESS
          LICENSING                                                                                     26

   2           SERGEANT         AT    ARMS:         Time      is    expired.


   3           CARYN       SCHREIBER:              Thank      you.


   4          AUSTEN        BRANDFORD:              Thank       you      Caryn.           We'll    now


   5    here    from Andy Morrison                      and    open      up    for    Council


   6    Member       questions.              Andy?


   7           SERGEANT         AT    ARMS:         Andy,       your      time       will    begin


   8    when    you    start         your     testimony.


   9           ANDY MORRISON:                 Thank       you      Chairs       Cohen       and


  10    Cornegy       and members             of    the       Committees            for    the


  11    opportunity             to   testify        today.          My    name       is    Andy


  12    Morrison       and       I'm Campaigns                Director         at    New Economy


  13    Project       and many          of    you       know us       and      our    work.           We    are


  14    an    economic          justice       organization               that       works    with


  15    community          groups       and       low    income       New      Yorkers


  16    throughout          New York          City.


  17           We    strongly          support          Intro.      1912.        We       urge    the


  18    Committee          to    take    swift          action      to    move       the    bill


  19    forward,       so       that    the       full    body      can       pass    it    into       law


  20    as    soon    as    possible          and we          commend         Speaker       Johnson


  21    and    other       sponsors          of    this       emergency         legislation                for


  22    their       leadership.


  23           We    have       calling       for       several       weeks         now    for    a


  24    statewide          emergency moratorium on                        predatory          debt


  25    collection          and we're             very pleased            that       in    the    absence
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          COMMITTEE ON HOUSING AND BUILDINGS                           JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                           27

   2    of    state    level    action,          members       of    the    Council      are


   3    taking this          crucial       step    to protect New Yorkers.                         At


   4    New Economy Project,                we    run    a free       legal      hotline       for


   5    low income New Yorkers                   and we've          heard over         the    years


   6    from thousands          of New Yorkers             who have been harmed by


   7    discriminatory and abusive                      debt    collection.             And


   8    since       COVID-19    gripped our             city,       we've been         flooded


   9    with a new         spade     of    calls    from low income New Yorkers


  10    who    are being hounded by debt                   collectors.             It    should


  11    just    go without         saying that           no New Yorker            should be


  12    having his         or her bank accounts                 frozen       or wages


  13    garnished and as             debt    collectors             continue      to    siphon


  14    wealth       from New Yorkers             and    from communities,               the


  15    predatory debt          collection          is    morphed into            a public


  16    health       crisis    and    so,    we    really need this               action       to


  17    further       and ensure          economic       and racial          justice         and


  18    community equity.


  19          A lot    of     the New Yorkers            we've       heard       from have


  20    been    speaking out          and    sharing their             stories         and    I


  21    just want       to    read one       testimonial             from a Brooklyn


  22    resident       named Veronica             and refer          you    to   our written


  23    testimony where we                have    included          several      others.


  24           "I   just     found out       that my paycheck was                 garnished.


  25    I don't       know what       it's       for.     I can't          afford to have
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          COMMITTEE ON HOUSING AND BUILDINGS                                 JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               28

   2    any money taken                away right          now.        My two       daughter       and


   3    two    grandchildren                live with me.              I'm trying to


   4    support my          family but             everything          is    uncertain.           My


   5    job has       cut       the    number       of    days       that    I go       into work


   6    for    safety reasons.                 One       of my daughters                lost her       job


   7    because       of    coronavirus.                 That money was             taken       from


   8    me,    could have             gone    toward a lot             of    other       things    that


   9    I am worried about                   right       now,       like    food,       disinfecting


  10    supplies,          and other          things       I need to             keep my      family


  11    healthy.


  12           Stories          like    this       underscore         the        need    for bold


  13    action    and as          we    address          this       issue    in    the    immediate


  14    term,    we    also want             to underscore             the       need to be


  15    thinking about                the    structural             inequities          that underly


  16    this    crisis          from lack of healthcare                      to housing


  17    insecurity and discrimination built                                  into       our


  18    financial          system.           So,    in    addition          to    addressing this


  19    issue    in    the       immediate          term,       which we          urge    the


  20    Council       to    do    right       away,       we    also want          to    encourage


  21    the    Council          to be       thinking about broader measures


  22    including debt                cancellation             and other more             structural


  23    solutions          to    our unequal             economy.


  24           SERGEANT AT ARMS:                    Time       is   expired.


  25
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          COMMITTEE            ON       HOUSING       AND    BUILDINGS             JOINTLY WITH

   1      COMMITTEE            ON       CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                        29

   2           AUSTEN          BRANDFORD:                 Thank    you    Andy.           We    will       now


   3    open    it       up    to       the    questions          from       Speaker          Johnson,


   4    Chair       Cornegy             and    Chair       Cohen    before             moving       to


   5    general          council          member          questions.


   6           SPEAKER             JOHNSON:          Thank        you    Austen,             it's       good    to


   7    see    you.           I hope          you    are    safe    and healthy.                    Let    me,


   8    give    me       one       moment.           So,    I wanted          to       start       off    for


   9    anyone       on       the       panel       and    I want       to    thank          you    for    the


  10    work    that          you're          doing.        You've       really been                at    the


  11    forefront             on    these       issues       and    even          though       two-thirds


  12    of    New    Yorkers             are    renters,          they       certainly             aren't


  13    getting          two-thirds             of    the    help.


  14           We've          seen      a lot       more     support         be        announced          for


  15    landlords             and mortgage                holders       and we          have       to    make


  16    sure    as       this       hearing          is    about    that          we're       not       leaving


  17    tenants          behind.              It's    governments             job       to    solve       this


  18    problem.              There       have       been    devastating                personal


  19    impacts          for       many New          Yorkers       but       this       crisis          also


  20    threatens             the       city's       budget.        If       people          aren't       able


  21    to    pay    their          rent,       we    will    see       a drop          in    property          tax


  22    revenue          and       if    people       can't       afford          to    pay    their


  23    bills,       we       will       see    less       spending          and       that    means       less


  24    money       in    sales          tax    revenue.           All       of    that       means       less


  25
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          COMMITTEE ON HOUSING AND BUILDINGS                            JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                             30

   2    money    for   the     social       safety net,             which we       need more


   3    than    ever    right      now.


   4           So,   the    Council        is   doing what we              can but we're


   5    going to need more             help.           I've been       advocating             for    a


   6    lot more money          from the          federal          government          and we


   7    need the       state    to    cancel          rent    as    we've    seen       in    these


   8    bills    but   they're        calling          for money       from the          feds       as


   9    well.


  10           So,   I want    everyone watching to understand how


  11    serious      this    is.      Can       each one       of    you    talk about what


  12    you    think will       happen          if we      don't     figure       this       out?


  13    If New Yorkers          who    need help with                rent    don't       get    it


  14    And maybe we         can     start with Mike McKee.


  15           MICHAEL MCKEE:              Thank you Mr.            Speaker.            I think


  16    we're    facing,       I forgot which witness                      it was       that    said


  17    this    is   a humanitarian              crisis.           I mean,       that's


  18    exactly what         this     is    going to be.              There       is    going       to


  19    come    a point when          the       courts       reopen    and when          these


  20    moratoria      on    eviction           are    lifted where          literally tens


  21    of    thousands,       hundreds          of    thousands       if    you       look at       it


  22    statewide      or nationwide,                 of   tenants     who       just    can't


  23    pay the      rent    are     going to be             facing displacement.


  24    And another         issue     is    that       the    courts       are    simply going


  25    to be    overwhelmed with eviction                         cases.        Right       now,
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          COMMITTEE ON HOUSING AND BUILDINGS                                     JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                  31

   2    landlords             cannot       file    new eviction             cases       but    at    some


   3    point,          they will be             allowed to          do    that.        This    is    all


   4    going to pile                up,    so    there       has    to be money          from the


   5    federal          government          targeted          specifically to housing


   6    and rent          relief.           There       has    to be       a cancellation             of


   7    rent.


   8           It's my view that                   at    some point Andrew Cuomo                      is


   9    going to          end his          stonewalling on                this    issue       and


  10    recognize             that    something must be                   done.     And that,             if


  11    you    don't          just    cancel       the    rent       and then       figure          out


  12    how to          take    care       of mom and pop             landlords          while


  13    you're          doing that.              And as       Barika pointed out,


  14    nonprofit             landlords          have    special          needs    to    and they


  15    don't       gouge       their       tenants.           So,    they are          really


  16    running at             a very low margin                if    any.


  17           This      all    has        to be    done      and it        is    governments             job


  18    to    do    it    and if       it    isn't       done,       it's    going to be             a


  19    disaster          and    I don't          think ultimately government                         or


  20    the    courts          are    doing to          sit by and let             that happen.


  21    I cannot          imagine most             Judges       presiding over                eviction


  22    after       eviction          after       eviction,          human       nature being


  23    what       it    is    and Judges          being who          they are,          I would


  24    suspect          they are          going to be pressuring                   landlords             and


  25    tenants          to    come    to    some       kind of       settlement possibly
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          COMMITTEE ON HOUSING AND BUILDINGS                                       JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                        32

   2    where    tenants             pay    some       of    the       rent       if    they can.           I


   3    don't    know,          maybe       some       kind of          fund to help make                   this


   4    up,    but    I think it's                a very dangerous                      and    serious


   5    situation          that we          just       can't       ignore          and    I think that


   6    by not       talking about                it    now and by basically


   7    stonewalling on                it,       the    governor             is    creating a lot               of


   8    fear    and anxiety.                    And    I think it's                time       that


   9    everyone          in    state       government,                our    friends          in    the


  10    state    legislature                and the          governor             recognize          that


  11    this    is    a serious             issue       that has             to be       addressed.


  12    The    city can          only do          so much and                I think it's


  13    commendable             that       you're       doing what                you're       doing but


  14    if we    don't have                federal          and    state          government


  15    weighing          in    on    this,       we're       not       going to be             able       to


  16    deal with this.                    There's          not    going to be                a solution


  17    that's       going to          keep people                in    their homes.


  18           SPEAKER JONNSON:                       I'm not          going to          let;       I have


  19    other    questions             and       I want       to       get    through them


  20    quickly because we                      have    a lot          of    Council Members                on.


  21    I want       to    go    to ANHD.              You    all       have been             ringing the


  22    alarm for weeks.                    Your       analysis             has    shown       this    crisis


  23    is    hitting Black and Brown working                                     class


  24    neighborhoods                the    hardest.              I know you             are    certainly


  25    seeing this             when       it    comes       to    tenants             loss    of    income
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          COMMITTEE ON HOUSING AND BUILDINGS                                 JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               33

   2    and the       inability to pay rent.                       What       are    you    all


   3    seeing on          the    ground with             respect       to    small


   4    businesses,          vendors,          particularly immigrant                      owned


   5    businesses?


   6           BARIKA WILLIAMS:                Thank you           for       that    Speaker


   7    Johnson.           I mean,       as    we've       seen    for       so many people,


   8    we've    seen       our    immigrant          and Black and Brown


   9    businesses          are    the    hardest hit.              Many of          them were


  10    unbanked or underbanked before                            and    so,       there    has       been


  11    a lot    of    conversation,             a lot       of work at             the    federal


  12    level because many of                   these       small businesses                have


  13    been    entirely          shut    out,       if    not by process               shut     out    of


  14    the    federal       aid.


  15           But    it   also        feeds   into        the    side       of   things        that   as


  16    residential          tenants          and the broader                community


  17    supports,          because       often       times       these       are businesses


  18    that    are    tied to          some    of    our    residential buildings.


  19    They are       the businesses                that    are    supporting people's


  20    incomes.           Obviously the             longer       they       stay    shut       and


  21    impacted,          the more we're             impacting peoples                   earnings


  22    and    so,    this       all    ultimately gets             tied together.


  23           One    of   the    things       we're        hearing on            the     ground


  24    from many of             our members          is    really,          to put       the    human


  25    side    on    it    as    Mike McKee was             talking about,                really
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          COMMITTEE ON HOUSING AND BUILDINGS                             JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               34

   2    being       confronted with the               challenges          of because          their


   3    government          is   not    stepping          in.        Because    at    the    city,


   4    at    the    state,      at    the    federal          and    I know you       all    are


   5    limited in how much you                  can       do    and what       you    are    able


   6    to    do    in    this   but    there    hasn't been             a clear       approach


   7    and relief package               for    residential             tenants.        And       so,


   8    what       these    landlords         are being          confronted with             is


   9    going to          tenants      that    they know have             lost       their    jobs,


  10    know that          their businesses               aren't       open because          they


  11    are    around the         corner.        Know that             they are       not    able


  12    to help          them get      a loan with the bank that                      they have


  13    a relationship with and then                           also,    being    faced with


  14    having to          knock on      their       door       and ask them,          what       can


  15    we    do    about    rent?


  16          And our        groups      really don't want                to be put          in


  17    that position,            right.        At    the       end of    this       down    the


  18    line,       what we're         looking at          is    if we    do not       figure


  19    out    a rent       relief package,               in    some way       shape    or    form,


  20    we    are    looking at         an    explosion          of    our homeless


  21    population          and explosion            in    our Human       Services          needs.


  22    Because we've            got    tons    of people             going to       food banks


  23    now but where will we be                     then       and what       little


  24    intergenerational wealth that we                              have built       for


  25    immigrant          communities         and Black and Brown                   communities
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          COMMITTEE ON HOUSING AND BUILDINGS                               JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                35

   2    will be       absolutely wiped out.                       And as     we    kick this


   3    down    the       road,    as    we    go    from four months'                 worth of


   4    rent    out       a $1,400       rent,       is    like    $5,600.         Most


   5    families          don't have more             than     $400    or    $700       in


   6    savings.


   7           So,    there       is    no possibility and that                    savings,


   8    they are          already burning through.                     So,    the       likelihood


   9    that    they are          able    to    take       and pay that back,                 even


  10    over    a one       year       timeline       is    just    incredibly           slim.


  11           So,    what we're          really talking about                    is   creating


  12    like    a long term debt burden                       for people          that       they


  13    know they will             never       get    out    of.


  14           SPEAKER JOHNSON:                Thank you.             Thank you Barika.


  15    I want       to    go    Legal Aid          for    a quick question.                  This


  16    crisis       is    deepening the             inequalities           that       you    just


  17    heard about             that we       had even before              coronavirus            hit


  18    our    city.        Low income          communities           of    color       are       taking


  19    the brunt          of    the    health       impacts       and if we           don't       do


  20    more    to help with debt                   and rent,       we're     going to             see


  21    the    irreversible             economic          impacts     that Barika             just


  22    spoke       about.        Can    you    talk about what              you       are    seeing


  23    on    the    ground?           What    are    your     clients       facing          in    terms


  24    of    economic hardships?                    How important           is    taking          care


  25
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          COMMITTEE           ON    HOUSING       AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE           ON    CONSUMER AFFAIRS                   AND    BUSINESS
          LICENSING                                                                                    36

   2    of   the       rent    issue,       in    terms          of    helping       New    Yorkers


   3    out?


   4           CARYN         SCHREIBER:          Thank           you    for    that    question


   5    Speaker         Johnson.           It    is    helping          renters       in    this       city


   6    is   of     the      upmost    importance                right    now    as    the       other


   7    witnesses            have    said,       people          are    struggling          and    they


   8    will      be    struggling          even       further          come    June,       come       this


   9    fall.          The    rent    continues             to    accrue       and people          are


  10    terrified.             That's       what       we    are       seeing.


  11           We      are    seeing    people,             hearing       from       clients       who


  12    don't       know      how    they will          pay       their       rent    in    May,       don't


  13    know how          they will         pay       their       rent    in    June       and    going


  14    forward.             They    are    preparing             for    and    resigning


  15    themselves            to    having       to    leave          their    homes,       which       has


  16    as   I mentioned before                   very       dramatic          negative          effects


  17    on   employment             outcomes,          school          performance          and


  18    physical          and mental            health.


  19           We      appreciate          the   City        Council's          recognition             of


  20    this      tremendous          need       and we          hope    that    the       state       and


  21    federal         governments             will    do       more    here    because          we    are


  22    faced with            a reckoning             and    come       June,    we    will       see


  23    tenants         brought       to    Housing          Court       on    a tremendous


  24    scale       and      scale    that       the    courts          will    not    be    able       to


  25
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS          JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                      AND    BUSINESS
          LICENSING                                                                                        37

   2    handle       and    that       the    city's          infrastructure                will          not       be


   3    able    to    handle.


   4           SPEAKER       JOHNSON:              And       Caryn       on    that    point,             I just


   5    want    to    hear       Legal       Aids       thought          on    this.        There          are


   6    two    temporary          eviction          moratoriums                that       could       apply


   7    to    New    Yorkers          right       now.        There's          the    states          90-day


   8    moratorium and                then    there          is    the    120-day          federal


   9    moratorium          that       applies          to    properties             with       a


  10    federally backed mortgage.                                Does    it    seem       like       tenants


  11    and    even    landlords             understand what                   protections                apply


  12    to    them or       their       tenants?


  13           CARYN       SCHREIBER:              Unfortunately,                I think             no    they


  14    don't.        We    are       hearing       from          our    partners          around          the


  15    country       to    that.           The    federal          moratorium             is    causing             a


  16    lot    of    confusion          or    well,          confusion          I guess,             for


  17    landlords          who    don't       realize             that    people          cannot          be


  18    evicted       for    nonpayment             if       they       reside       in    a property


  19    that    has    a,    as       you    said Mr.             Speaker,       a federally


  20    subsidized mortgage                   or    has       another          subsidy          attached.


  21           That    federal         moratorium                 covers       a certain            portion


  22    of    tenants       and       other       renters          from       again,       eviction             for


  23    nonpayment          through          the    end       of    July but          it    doesn't             go


  24    far    enough.           It    seems       to    relate          again       only       to


  25    nonpayment          proceedings,                leaving          open    other          types          of
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                       AND   BUSINESS
          LICENSING                                                                                            38

   2    proceedings          where          nonpayment             could be          an    issue          but       is


   3    not    explicitly             stated.


   4           And    further,             it's    only          I believe          less       or    a little


   5    bit    more    than       30-days          longer          than       the    current          state


   6    moratorium.              So,       even    if       more    than       half       of    New York


   7    City's       renters          are    covered by             the       federal          moratorium,


   8    come    the    end       of    July,       we       will    see       the    same       thing          that


   9    we    will    see    at       the    end       of    June       likely.


  10           SPEAKER       JOHNSON:              Thank          you.        I have       more


  11    questions       but       I want          to    go       back    to    the    Chairs,             so


  12    they    can    get       through          some       of    their       questions             and       then


  13    we'll    go    to    the       Council          Members.              I can       come       back


  14    later    to    ask       the       rest    of       my    questions          for       this       panel.


  15           So,    I turn          it   back        to    either       Chair       Cornegy             or


  16    Chair    Cohen.


  17           CHAIRPERSON             CORNEGY:              Thank       you       Speaker          Johnson.


  18    Both    Barika       and Mike             have       alluded          to    this       fine       line


  19    that    has    to    be       drawn       and       the    governor          has       to    be


  20    involved while                protecting             you    know,          tenants,          small


  21    homeowners          as    well       not       burdening          them and             it's       a


  22    delicate       balance.              As    the       Chair       of    the    Committee,                I


  23    am    also    faced with             doing          that    and       I'm acutely             aware


  24    that    the    input          of    the    state          and    federal          government                in


  25    doing    that       is    essential.                 I just       wanted          to    ask
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          COMMITTEE ON HOUSING AND BUILDINGS                                 JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                   39

   2    statistically,             do    you    know the          ratio between big


   3    buildings       and big building owners                         as       landlords       as


   4    compared to          small       homeowners?              I had heard that                   there


   5    is    a statistic          that       there       actually maybe more                   small


   6    homeowners          responsible             for    the makeup             of    tenancy,


   7    that    it    actually is             big buildings.                 I just wanted to


   8    know,    I know you probably,                      the    two       of    you       I know you


   9    probably know.              I'm just             curious       as    to what          that    is.


  10          MICHAEL MCKEE:                 Barika,           you want          to    go    first.


  11           BARIKA WILLIAMS:                 I mean,          I actually don't                know


  12    that    number       off    the       top    of my head but                   I could


  13    probably get          it    for       you    in    about       two minutes.              So,       if


  14    you    give me      a second Council Member,                             I can pull          that


  15    but    I also would             say one          thing that's             a little bit


  16    challenging here                is    that       sometimes          it's       not    a clean


  17    break between          the       size       of    the building.                 It's    really


  18    about    the    type       of    owner,          right.        We've          seen big


  19    investment          firms       and    specifically hedge                      firm


  20    companies       buy up          a series          of buildings                across    an


  21    entire       neighborhood but                these       are    one       to    four    family


  22    homes,       so Bushwick is             one       of    the places             that's    been


  23    rampant       for   this.            We want       to    treat       them who have


  24    investors       and backers             and reserves                very differently


  25    than    the    understanding of                   a first       time          homebuyer who
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          COMMITTEE         ON HOUSING AND BUILDINGS                         JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                AND BUSINESS
          LICENSING                                                                                   40

   2    is    likely being          supported by                some    of    the       groups       that


   3    you will          hear    from today;             Impact,       Chhaya,          right,


   4    CNYCN,       some    of    these       groups       that       are    really trying                to


   5    build new homeownership                      across       the    city.           And part          of


   6    their       ability to pay             for    the       mortgage          is    that       first


   7    time    homeowner          collecting             rent    or    in    one       or    two    units


   8    of    somebody that             they    know and they have                      a


   9    relationship with                and they are             trying          to    support


  10    their       tenant.        Those       are    two very different                      things


  11    and the       hard thing          is    that by          slicing          it    just by


  12    stock,       they    kind of       get blurred together.


  13           CHAIRPERSON         CORNEGY:               So,    Mike,    before             you    try —


  14           MICHAEL MCKEE:             Well,           I don't       have      exact           numbers


  15    for    you but we          can    certainly dig                that       up.        The    data


  16    show very          clearly that          the       majority of             rent


  17    stabilized apartments                   in New York City are                         owned by


  18    large       landlords.           There       is    no    question          about          that but


  19    it's    also       true    that    a majority of                owners          are       small


  20    landlords          who    own    one    or    two buildings.                    And as


  21    Barika pointed out,                there          are    small       landlords             and


  22    there       are    small    landlords             and    in    fact,       one       of    the


  23    thing predatory             investors             have    done       in    the       aftermath


  24    of    the    2008    economic          crisis       is    they went             around the


  25    country and bought                up mobile             home    parks          and they
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          COMMITTEE ON HOUSING AND BUILDINGS                            JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               41

   2    bought up          even    single       family homes          that have been


   3    foreclosed and turned them into                         rental properties


   4    where    they are          gouging and evicting people.


   5           So,   the mere           size    of    the building         is    not what          you


   6    need to       look at.           You    need    some    kind of          system where


   7    you    can    actually ascertain who people                         are.           Just    for


   8    example,          there    is    a very       famous    landlord          from


   9    Brooklyn who          comes       to    the    Rent    Guidelines             Board every


  10    year    and testifies             that he       is    a small       landlord.


  11    Well,    when he          started out          doing this          back in          the


  12    1980's,       he    owned one          20-unit building.                 He    now owns


  13    nine    20-unit buildings.                    All    rent    stabilized,             of


  14    course,       now he       has    some       deregulator       departments


  15    thanks       to    Peter Vallone             and thanks       to    George          Pataki


  16    but    you    know,       he's    done very well             under       rent


  17    stabilization.              He    owns       180,    9 times       20,    180


  18    apartments          and he bought             these    new building while                   he


  19    was    running his          original          stabilized building.


  20           So,   it's     not       cut    and dried and you             can't         simply


  21    go by the          size    of    the building.              You have          to    go by


  22    pattern       of    ownership          and other       factors       but we          can


  23    certainly prepare                numbers       for    you    that will             help    you


  24    understand who             owns       what.


  25
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          COMMITTEE ON HOUSING AND BUILDINGS                                    JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                     42

   2           CHAIRPERSON CORNEGY:                       Well,       I appreciate                that but


   3    I also       know that          it    is   very difficult                 to    do       that


   4    because       as    you mentioned,                you have          these       hedge          funds


   5    who    are    operating as             individual             LLC's       to    some       degree.


   6    So,    trying to          get    the       cumulative          affect          of    their


   7    buying power             sometimes          is    difficult.              We've          tried to


   8    look into,          but    you       know,       LLC's    federally are


   9    protected          from who          their       owners       are.        So,       we    know


  10    that    that       is    happening as             well.


  11           I just want         to be mindful because                         there           are    some


  12    small    homeowners             who while          their       tenants          will be


  13    getting       some       help    and       some    relief,          they       still,          are


  14    subject       to    rising energy costs                   and things                like       that


  15    that    kind of make             it    difficult.              So,       I'm just,             I'm in


  16    precarious          position,          I'm screaming at                   the       governor


  17    just    like       you    guys       are because we                need help.              We       need


  18    to be    able       to    disseminate             you    know,          who    is    who.


  19    That's       going to be very important                            to    do    and we          don't


  20    have    a whole bunch of                   time    to    do    it.        So,       I look


  21    forward to working with the                         entire          first panel                to


  22    make    sure       that we       continue          some       of    this       apart       and


  23    target       those       that we       need to          target          and    support          and


  24    help    those       that we          need to help             in    terms       of


  25    homeowners          and/or       landlords.
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          COMMITTEE            ON    HOUSING          AND       BUILDINGS              JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                      AND    BUSINESS
          LICENSING                                                                                        43

   2           So,       we    got    to    walk          and    chew       gum    at    the    same       time.


   3    Andy?


   4           CO-CHAIR             COHEN:          Thank        you    very much             Rob.     I'll


   5    be    very brief.                 Mike,       in       your    testimony,             you    talked


   6    about       calls       that       you       are       taking       now    as    a volunteer.


   7    What    do       you    tell       tenants             who    call       now who       can't       pay


   8    the    rent?           Is    Mike       able       to    hear       me?


   9           MICHAEL          MCKEE:              I'm    sorry,       my       internet       is


  10    apparently             unstable.              I keep          getting          this    prompt


  11    saying       your       internet             connection             is    unstable.


  12           So,       I heard part               of     what       you    said       Council       Member.


  13           CO-CHAIR             COHEN:          What        I was       wondering          is    you    said


  14    that    you       are       volunteering                and    taking          calls    from


  15    tenants.              I'm    just       curious,             what    are       telling       tenants


  16    today who             call    and       say       they       can't       pay    their       rent?


  17           MICHAEL          MCKEE:          Well,           you    have       to    deal    with       it


  18    first       as    a matter             of    common          sense.        It's       a question


  19    between          feeding          your       family          and paying          the    landlord.


  20    There       is    no    choice,             you    have       to    feed       your    family.


  21           I do       tell       people         that        if    you    can       put    aside    some


  22    of    the    rent,          you    should          do    that       because          down    the


  23    road,       just       the    ability             to    pay partial             rent    might       be


  24    useful       in       terms       of    individual             negotiations             in    a


  25    landlord/tenant                   proceeding.                 But    of    course,          there       are
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          COMMITTEE            ON    HOUSING          AND    BUILDINGS           JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                   AND    BUSINESS
          LICENSING                                                                                         44

   2    people       that       can't          do    even    that       and    it's       you    know,          we


   3    refer    people             to    local       community          groups,          we    refer


   4    people       to    lawyers             when       they    need    a lawyer.              There          is


   5    not    a lot       you       can       tell       people    except          that       you    know,


   6    hunker       down,          and    get       through       this       and    stay       safe.


   7           You    can't          tell      people       to     save    money when                they


   8    don't    have          an    income          but    it    all    depends          on    the


   9    individual             situation             when    you    talk       to    the       tenant       who


  10    is    calling          in.        We    also       have    resources          that       we    refer


  11    people       to    —


  12           CO-CHAIR             COHEN:           I think we          lost    Mike          again.


  13           MICHAEL          MCKEE:              I think       there    are       even       more    who


  14    won't    be       able       to    pay       on    May    1st   and    there       are       other


  15    tenants       who       can       pay but          who    are    going       to    withhold


  16    rent    out       of    solidarity which                   I have       no    problems             with


  17    if    they want             to    do    that       but    ultimately          this       has       to    be


  18    a government                solution.


  19           CO-CHAIR             COHEN:          Briefly,        Caryn       Schreiber             from


  20    Legal    Aid,          in    your       testimony          also,       you    said       that       you


  21    had    some       suggestions                on    possibly       improving             the    bill.


  22    I don't       know          if    you       submitted written                testimony             in


  23    which    those          suggestions                were    made       otherwise,             I'm


  24    interested             in    them.


  25           Can   we        unmute          Legal      Aid?      You    are       unmuted.
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          COMMITTEE         ON    HOUSING       AND     BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                     45

   2           CARYN    SCHREIBER:              Yes,       thank       you       for    that


   3    question.           We    did    submit       written          testimony          that


   4    outlines       some       our    recommendations.                    I was       out    of      time


   5    and was       unable       to    get    to    them.


   6           CO-CHAIR          COHEN:        If    you    have       them       for    the    record,


   7    that's       fine.


   8           CARYN    SCHREIBER:              Okay,       thank       you       very much          Mr.


   9    Chair.


  10           CO-CHAIR          COHEN:        Thank       you   Rob.         Austen,          I'm


  11    done.


  12           AUSTEN       BRANDFORD:              Great,       any more          questions            from


  13    Speaker       Johnson?


  14           SPEAKER       JOHNSON:           No,    we    can       go    to    the    other


  15    members,       I can       come       back    after       them.           I don't       want         to


  16    hold    up    the    other       members       who       are    waiting.


  17           AUSTEN       BRANDFORD:              Okay,    sounds          good.        So,       I will


  18    now    call    on    Council          Members       to    ask       questions          in    the


  19    order    they have             used    in    the    Zoom       raise       hand    function.


  20    I'd    like    to    also       note    that       Council          Members       Torres,


  21    Yeger    and    Powers          have    already          raised          their    hands         to


  22    ask    questions          of    the    Administration                after       their


  23    testimony.


  24           Council       Members,         please        keep       your       questions          to


  25    four    minutes          including          responses.              If    there    is       a
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS              JOINTLY WITH

   1      COMMITTEE         ON        CONSUMER AFFAIRS                  AND        BUSINESS
          LICENSING                                                                                           46

   2    second       round       of    questions             Council          Members          questions


   3    will    be    limited          to    two       minutes.              A Sergeant             at    Arms


   4    will    keep       a timer          and    let       you       know when          your       time         is


   5    up.     Our       first       question          will       come       from       Council          Member


   6    Yeger       followed by Council                      Member          Cabrera.


   7           SERGEANT          AT    ARMS:       And        Council             Member       Yeger,         your


   8    clock will          start       when       you       begin          your    testimony.


   9           COUNCIL          MEMBER YEGER:                 I'm not             testifying,             I'm a


  10    member       of    the    Council.              How       are       you,    thank       you.


  11           First       of    all,       I'd    like       to       echo       Mr.    Speaker,             I


  12    agree       with    a portion             of    his       opening          statement             that      we


  13    do    need    rent       cancellations,                   we    do    need       reductions.                   I


  14    also    believe          as    Mr.    McKee          said,          and Mike          McKee       has


  15    been    a leader          in    tenant          advocacy,             so    this       is    an


  16    important          point       from him that                   that       has    to    go    hand         and


  17    hand with          relief       for       landlords.                 So,    particularly


  18    small       landlords,          I'm not          worried             about       the    very          large


  19    landlords,          I am worried                about          the    small       landlords.


  20    Excuse       me,    I have          some       background             noise,          but    my


  21    question          more    importantly                is    to       Ms.    Schreiber             and


  22    since       you    are    the       only       lawyer          on    the    panel,          I wanted


  23    to    ask    you    this       question.              With          regard       to    your


  24    Introduction             1912,       my understanding                      and    you       can


  25    correct me          if    I'm wrong             is    that          the    authority             of    a
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          COMMITTEE            ON       HOUSING          AND       BUILDINGS          JOINTLY WITH

   1      COMMITTEE            ON       CONSUMER AFFAIRS                    AND      BUSINESS
          LICENSING                                                                                            47

   2    Sheriff          or    a Marshal             to       execute          a judgement             comes


   3    from       state       law.        And       state          law particularly                   the    CTLR


   4    with       respect          to    execution                is    what    a Sheriff             perceives


   5    it    contained             the    word          shall.


   6           Do   you        believe          that          the       City    Council       has       the


   7    authority             to    supersede             state          law    and    to    replace          the


   8    word       shall       when       a Sheriff                receives          a lawfully


   9    received          an       executed          and       commit          execution          or    money


  10    judgement             execution             or    a warrant.


  11           CARYN          SCHREIBER:                 So,       thank       you    very much          for


  12    that       question             Council          Member          Yeger.        We    believe,          well


  13    with       regard          to    City Marshals                   specifically,             that       the


  14    Mayor       has       the       authority             to    direct       City Marshals                to


  15    stop       enforcement             of       judgements             and       that    the       City


  16    Council          has       the    power          to    legislate             here    as    a result.


  17           COUNCIL          MEMBER YEGER:                       Okay,       and    that       the    City


  18    Council,          not       withstanding                   the    fact       that    if    a judge          or


  19    clerk       of    the       court       or       an    officer          of    the    court       signed


  20    an    execution             that       says       at       the    top,       the    people       of    the


  21    State       of    New York             to    any       Sheriff          or    Marshal          and    gives


  22    it    to    a Sheriff,             the       Sheriff             can    put    it    aside       because


  23    we    passed          a law       that       says          so?


  24           CARYN          SCHREIBER:                 I think          that       the    Sheriff          would


  25    not    be    placing             the    judgement                aside       indefinitely.                 It
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                         AND    BUSINESS
          LICENSING                                                                                        48

   2    could be          exe—    it    will       be       executed          let's       say,       not


   3    could.        It    will       be    executed when                   the    moratorium             is


   4    lifted       and    it    would       not       be       flying       in    the    face       of


   5    state       law    to    say    that       that          judgement          is    going       to    be


   6    paused       for    lack       of    a better             word       for    now.        Until       such


   7    time    has       passed       that       it    makes          sense       for    the       community


   8    at    large       for    judgements             to       resume       being       enforced.


   9           COUNCIL      MEMBER YEGER:                        I appreciate             that      very


  10    much.       Well,        the    Sheriff             is    going       to    come       on    and


  11    testify       in    a little          while          and       I'm    interested             in


  12    hearing       his       opinion       on       this       topic.           But    I appreciate


  13    all    of    the    advocates             who       came       today       and    the       important


  14    work    that       you    do.        Of    the       lawyers          who    are       on    the


  15    front       line    and Mike          McKee          who       is    a legend          in    tenants


  16    rights       and    tenants          offenses             and       I'm a tenant             too    and


  17    you    know,       I can       pay my          rent,          so    I'm    going       to    and    I


  18    will.       But     there       are       a lot          of    people       who    are


  19    suffering          right       now    and       can't.              And    I'm going          to    use


  20    the    remaining          clock       that          the       Sergeant       has       at    40


  21    seconds       to    say    that       I do          believe          there       are    things


  22    that    the       City Council             can       do       to    relieve       the       burden       on


  23    the    owners       in    addition             to    the       tenants       because          it


  24    can't       just    be    that       tenants             stop       paying       rent       simply


  25
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          COMMITTEE            ON    HOUSING          AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE            ON       CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                           49

   2    because          we    say       so    and    not       withstanding             that       they       are


   3    not    able       to    afford          it.


   4           Tenants          who      don't        pay       rent    and       can't       afford          it


   5    will    never          be    able       to    make       that       up    and    that's          going


   6    to    leave       a hole.              And we       have       to    do    it    on    both          ends,


   7    we    have       to    help       the       tenants       and       freeze       their          rent       and


   8    we    also       have       to    help       the    landlords             and we       can       do    it


   9    on    taxation.


  10           We    can      do     something             to    relieve          the    tax burden                by


  11    stopping          the       interest          payments          on       late    payments.


  12           SERGEANT            AT    ARMS:            Time    expired.


  13           COUNCIL          MEMBER YEGER:                    Okay       Serg.        We    can       stop


  14    the    interest             on    late       payments          and       allow    the       owners          to


  15    have    a little             bit       of    float       so    that       they    don't          have


  16    the    proverbial                gun    to    their       head       on    making payments


  17    at    the    same       time          that    they       are    not       receiving             an


  18    income.


  19           So,       that's         why     your       advocacy          on    this       Mike       is    so


  20    important             because          you    are       recognizing             that       it    does


  21    come    from both                ends.        We    can't       just       stop       it    on       one


  22    end,    we       do    also       have       to    help       those       people       who       have


  23    those       20    unit       buildings             before       they       get    the       other          8


  24    20-unit          buildings.


  25
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          COMMITTEE         ON       HOUSING          AND    BUILDINGS           JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                 AND      BUSINESS
          LICENSING                                                                                      50

   2           And    so,       I want         to     thank    you    all.           Thank       you    very


   3    much    Mr.       Chair       and       I yield back.


   4           AUSTEN       BRANDFORD:                 Thank       you.     We       will    now hear


   5    from    Council          Member          Cabrera       followed by             Council


   6    Member       Powers.


   7           SERGEANT         AT    ARMS:           And     your    clock will             start          now.


   8           COUNCIL       MEMBER CABRERA:                       Thank       you    so    much.


   9    First,       I want          to    wish       our    Speaker       a super          happy


  10    birthday          and    the       lord bless          you    and       give       you    many,


  11    many more          years.


  12           SPEAKER          JOHNSON:              Thank    you.


  13           COUNCIL       MEMBER CABRERA:                    And       also,       I want       to


  14    thank       the    Speaker,             the    Chairs       for    being       so


  15    parsimonious             with          your    questions          to    get    to    the       rest


  16    of    us.     I know          I can          speak    on    behalf       of    my


  17    colleagues;             we    really          truly    appreciate             it.


  18           My    question             is   in     regards       — I have          a couple          of


  19    questions          real       quick.           Does    it    make       more       sense       to


  20    have    to    state          and       the    city    come    up       with    a fund          that


  21    pays    for       those       who       are    struggling with                the    rent?           For


  22    those       who   were        unemployed,             we    know       the    full       list.


  23    There       are   people           who       are    employed.           There       are    people


  24    who    actually make                   more    money       than    ever.           But    we    have


  25    a big       segment          that       is    in    a tremendous             need.        Doesn't
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          COMMITTEE          ON HOUSING AND BUILDINGS                           JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                      AND BUSINESS
          LICENSING                                                                                        51

   2    it make       more       sense       to       have       the    state      and the        city


   3    come    up with          a fund to pay                   for    those      rent,        just       like


   4    Delaware.           This       is    not       unprecedented.                 The       State       of


   5    Delaware          pay    for       the    rent       for       all   the     renters?


   6           My    second question because                            I'm going          to   run        out


   7    of    time    is    that       if    the       nonprofits            organizations                 are


   8    excluded,          wouldn't          it make             also    sense       to    include


   9    those       landlords,             they have             the    same    business          plan,


  10    they have          the    same       agreements                with HPD when             it    comes


  11    to,    you    know,       many of             them they have               Title        11.        There


  12    were    agreements             in place             to be       able    to    have       low       rent.


  13    And also,          the    last       thing          is    Assemblywoman             Inez


  14    Dickens;          I was       in    a meeting             the    other       day and          she      was


  15    very much          afraid of             landlords             or minority owned


  16    landlords          that       could essentially be                      wiped out             if    they


  17    are    not    able       to    collect             rent    and we       could       see       pretty


  18    much    the       end of       a generation                of minorities                who    own


  19    property.


  20           So,    here       trying          to    find that balance,                   which          I


  21    know    is    very difficult.                       So,    I'll      turn     it    over       to      the


  22    panel       for    some       wisdom.


  23           BARIKA WILLIAMS:                       So,    I think — this                is   Barika.


  24    I think       I can pick up                   on    the    minority          landlords             and


  25    CDC's.        I think we             see       those       as    being       interrelated.
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          COMMITTEE ON HOUSING AND BUILDINGS                                 JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                  52

   2    We    do have          some       large    landlords          who    are minority


   3    owned but by and large                      that's          rarer    in    the    city.


   4           I was          able    to pull       those       numbers          and just       so


   5    folks       know,       I think it's             about       13 percent          of


   6    landlords             own    one building or                less    in New York City


   7    as    compared to             27    percent       that       own    61    buildings          or


   8    more.           So,    that's       sort    of    the       spread that we're


   9    talking about.                    There    is    relatively          few buildings


  10    that       are    owned by          small       landlords.           But       in both       cases


  11    when       it    comes       to    CDC's,       when    it    comes       to    some    of    our


  12    community controlled,                      like    CLT'S       or    our       limited


  13    equity co-ops                and then       also       our MWBE          developers.


  14    They       face       slightly different                challenges.              Our


  15    affordable             housing have             so many regulations                   that    are


  16    put    on       them by HPD but             also       at    the    federal       level       that


  17    dictate          their       contracts,          what       they can       collect       in


  18    rents       but       also what       they can          charge,          how much they


  19    can have          in    reserves.


  20           And       so,    they don't have                the   ability to          sort        of


  21    pull       in    from other buildings                   and other          locations.


  22    Likewise,             though there          are    concerns          similarly          for       our


  23    minority developers                   and landlords                sometimes          because


  24    we    do    know that             they are       underbanked and often


  25    underserved.
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          COMMITTEE            ON    HOUSING          AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE            ON     CONSUMER AFFAIRS                     AND    BUSINESS
          LICENSING                                                                                           53

   2           SERGEANT          AT    ARMS:           Time          is    expired.


   3           BARIKA WILLIAMS:                       On    loans          and    they       get    higher


   4    rates.


   5           COUNCIL          MEMBER CABRERA:                       Thank       you.


   6           AUSTEN          BRANDFORD:              Thanks             Council       Member.          The


   7    next    person          is    going       to       be    Council          Member       Powers


   8    followed by             Council          Member          Koo,       but    first       I want          to


   9    remind       everyone             to    identify             to    whom    your       questions


  10    are    directed,             so    they       can       be    unmuted          to.     Council


  11    Member       Powers.


  12           SERGEANT          AT    ARMS:           And      your        clock will             start       now.


  13           COUNCIL          MEMBER         POWERS:               Great,       thank       you.       Happy


  14    birthday Mr.             Speaker.              I hope             you    are    enjoying          it    and


  15    thanks       to    everybody             for       your       testimony          and       everybody


  16    viewing       at       home.           I hope       everybody             is    safe       and


  17    healthy.


  18           This       is    directed          to       any members             of    the       panel,       I


  19    guess    I can          start          with    Mike          McKee,       but    other          folks


  20    are    obviously             helpful          to    join          in.     I wanted          to    echo


  21    some    of    the       comments          that          were       made    earlier.              I do


  22    think    that          it's       important             that       we,    at    the    state          and


  23    local    level,          you       know,       ensure             that    folks       are       not


  24    being    evicted             at    this       point          and    time       based       on    loss       of


  25    income       or    inability             to    move          out    of    an    apartment.
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          COMMITTEE ON HOUSING AND BUILDINGS                              JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                            54

   2    There    is       just    so many reasons             why we       need to make


   3    sure    that people            have     some      housing        stability but


   4    particularly right                now.


   5           I am concerned that we                     also     should be providing


   6    people with the                ability and a better                ability to pay


   7    their    rent       in    the meantime which                is    good    for    all


   8    stakeholders             that we're         talking about here.                 And you


   9    know,    we put          out    some proposals             and    suggest       some


  10    things       like    flexibility in               terms     of using the


  11    security deposit                to be      able     to pay the          next months


  12    rent.        Obviously,          that      only covers           one month but          you


  13    know to       give       you    a bridge       in    the    time period that


  14    we're    talking about.


  15           My landlord has             offered rent            deferral programs                to


  16    be   able     to pay part          of      your     rent    or    just    to be    able


  17    to push a months                rent back and pay later,                   which       I


  18    also have          some    concerns.           But    enhance          rent programs,


  19    things       around SCRIE          to      enhance       the     SCRIE program          for


  20    people       in    need.


  21           For me,       it's      really important                that we     also make


  22    sure people          can       find ways       and creative ways                to make


  23    sure    that people            have     the    ability to pay rent                and       I


  24    wanted to hear             ideas      or    thoughts        on    in    addition       to


  25    just    an    eviction moratorium,                   other ways          that    the    city
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS              JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                   AND       BUSINESS
          LICENSING                                                                                      55

   2    or    state    can       be    interceding             to    help       people       be    able       to


   3    pay    the    rent       and what          creative          measures          you    might       be


   4    able    to    employ          right    now       to    not       just    shift       the


   5    onerous       over       to    those       who    own       property          some    are       mom


   6    and pop,       some       are       large    but       to    actually          assist       with


   7    the    tenants          ability       to    pay       right       now.


   8           MICHAEL       MCKEE:          Well,       that's          a mouth        full.


   9           COUNCIL      MEMBER           POWERS:           That's       a mouth          full,       I'm


  10    sorry.


  11           MICHAEL       MCKEE:           I'm not          sure      which     part       of    the


  12    question       —


  13           COUNCIL      MEMBER           POWERS:          Well,       just        other       ideas.


  14           MICHAEL       MCKEE:           If    I could back                just    a little          bit


  15    Council       Member.           I think we             all       need    to    acknowledge


  16    that    during          the    25    years       that       we    had vacancy


  17    decontrol          in    effect       and    other          deregulation


  18    amendments,             and    I want       to    remind          you    that    it       was    not


  19    the    republicans             in    Albany who             first       stuck us          with


  20    permanent       vacancy             decontrol.              It   was     the    democrats             in


  21    the    New    York       City Council             in    1994       under       the


  22    leadership          of    Speaker          Peter       Vallone.


  23           But    during          that    25    years       that      we     had vacancy


  24    decontrol       and       other       weakening             amendments          in    effect,


  25    most    of    which were             repealed          last       year,       thank       God.
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          COMMITTEE         ON    HOUSING       AND       BUILDINGS          JOINTLY WITH

   1      COMMITTEE         ON     CONSUMER AFFAIRS               AND       BUSINESS
          LICENSING                                                                                 56

   2    There    was    a huge          hit    on    affordability               to     housing,         not


   3    just    rent    regulated housing                   but       housing         in    general       in


   4    the    downstate          region.           And we       are       still      living with


   5    the    effects       of    that       hit    on    affordability.                   Rents       are


   6    much    less    affordable             now       than    they were            25    years       ago.


   7    25    years    ago,       no    one    thought          that       $2,000       a month


   8    would be       a normal          rent       in    Brooklyn         or    Queens.           In


   9    fact,    Council          Member       after       Council         Member          that    we


  10    were    trying       to    convince          to    vote       against         Peter Vallone


  11    Decontrol       bill       from Brooklyn,                Queens,         and       the    Bronx


  12    all    said,    "I    don't       have       any    apartments             in my         district


  13    renting       for    $2,000       a month."              And we         said,       just    pass


  14    this    bill    and wait          ten       years       and    you      will       and who       was


  15    right?        Were    we       right    or       were    they       right?          I rest       my


  16    case.


  17           But    there       are   a whole          bunch        of   things          that    could


  18    be    done.     We    won       a lot       of    things       last      year       but    we    did


  19    not    get    everything          we    need.           There      was     no      rent


  20    rollback.


  21           SERGEANT       AT    ARMS:           Time    expired.


  22           MICHAEL       MCKEE:           The    apartments            that     were


  23    deregulated were                not    reregulated             and we         did    not    get


  24    good    cause       eviction          passed       for    small         buildings.


  25    Those    are    things          that    need       to    be    done.
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          COMMITTEE         ON       HOUSING       AND       BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                          57

   2           COUNCIL          MEMBER       POWERS:           Mike       and      amen        and       I


   3    certainly          don't       have       any    apartments                at    [INAUDIBLE


   4    1:04:26]       I think          at    this       point       in       my    district,            but


   5    I'm    just    wondering             if    there       are       things          right       now      you


   6    think       that    or       Legal    Aid       or    ANHD       or    others          that      we


   7    should be          doing       in    addition          to    extending                an    eviction


   8    moratorium,             just    as    a flexibility.


   9           So,    I see          others       raising       their         hand,           I think


  10    Barika       had her          hand    up       to,    so.


  11           BARIKA WILLIAM:                 No,       Council          Member          Powers         and


  12    we're       happy       to    have    those          conversations                and work with


  13    you    on    some       of    those       ideas.        There's             been


  14    conversations                around       things       like       waiving             security


  15    deposits       and       allowing          tenants          to    use       them around


  16    accessing          the       reserves.           Around          letting          tenants


  17    amortize       their          rent    over       the     following               year       to   break


  18    a current          lease       early without                a penalty.                 But       some      of


  19    what    Mike       is    talking          about       but    I think             sort       of    our


  20    larger       point       and push          and       this    is       why       it's       important


  21    for    Council          Member       Cabrera's          earlier             question.                It's


  22    important          for       everybody          to    understand                the    scale         and


  23    volume.


  24           So,    if    we    were       talking,          there's          almost             3.5


  25    million       rental          units       in    just    the       city,          assuming            that
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          COMMITTEE             ON   HOUSING       AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE             ON    CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                        58

   2    they    rent       at    just       $1,000          a piece       which       is    a low ball


   3    number.           So,    you       know,       I'm    rounding          this       down       and


   4    assuming          that       people       can't       pay       for    three       months,


   5    that's       over       a half,       that's          a half          a billion          dollar


   6    price    tag       right       there,          right.


   7           So,    I think          it's       key       for    us    to    all    sort       of


   8    understand what                volume          we're       expecting          and       that's


   9    with    just       five       percent          of    people       not    being          able       to


  10    pay    their       rent       for    three          months.


  11           COUNCIL          MEMBER       POWERS:              Thank       you.     I'll       give      my


  12    time    back,       thanks.


  13          AUSTEN        BRANDFORD:                 Thank       you.        Next,       we'll       hear


  14    from    Council          Member       Koo       who       will    be    followed by


  15    Council       Member          Torres.           Council          Member       Koo?


  16           SERGEANT          AT    ARMS:           Council          Member       Koo,       your       clock


  17    will    start       now.


  18           COUNCIL          MEMBER KOO:                 Thank       you.     Happy birthday


  19    Speaker       and       I want       to    thank          everyone       who       come       in    to


  20    testify       today.           And    I support             the       spirit       of    the


  21    intent       of    Intro.          1912    and       1926       but    I have       a few


  22    questions          for       the    first       panel.           You    mentioned people


  23    have    no    jobs       and       they have          no    money       to    pay       for    the


  24    rent.        But    I thought             we    have       this       unemployment


  25    insurance.              Everyone          has       money       coming       from       the    state
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          COMMITTEE ON HOUSING AND BUILDINGS                               JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               59

   2    and on       top    of    that       the    federal       government          is    giving


   3    $600    per week to             adults       who    collect unemployment.


   4           So,   just        a rough estimate,               an     average worker,


   5    even    though they are                not working,             they collect


   6    unemployment,             they will          get    like       $3,000    a month.


   7           So,    I mean,       some       of    them might have             other


   8    circumstances             but    I think many of                them are       able       to


   9    pay their          rent.        If    they are          not    able    to pay the


  10    rent,       where    did the money go?                    If    you have       $3,000          a


  11    month,       per month          from the          government          and you buy          food


  12    and you pay bills,                   and unemployment wages,                   everyone


  13    don't pay rent.                 All    the    landlords          are    going to          go


  14    bankrupt.


  15           So,   how do we          help        all    these       landlords,


  16    especially the             small       ones?        Many landlords             have       their


  17    own    obligations.              They have          to pay mortgage,


  18    utilities          and property tax and don't                         forget property


  19    tax    is    one    third of          the    city revenues.              If    the


  20    landlords          don't pay tax,             the       city will       go bankrupt


  21    immediately.


  22           So,   we     all    have       to understand there                are       good


  23    intentions          but    then       there       are    unintended


  24    consequences.              We    don't want             those    things       to happen


  25    to    adults.        They are paying property tax to                               the    city
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          COMMITTEE         ON    HOUSING       AND    BUILDINGS              JOINTLY WITH

   1      COMMITTEE          ON   CONSUMER AFFAIRS             AND       BUSINESS
          LICENSING                                                                                   60

   2    and    if    they    don't       pay    tax    the    city will             get    broke       in


   3    a minute.           So,    can    any    one    of    you    answer          these


   4    questions?


   5           MICHAEL       MCKEE:        I'll       take    a stab          at   it     Council


   6    Member.        First       of    all,    just    let    me       point       out    that


   7    most    people       who    have       filed    for    unemployment                have       yet


   8    to    receive       any benefits          at    all.        In    fact,         there        was    a


   9    study       that    was    released       yesterday          Pew       Search       outfit


  10    that    found       that    29    percent       of    Americans;             this       was    a


  11    national       survey who          filed       unemployment                claims       in


  12    March       have    actually       received          unemployment               benefits


  13    and    that    means       71    percent       have    not.           Plus      $1,200        a


  14    month       that    the    federal       government          has       graciously


  15    granted       to    individuals,          I mean,       that's             a joke.


  16           So,    I don't      really       have     any    response             to    your


  17    larger       questions          about    what    are    we       going       to    do    to


  18    keep    the    housing          market    from       collapsing             but


  19    obviously,          this    has    to    be    a government                solution          and


  20    it's    going       to    involve       money.


  21           COUNCIL       MEMBER KOO:              I thought          if    they were


  22    approved,          they    can    get    unemployment             retroactively.


  23           MICHAEL       MCKEE:        Well,       look,    yeah but             they       don't


  24    have    it    now.


  25
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          COMMITTEE            ON    HOUSING       AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                   AND     BUSINESS
          LICENSING                                                                                         61

   2           COUNCIL         MEMBER KOO:               Well,          they    are       soon    to    have


   3    a bunch       of       money    coming.


   4           MICHAEL         MCKEE:         I have          a friend who             have       been


   5    trying       to    apply       for    unemployment                for       three    weeks          and


   6    she    can't       get       through.


   7           BARIKA WILLIAMS:                    Mike,          the    other       thing       that       I


   8    would       add    into       this    is       that       it's    very       clear       that


   9    there       are    huge       parts       of    New       York    City's          population


  10    who    are    ineligible             to    even       quality          for    unemployment,


  11    because       of       their    documentation                   status,       because          they


  12    operated          in    a cash       economy,             because       they were          out          of


  13    employment             too    long prior             to    this.


  14           So,   there's           also       a huge          set    of    people       who    have


  15    been    shut       out,       which       is    heavily          our    immigrant


  16    population             and    our    Black       and Brown             populations             which


  17    is    the    same       set    of    populations                that,       and    especially


  18    for    our    Asian          population          who       have       suffered       from this


  19    crisis       almost          a full       month before                almost       every body


  20    else    in    the       city,       right.


  21           So,    I think          there       are       some       key    things       that       we


  22    know    and we've             heard       are    huge       gaps       in    even    that       one


  23    time    stimulus             check    or       the    $600       bump       consistently.


  24


  25
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          COMMITTEE         ON   HOUSING        AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE         ON     CONSUMER AFFAIRS               AND        BUSINESS
          LICENSING                                                                                  62

   2           I know       there       are    some       others;       I think         I saw


   3    Caryn.        There      are     some       others       who    can    speak      to    this


   4    later.


   5           COUNCIL       MEMBER KOO:              Alright,          thank      you.


   6          AUSTEN        BRANDFORD:           Next,       we'll          hear   from       Council


   7    Member       Torres      followed by Council                    Member       Lander.


   8    Again,       a reminder          to    choose       who       you    are   directing


   9    your    questions          to    so    we    can    unmute          them   to.


  10           SERGEANT       AT    ARMS:           And    your       clock will         start       now.


  11           COUNCIL       MEMBER TORRES:                 Thank       you.       I want       to


  12    wish    the    Speaker          a happy birthday.                    I have      a question


  13    about    harassment,             I'm    curious          to    know    from      any    of       the


  14    advocates,          what    cases       of       COVID-19       harassment            have       you


  15    seen    on    the    ground       and       do    you    think       Intro.      1936       is


  16    sufficiently brought                   to    capture          those    cases?          And       I'd


  17    be    curious       to   know what           suggestive             revisions         you       have


  18    the    bill.


  19           CARYN    SCHREIBER:              Mike,       do    you    want      to    go    ahead?


  20           MICHAEL       MCKEE:           Caryn,       I think maybe             that's         a


  21    better       question       for       you.


  22           CARYN    SCHREIBER:              Sure,       thank       you    for      that


  23    question       Council          Member       Torres.           So,    in   terms       of       what


  24    we    would    recommend,             it's       just    a suggestion            that       the


  25
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          COMMITTEE         ON      HOUSING        AND      BUILDINGS              JOINTLY WITH

   1      COMMITTEE         ON        CONSUMER AFFAIRS                 AND     BUSINESS
          LICENSING                                                                                       63

   2    bill    could       include          an    additional            definition             of    a


   3    person      impacted by              COVID-19.


   4           We   proposed             including         a catch           all    provision          for       a


   5    person      who     may be          impacted          for      the    purposes          of    the


   6    legislation            but       doesn't        fall      into       one    of    the


   7    categories          listed.


   8           In   terms        of    what      we     are      seeing       on    the    ground,          we


   9    are    hearing         about        harassment            based       on    a perception               of


  10    lost    income         or     following            a renters          attempts          to


  11    discuss      with        the       landlord         that       they       have    lost       income


  12    and would         like        to    set    up      some       sort    of    payment          plan


  13    and    in   a particularly                 insidious            turn       because       of    the


  14    eviction       moratorium             that's          currently            in    place,       we


  15    believe      that        this       harassment            is    going       on    to    get


  16    tenants      to     in      some     way voluntarily                  involuntarily


  17    move.


  18           A way      of     a work       around,          around         the       current


  19    moratorium and we                   expect         that       this    behavior          will       only


  20    escalate       and       get       worse      as    the       months       go    by    and    folks


  21    continue       to      be     unable       to      pay    some       or    all    of    the    rent.


  22           COUNCIL         MEMBER TORRES:                 And       I'll       just   make        one


  23    general      comment             here,     where         as    a city we're             facing         a


  24    humanitarian             crisis,          a nightmare            that       poses       a


  25    systemic       risk         to     working         families,          to    small       property
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          COMMITTEE ON HOUSING AND BUILDINGS                                JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                 64

   2    owners,       to    even       the    city which disproportionately


   3    depends       on property taxes.


   4           And as      has       been pointed out,                you    know,       there          is


   5    risk in       freezing evictions                   without      cancelling                rent.


   6    And there          is    risk in       cancelling          rent without


   7    subsidizing             it    and as       far   as    I can    tell,       there          is    no


   8    means    of    subsidizing without                     federal       intervention                and


   9    I'm pessimistic                about       the prospects            for    federal


  10    support.


  11           So,    in   the       absence       of    federal       support,          what's          the


  12    exit    strategy             from this       nightmare?             For me,          there's          a


  13    real    quandary about how to move                         forward.


  14           MICHAEL MCKEE:                 I think your            question          is   well


  15    taken    and       I don't       think any of us               has    an    answer.              I


  16    mean,    state          and    federal       government have               got       to    step


  17    up   and it's           going to       involve money and you                     know,          as


  18    Barika pointed out,                   we   have       thousands       and thousands


  19    of people who                don't    qualify under            any of       these


  20    programs       and they are                going to be         left       out    on       the


  21    cold which          is       why we    are       calling      for universal                rent


  22    forgiveness             or    cancellation,            not means          tested.


  23    Because       if    you have          a means         test,    his    or hers             and


  24    undocumented tenants,                      they are      going to be             excluded


  25    and that's          not       right.
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          COMMITTEE       ON    HOUSING         AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE       ON       CONSUMER AFFAIRS               AND        BUSINESS
          LICENSING                                                                                    65

   2           COUNCIL    MEMBER TORRES:                    And    it's       worth       pointing


   3    out    that    many working             families          have       been       slow      to


   4    receive       their    stimulus          checks          because          of    under


   5    banking.        Not    everyone          has       a bank       account          that      allows


   6    for    direct    deposit.


   7           MICHAEL    MCKEE:           Right.


   8           COUNCIL    MEMBER TORRES:                    There       is    just       infinite


   9    ways    in    which    COVID-19          has       brought       to       light      deeper


  10    inequalities          in    America          but    I thank          you       all   for       your


  11    testimony.


  12           AUSTEN BRANDFORD:                Okay.            Next,       we    will      be


  13    hearing       from Council          Member          Lander       followed by


  14    Council       Member       Louis.


  15           SERGEANT       AT    ARMS:       Council           Member          Lander,         your


  16    clock will       start       now.


  17           COUNCIL    MEMBER LANDER:                    Thank       you       very much            to


  18    the    Chairs    and       I'll    join       in    the       birthday wishes                  to


  19    the    Speaker.


  20           I'm    going    to    follow          up    on    both    of       Council         Member


  21    Torres's       questions          and    I guess,             first       Ms.    Williams,


  22    first    of    all,    welcome          to    the       Council       of       sorts      and


  23    your    role.


  24           You    know,    I think       you          said    that       you    would provide


  25    a little       data    to    the    Council             and    I think          after      this
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          COMMITTEE ON HOUSING AND BUILDINGS                                     JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                     66

   2    dialogue       about how many New Yorkers                               and especially


   3    what percent             of    tenants          roughly will             not be          eligible


   4    for unemployment                   insurance          and       federal       stimulus,


   5    would be       really helpful                   here.           Because       it    is    true


   6    that part          of    the       idea       of unemployment                insurance          is    to


   7    enable people             to have             the    resources          that       they need to


   8    pay their bill.                    So,    it's       taking too          long,       a lot       of


   9    people won't             get what             they need but             as    people          start


  10    to   get     those       and it          is    income       replacement,             you       know


  11    that    for people             in    something of                a position          to       cover


  12    their      expenses           but    as        you point          out,       there's          a very


  13    high percentage                of New Yorkers                   who will       not be


  14    receiving any relief because                               of    the    callus


  15    xenophobic.             We     just       shouldn't             let    that    sit       as    though


  16    that's       like       reasonable.                 What we       have       are    a set       of


  17    xenophobes          running the                senate       and the White                House       and


  18    as   a result,           a whole          set       of hard working New York


  19    families       who       just       as    much as          everyone          of us       on    this


  20    call    need a place                to    live       and    food to          eat    are       going


  21    to have       no    relief.


  22           So,   I think it would be                       helpful         if     you    could just


  23    help us       document what percent                         of New York tenants                      are


  24    being      left     out       in    the       cold because             that    is    a piece          of


  25    why New York City and New York State                                     have       an    extra
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS          JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                    AND   BUSINESS
          LICENSING                                                                                   67

   2    responsibility             to    step       up    and    do    something          here.          So,


   3    is    that    something          that       you    could       help       with?


   4           BARIKA WILLIAMS:                Yeah,           absolutely.


   5           COUNCIL       MEMBER TORRES:                 And       then    I guess,          I do


   6    want    to    just       ask    a little,          I understand             you       know,


   7    Michael       you're       right       that       we    need    federal


   8    intervention             here    but       I do    think       it's       worth       like


   9    going    a little          further          on    how we       think       about       that


  10    because       if    what       we're       saying       is,    some       version       of


  11    those    of    us       that    are    lucky       enough       to    still       you    know,


  12    have    our    income          and    you    know,       pay    rent       and pay


  13    mortgage       but       there's       a whole          lot    of    people       who    can


  14    you    know,       pay    rent       and pay mortgage                but    there's          a


  15    whole    lot       of    people       who    can't       and how          that's       going       to


  16    work    its    way       through       the       system.


  17           It's    not      that    hard        to    imagine       that       the    federal


  18    reserve       or    a set       of    banking          institutions          in


  19    partnership             with    the    federal          government          could


  20    actually       imagine          some       reasonable          guidelines.              So,


  21    that    you    know,       where       tenants          can't       pay    and    therefore


  22    were    multifamily building                      owners       with       tenants       who


  23    can't    pay       their mortgage,                they    can       expect       to    relate


  24    to    their    lending          institutions             in    a way       that       says,


  25    yes,    we're       like       all    in    a shared          crisis.        Here       is    some
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          COMMITTEE ON HOUSING AND BUILDINGS                                    JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                     68

   2    set    of provisions             for how to                deal with          it    in ways


   3    that    don't put people                   on    the       streets          and we    haven't


   4    heard anything about                   that       at       the    national          level.        I


   5    know that's          not       your    job       or    the       job    of    today's


   6    hearing but          I wonder,             Barika,          this       is    something that


   7    you,    you    know,       the       housing market                and its


   8    interconnectedness                   pretty well.                 Like       can    you    just       do


   9    a little more             thinking with us                   assuming we             start      the


  10    ball    rolling with this                   legislation                and we push          it up


  11    to    the    state with the                rent       and mortgage moratorium


  12    legislation.


  13           What    do we       expect          at    the       level       above       that    to   kind


  14    of hold our          system together                   for       the    next       year,    not


  15    put people          on    the    street but                then    still       leave       us   the


  16    housing economy as                   we move          forward beyond that?


  17           BARIKA WILLIAMS:                    So,    I mean,          I think what             this


  18    bill    and this          legislation             seem like             they are          doing       is


  19    creating       sort       of    a bubble          around the New York City


  20    housing       stock,       so    that when we                get       to what       in


  21    vernacular,          we're       all       calling the             91 St day.         Which


  22    could be       at    91    or    could be             at    120    or       right whatever


  23    day that       that       is.


  24           So,    when we          get    to    that       91 St day,           how are we          not


  25    in    a place where             to    Caryn's          point,          we    don't have         you
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          COMMITTEE            ON    HOUSING       AND       BUILDINGS             JOINTLY WITH

   1      COMMITTEE            ON     CONSUMER AFFAIRS                 AND       BUSINESS
          LICENSING                                                                                     69

   2    know,       thousands          of    people          run      in    and    file    evictions,


   3    right.        That       creates          an    enormous            strain       right    there.


   4    So,    we   want        to    prevent          that      but       what    we    also    need       to


   5    ensure       is    that       we're       not       delaying         that       a year    out,       so


   6    that    we're          looking       at    having          that      same       exact


   7    circumstance,                just    maybe          trickled         out    over       a longer


   8    period       of    time       or    delayed          a longer            period    of    time.


   9    And    I think          that's       where          it   goes       to    okay    then,       what


  10    is    the    state       going       to    be       stepping —


  11           SERGEANT          AT    ARMS:           Time      is    expired.


  12           BARIKA WILLIAMS:                    In       to   do    in    the    interim       and


  13    then    what       is    the       federal          government            going    to    be


  14    stepping          in    to    do    and    those         solutions          might       not    be


  15    the    same       for    everybody             or    they might            not    be    the    same


  16    depending          on    what       point       and      time       you're       in.     Whether


  17    it's    you       know,       one    year       out      or    it's       six months          out    or


  18    two    years       out.


  19           COUNCIL          MEMBER TORRES:                   Thank       you    very much         and


  20    I'm pleased             to    sign    onto          both      pieces       of    the


  21    legislation             being       heard       today with               thanks    to    their


  22    sponsors.


  23           AUSTEN          BRANDFORD:         Okay,          next       we'll       have    Council


  24    Member       Louis       followed by                Council         Member       Chin.


  25
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS          JOINTLY WITH

   1      COMMITTEE         ON        CONSUMER AFFAIRS             AND      BUSINESS
          LICENSING                                                                                  70

   2           SERGEANT          AT    ARM:        Council       Member       Louis,       your       time


   3    will    start       now.


   4           COUNCIL      MEMBER LOUIS:                  Good       afternoon          everyone.


   5    I want       to    wish       Speaker       Johnson       a very       happy birthday


   6    and    thank       you    Chair's          Cornegy       and    Cohen       for    hosting


   7    this    hearing.              I'm    getting       a lot       of    emails       from


   8    different          small       businesses          in    regards       to    this       bill,


   9    so    I am assuming                this    question       could       go    to    Caryn       or


  10    anyone       on    the    first       panel.        But       the    question          is,    for


  11    big businesses                like    Kings       Plaza,       City    Point,          those


  12    locations          are    in       Brooklyn.        If    they were          to    commence


  13    an    action       for    eviction          before       the    New York          enforced


  14    policy,       are    City Marshals                still       prohibited          from


  15    evicting?           And       if    so,    how    does    1912       help    or    hurt


  16    small    businesses?                 Thank       you.


  17           CARYN      SCHREIBER:               Thank    you       Council       Member.           Just


  18    so    I can       make    sure       I understand             your    question.              Will


  19    City Marshals             be       able    to    evict    currently          or    if,       or


  20    while    the       state       moratorium          is    in    effect       or    if    the


  21    1912    moratorium was                in    effect       or    all    three?


  22           Oh,    Council          Member,          I think       you    are    muted.


  23           COUNCIL      MEMBER LOUIS:                  Can    you       hear    me    now?


  24           CARYN      SCHREIBER:               Yes,    I can       thank       you.


  25
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          COMMITTEE            ON    HOUSING          AND       BUILDINGS        JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                   AND    BUSINESS
          LICENSING                                                                                         71

   2           COUNCIL          MEMBER LOUIS:                    Perfect.        Currently             or


   3    during       the       New    York       on    pause,          were    they    able       to    evict


   4    after.        Will          they    still          be    able    to    evict       if    they


   5    already       had       come       into       action       before       hand       and    how       does


   6    1912    help       or       hurt    the       small       businesses          in    the       bigger


   7    conglomerate?                 I don't          know       if    you    are    familiar          with


   8    Brooklyn          or    Kings       Plaza          more    or    City    Point,          if    there


   9    was    a smaller             business          within          and    they were          about       to


  10    get    evicted,             before       New York          on    pause,       how       does    this


  11    bill    help       or       hurt    them?           Thank       you.


  12           CARYN       SCHREIBER:                 So,       it's   my     understanding             that


  13    after    the       moratorium ends,                      any    notices       of    eviction


  14    which    are       legally          required before                   a Marshal          can


  15    execute       a warrant             of    eviction,             must    be    reserved.


  16           So,    if       an    eviction          was       scheduled       for       let's       say


  17    March    20       or    maybe       like       March        21 St , and      that       eviction


  18    did not       happen,          the       warrant          wasn't       executed.              The


  19    notice       of    eviction          will          need    to    be    reserved          again


  20    either       when       you    know,          when       they    are    able       to,    when


  21    this    current             moratorium ends                and/or       when       the    Marshals


  22    begin    serving             notices          of    evictions          again       in    order       to


  23    execute       them.


  24           And    this          I mean,       having          notice       served       again       is


  25    extremely          important             whether          for    residential             tenants
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          COMMITTEE         ON    HOUSING              AND    BUILDINGS          JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                 AND       BUSINESS
          LICENSING                                                                                           72

   2    at    risk    of    eviction             or    commercial             tenants          at    risk          of


   3    eviction,          so    that       the       tenant    is       on    notice          and       is


   4    aware       that    the       eviction          can    be    scheduled             and       is


   5    coming       up.


   6           And    in    terms          of    how    a moratorium would benefit


   7    small       businesses             that       may have       been       at    risk          of


   8    eviction       prior          to    it    going       into       effect       this          will


   9    hopefully          allow       those          small    businesses             along          with


  10    other       renters       an       opportunity          to       devise       a plan,


  11    hopefully with                the       assistance          of    government                funding


  12    to    stave    off       that       eviction.           And       delaying             that


  13    eviction       will       provide             some    opportunity             for       them to             do


  14    that    whereas          right          now,    they    don't          have       a chance             of


  15    preventing          that       eviction          from       going       forward.


  16           COUNCIL      MEMBER LOUIS:                     Alright,          thank          you.


  17           CARYN       SCHREIBER:                 Thank    you.


  18          AUSTEN        BRANDFORD:                 Now,    I'll       turn       to   Council


  19    Member       Chin       who    will       be    followed by             Council             Member


  20    Grodenchik.


  21           SERGEANT         AT    ARMS:            Council       Member          Chin,          your


  22    clock will          start          now.


  23           COUNCIL      MEMBER CHIN:                     Thank       you.        Thank          you       to


  24    the    panel,       thank          you    to    the    Chair          and happy birthday


  25    to    our    Speaker.              What       I wanted       to       raise       is    that          in    my
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          COMMITTEE ON HOUSING AND BUILDINGS                                       JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                           73

   2    district particularly,                         I do have          a lot          of    small


   3    property owner                that       are    legacy owners.                    That       are


   4    owned by you             know,       families             for    generation.                 They all


   5    wanted to build things                         or    family association based on


   6    last    name       or    the part          of       China       that       the    immigrated


   7    from.        And they are working with their                                     tenant          and


   8    trying to work with them.                             They are             not    evicting them


   9    because       they can't pay rent but what                                  they are             asking


  10    the    city       for    is,       you    know,       help       them out with the


  11    property tax             issue.


  12          What        about      you     know,          deferring a portion                      of       the


  13    property tax or                delaying payment,                      so    that       they can


  14    also meet          their needs?                 And that's             something that


  15    they are          asking the             city.        At    the       same       time,           you


  16    know,       the water          charge          are    going up.              You       know,           a


  17    lot    of people             are    home,       they use more water                         and water


  18    bills       are    coming due.


  19           So,    they are             really asking                for    deferral             of    these


  20    payments          you    know,       hopefully after                   the       crisis          is


  21    over.        So,    that's          something that we                      have       to    look at


  22    what we       can       do    as    a city          for    some       of    these          good


  23    property owners                who       are    supporting their                      tenant.


  24           At    the    same       time,      we        still   have           some       really bad


  25    property owners                who       are    using these                times       to    raise
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          COMMITTEE ON HOUSING AND BUILDINGS                                 JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                      74

   2    rent.        They are       issuing new leases                      to    residents          and


   3    they are       asking       for       a huge       rent       increase          or    that       they


   4    are    trying to          evict       them and not            allow them to have


   5    secession       rights,          that       they have          to    fight       for       it.        I


   6    mean    those       are    the    cases       that we're             still       getting and


   7    also    some    landlords             not providing heat                   and hot water.


   8           So,    I think what            the bill           in   terms       of     the


   9    harassment,          I wanted to             ask Caryn          from the             Legal Aid


  10    Society,       in    terms       of    and maybe Mike.                    Is    there       other


  11    tenant harassment                issues?           Are    they also             coming       into


  12    your    office       and to       the       hotline       and how are we                   helping


  13    these    tenants          because       right       now,      the        courts       are


  14    closed.        But       they need to prepare                   to       fight       the


  15    harassment          or    fight       the    evictions.              Thank you.


  16           CARYN    SCHREIBER:              I can       start Mike             if    that's          okay


  17    with you.           So,    in    terms       of    certainly we                are    hearing


  18    from tenants             about    landlords          not maintaining


  19    essential       services          like       hot water          or heat          during the


  20    night    or    even       during the          day when          it's       still       cold.


  21    And the       housing       courts          remain       open       for    those       types          of


  22    emergency housing part proceedings                                  related to


  23    repairs.        The       housing       courts       are      also        open       for


  24    illegal       evictions          or    lockout       cases          because          any


  25    eviction       right       now is       an    illegal         eviction           and
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          COMMITTEE            ON    HOUSING             AND       BUILDINGS             JOINTLY WITH

   1      COMMITTEE            ON     CONSUMER AFFAIRS                        AND     BUSINESS
          LICENSING                                                                                              75

   2    unfortunately,                   those       types          of    cases          are    still       being


   3    filed.        People             are    being          unlawfully                locked       out       of


   4    their       homes       and       certainly,                we    are       also       hearing          about


   5    tenants       who       are       being made                to    feel       that       they       need       to


   6    leave       their       homes          because             of    the    impact          that       COVID-19


   7    has    had    on       them,       either             as    people          who    are       potentially


   8    exposed       or       are       sick with             COVID-19             or    those       who       have


   9    lost    income          as       a result             of    the       pandemic          and    the


  10    shutdown.


  11           COUNCIL          MEMBER CHIN:                       Thank       you.


  12          AUSTEN           BRANDFORD:                We'll           now    turn       to       Council


  13    Member       Grodenchik who                      will       be    followed by Council


  14    Member       Rosenthal.


  15           SERGEANT          AT      ARMS:            Council             Member       Grodenchik,


  16    your    time       is       starting             now.


  17           COUNCIL          MEMBER GRODENCHIK:                             Thank       you      very much.


  18    Thank       you    Chairs,             happy birthday                   Speaker.              Ms.


  19    Williams,          do       we    have       an       estimate          or       Mr.    McKee       or


  20    anybody,          do    we       have       an    estimate             on    how many people


  21    you    feel       are       going       to       be    in       danger       of    not       being       able


  22    to    pay    their          rent       on    a long             term basis             in    the    City       of


  23    New    York?           How many units?                          Are    we    talking          10,000


  24    units,       are       we    talking             100,000?              Because          that       is


  25    really       a big          part       of    this          issue       here.           You    know       if
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          COMMITTEE      ON    HOUSING          AND       BUILDINGS           JOINTLY WITH

   1      COMMITTEE      ON    CONSUMER AFFAIRS                      AND    BUSINESS
          LICENSING                                                                                      76

   2    it's    100,000,       it's       a big,          big,       big    issue.           If    it's


   3    10,000,       much more          manageable.


   4           I think Ms.         Williams           is    talking         but     —


   5           BARIKA WILLIAMS:                 There       we       go.     I think         the        best


   6    way    that    we've       had    to    look       at    the       numbers,          so    some


   7    people    are    looking          at    the       numbers          based    on


   8    unemployment.              The    other       side       and the       other         way        that


   9    we've    looked       at    these       numbers          is    based       on    the       loss       of


  10


  11           COUNCIL   MEMBER GRODENCHIK:                           I don't       have       much


  12    time;    do    you    have       an    estimate?


  13           BARIKA WILLIAMS:                 We    think          currently          in   the        first


  14    month    and    a half,          it's    about          30    percent       loss          of    rent


  15    role    for    many    of    our       members.


  16           COUNCIL   MEMBER GRODENCHIK:                           And   how many people


  17    would    that    be    with       30    percent          of    what?


  18           BARIKA WILLIAMS:                 If    we    were       looking          across          the


  19    entire    city's       rental          population,             that    would be                one


  20    million.


  21           COUNCIL   MEMBER GRODENCHIK:                           How many          units          are


  22    there    of    rental       housing          in    this       city?


  23           BARIKA WILLIAMS:                 About       3.5       million.


  24           COUNCIL   MEMBER GRODENCHIK:                           Okay,    so       that      is


  25    almost    —
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          COMMITTEE            ON   HOUSING          AND    BUILDINGS             JOINTLY WITH

   1      COMMITTEE            ON   CONSUMER AFFAIRS                   AND     BUSINESS
          LICENSING                                                                                             77

   2           MICHAEL         MCKEE:          Roughly           2 million          rental         units.


   3           BARIKA WILLIAMS:                      Oh,    sorry,          yeah,       2 million


   4    rental,       1.5      homeowner.


   5           COUNCIL         MEMBER GRODENCHIK:                       Okay,       well,          I do


   6    think       you    know,         I was       involved          in    the    early          90's


   7    because       I'm old            in    the    co-op       and       condo       crisis          when


   8    you    were       able      to     take      a building             that    had       15       percent


   9    you    know       join      and       then    you    know,          people       were          in


  10    danger       of    losing          everything.             We       were    able          to    put


  11    together          in   the       Queens       Borough          Presidents             Office


  12    under       the    great         leadership          of    Claire          Shulman,             we      were


  13    able    to    save       the       units      of    20,000          homeowners             in       Queens


  14    and    it    also      helped          of    course       the       renters          as    well


  15    because       they weren't                  dispossessed             either.              And       I


  16    really       think Brad               Lander       hit    at    it,       but    I think             that


  17    we    are    going       to      need       a holistic          solution             where          the


  18    banks       who    made       these         loans    are       willing          to    step


  19    forward       and      everybody,             I think          is    going       to       have       to


  20    eat    something            here.


  21           I'm not         sure        that      a blanket          noneviction               procedure


  22    will    be    the      answer          but    I think we             definitely                need       to


  23    have    an    answer          to      this    and    I want          to    thank          the       Chairs


  24    for    leading         this        discussion            today       on    these          important


  25    pieces       of    legislation.                But       I really          think          that       we
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          COMMITTEE         ON       HOUSING       AND    BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON        CONSUMER AFFAIRS               AND       BUSINESS
          LICENSING                                                                                     78

   2    are    going       to    need       really       everybody             kicking       in    and       I


   3    think my       colleague             Margaret          Chin       was    also      quite


   4    correct       in    saying          that       property       taxes       are      something


   5    we're    going          to    have    to       look    at.        They    are      out     of


   6    control       in    the       City    of       New York.           We    could put          liens


   7    on    property          taxes,       put       a lien    on       an    apartment


   8    building       until          it's    sold,       so    the       city wouldn't             be


   9    losing       out.        But       I think       really       from where             I'm


  10    looking       at    here,          this    is    going       to    take      a very,        very


  11    large    solution.


  12           And    I thank          you,       I thank       the    panel         for   being         here


  13    today    and       helping me             to    clear    my head          so    to    speak          and


  14    start    to    think          about       this    issue       a little          more


  15    clearly.


  16           With    that          I waive       the    balance         of    my     time.        Thank


  17    you    very much.


  18          AUSTEN        BRANDFORD:                 Thank    you.       Next,        we'll       turn


  19    to    Council       Member          Rosenthal          and    follow back             to    our


  20    Chair's       and       Speaker       Johnson          for    any       final      questions.


  21           SERGEANT          AT    ARMS:           Council       Member       Rosenthal,


  22    your    time       will       start       now.


  23           COUNCIL       MEMBER ROSENTHAL:                       Thank      you     very much.


  24    Thank    you       all       for    your       testimony.              I would       like       to


  25    also    try    to       get    to    some       numbers       and       think      about        for
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          COMMITTEE            ON       HOUSING          AND       BUILDINGS          JOINTLY WITH

   1      COMMITTEE            ON       CONSUMER AFFAIRS                    AND      BUSINESS
          LICENSING                                                                                               79

   2    the    purpose             of    helping          the       city bring             this       to    the


   3    attention             of    the       federal          government             because          I really


   4    do    think       at       the       end    of    the       day,       the    city       is    not       going


   5    to    be    able       to       bail       out    you       know,       renters          or    small


   6    property          owners.              And       of    course,          we    all       want       to


   7    prevent          some       sort       of    venture             capitalist             from       coming


   8    in    and    swooping                everything             up    and making             it    ten       times


   9    worse.


  10           And       I'm       listening             to    each      of    you        go   back        and


  11    forth       on    the       numbers          and       just       having          a hard       time


  12    trying       to       fine       tune       it.        You       know,       if    you    say we          have


  13    2 million             renters,             how many people                   in    New York             City


  14    are    on    unemployment,                   a half          a million             now?        Not       quite


  15    sure.        And       then          add    on    that,          everyone          who    can't          even


  16    get    unemployment                   insurance.                 Can    we    start       to       quantify


  17    the    magnitude                of    it    that       way?


  18           BARIKA WILLIAMS:                          So,       I would       say,          I think          one    of


  19    the,       I'm hearing                a lot       about          the    numbers.              I think


  20    one    of    the       challenges                here       is    that       these       are       moving


  21    numbers.              We're          pulling          things       from       different


  22    resources.                 They       are    not       disaggregated                   and we       can't


  23    line       them up.


  24           So,   we've              got    a set          of   population              primarily


  25    focused          in    our       Asian       communities                that       were       impacted,
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          COMMITTEE ON HOUSING AND BUILDINGS                              JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                              80

   2    had a rent          loss,    really largely before                      any of       this


   3    tracking          started.        So,    put    them on          a months          impact


   4    ahead of          everybody else.              Then we          start       from


   5    tracking,          if we    use    unemployment,                we're       skipping       some


   6    of    the    other populations                highlighted before,                   right.


   7    If we're          looking    strictly at             the       loss    of    rent    roles,


   8    that    doesn't necessarily                   speak to people who have


   9    lost well,          sorry,    unemployment                also    doesn't          speak to


  10    the    fact       that people might be                taking unemployment but


  11    still       trying to pay their                rent       or    still paying a


  12    portion       of    their    rent,       right.


  13           So,    that       doesn't necessarily                   fully line         up with


  14    the    ability to pay or                not pay your             rent       although we


  15    expect       and    fully anticipate                that       that's       a core part


  16    of    the population          that       isn't       able       to pay.          And then,


  17    we've       got    another    set       of    the population                that    isn't


  18    tied to unemployment                at       all,    it's       sort    of       separate


  19    from this.           Maybe    is    still       employed,             has    had huge


  20    reductions          in    their    incomes,          they are working part


  21    time    and they are          also       struggling to pay rent.                         They


  22    might be paying half,                   they might be paying a quarter,


  23    they might be paying                zero.           And    so,    all       of   those


  24    numbers,          right    and then          each two weeks,                we probably


  25    scale       that    number up proportionally because                               there    is
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          COMMITTEE            ON    HOUSING          AND    BUILDINGS          JOINTLY WITH

   1      COMMITTEE            ON     CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                         81

   2    more    and more             people       impacted.              So,    that's          one    of       the


   3    struggles          right          now    for    anybody being                able       to    track


   4    this.


   5           COUNCIL          MEMBER ROSENTHAL:                    And       I would          add    to


   6    that,       how    do       we    expect       people       to    ever       be    able       to    make


   7    up    the    rent?           It's       not    going       to    happen.


   8           BARIKA WILLIAMS:                    Right.


   9           MICHAEL          MCKEE:          A lot        of    these       jobs,       they       are


  10    gone.        They       are       not    coming back plus                there          are    people


  11    leaving          the    city because                of    lost    of    income,             loss    of


  12    employment             and       how    you    calculate          this,       I mean,          good


  13    luck with          it       but    as    Barika          points       out,    it's          a moving


  14    target.           It's       going       to    be    big;       it's    going          to    big;


  15    it's    going          to    be    a lot.


  16           COUNCIL          MEMBER ROSENTHAL:                    Yeah,       I agree            with        you


  17    on    that.        I just          think       you       know we       got    low —


  18           SERGEANT          AT       ARMS:        Time       expired.


  19           COUNCIL          MEMBER ROSENTHAL:                    Okay,       thank          you    for


  20    keeping me             on    the       clock,       but    thank       you    to       the


  21    panelists          for       all       your    hard work,             everything             you    are


  22    doing       to    keep       our       tenants       safe.        There       is       no    question


  23    the    federal          government             is    going       to    have       to    come       in


  24    and    there       is       no    question          but    that       banks       are       going       to


  25    have    to       step       up.        That's       who    was    bailed          out       last    time
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          COMMITTEE         ON    HOUSING       AND     BUILDINGS         JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS             AND       BUSINESS
          LICENSING                                                                               82

   2    around       and    this    time      they     need    to    bail       out       everyone


   3    else.


   4           Thank       you.


   5           AUSTEN       BRANDFORD:           Thank    you.           Just       circling back


   6    to    Speaker       Johnson      for     any    final       questions             and moving


   7    on    to    Administration            testimony.


   8           SPEAKER       JOHNSON:           Thank    you       Austen.           I just      want


   9    to    quickly       go    back   and     ask,    is    the       new    economy


  10    project       on?


  11           MICHAEL       MCKEE:        Yes.


  12           SPEAKER       JOHNSON:         Okay,      I wanted          to       ask   you    guys,


  13    you    guys    have       been   fighting        for       a broad          set    of


  14    emergency measures               to     protect       New Yorkers             health,


  15    safety       and    financial         security        including             advocating


  16    for    a moratorium on             debt      collections           in       New   York


  17    State.        Can    you    talk      about     the    short       and       long       term


  18    harmful       impacts       of   money       judgements           and       other       debt


  19    collection measures                on    New York          City's       low       income


  20    communities          and    communities          of    color?


  21           ANDY MORRISON:            Absolutely,               so,    already         debt


  22    collection,          predatory          debt    collection             is    a scourge          in


  23    low    income       communities          and    communities             of    color       and


  24    what       we've    seen    over      the    years     particularly                through


  25    our    financial          justice       hotline       is    debt       collectors
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          COMMITTEE ON HOUSING AND BUILDINGS                               JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                             83

   2    using and abusing our                 courts          to    get    judgements


   3    against New Yorkers                 violating their                due process          using


   4    all    kinds    of     shady tactics             to    get    judgment          and then


   5    enforce      those        judgements        against New Yorkers                   to


   6    siphon massive              amounts    of wealth             from communities.


   7          So,   it's       an    issue    that       exacerbates          and


   8    perpetuates          racial        and economic             inequality in             our


   9    city and again,              to underscore,                these    are    the    same


  10    communities          that have been particularly harmed by


  11    COVID-19       and are          subject     to    all       kinds    of    racial       and


  12    economic       inequities.


  13          And   so,      in     the   short     term,          the moratorium is


  14    needed as       our       other     immediate          remedies       to    some       of    the


  15    issues      that we've            seen New Yorkers                facing.        In    the


  16    long term,        what we're          hearing          from a lot          of    our


  17    community partners                 and organizations                that we've


  18    worked with          is     that,    while we          need to       really       stretch


  19    the bounds        of      the     city's    authority and our                   creativity


  20    to    address     the       immediate       issues          people    are       facing and


  21    while we       need to pressure              the       state       and the       federal


  22    government        to      do more,     we    also          need to be       thinking


  23    about building alternative                       institutions.              And New


  24    York City is           fortunate       in    one way that             it has          laid a


  25    lot    of   critical         groundwork          for worker          cooperatives,
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          COMMITTEE            ON    HOUSING          AND     BUILDINGS            JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                   AND       BUSINESS
          LICENSING                                                                                        84

   2    community             land    trusts.           There's          an       exciting movement


   3    for    a public          bank,          which would             over       the    long          term


   4    address          a lot       of    the    issues          that       have       been       surfacing


   5    throughout             this       hearing       from the             banks       not       serving


   6    communities             equitably,             to    landlords             harassing             and


   7    exploiting             their       tenants          and    the       list       goes       on    and    on.


   8          And        so,   there's           a lot      of     excitement             and


   9    enthusiasm             for    building          new       institutions                and       economic


  10    models          that    would       create          and build             resiliency             and


  11    build       institutions                that    are       rooted          economic          and


  12    racial          justice       and       equity.           And    so,       we    really


  13    strongly          encourage             the    Council          to    be    thinking             about


  14    that       as    we    move       into    this       economic             recovery phase.


  15    To    be    thinking          about       the       types       of    initiatives                the


  16    city       can    adopt       to    really          recreate          an    economy             that


  17    works       for       everybody.


  18           SPEAKER         JOHNSON:               Thank      you     Andy       and       do   we    have


  19    someone          from the          Community          Service             Society          CSS    on?


  20    No,    no       one    from       CSS    or    do    they       need       to    be    unmuted?


  21           BARIKA WILLIAMS:                       I think       Sergeant             it's      Oksana.


  22          MICHAEL          MCKEE:            Oksana       is    here,          online.


  23           BARIKA WILLIAMS:                       Yeah,       she's       here.


  24           SPEAKER         JOHNSON:               Okay,      hold        on    a second.


  25    Oksana.
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          COMMITTEE         ON       HOUSING       AND       BUILDINGS              JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                   AND        BUSINESS
          LICENSING                                                                                        85

   2           OKSANA MIRONOVA:                    Thank       you.           Thanks,          Barika.


   3           SPEAKER          JOHNSON:           Hi    Oksana,             so,    first       before          I


   4    ask my       question,             I just       want       to    really          extend my


   5    condolences             to    you    and    to       the    entire          CCS       family       in


   6    New    York       City       lost    a legend          and       you       lost       a colleague


   7    in    Tom Waters             who    such    a giant             in    the       housing


   8    community          and       fighting       against             poverty          in    New       York


   9    City    for       decades          and we       know       that       COVID-19             took    his


  10    life    and we're             sending       our       condolences                to    you       all    at


  11    CSS    and    the       Broader       Tenant          Movement             is    mourning          Tom's


  12    loss    as    well.           We    really       appreciate                CSS's       continued


  13    dedication          to       fighting       for       the       most       vulnerable             during


  14    this    time       where       your       mourning          Tom's          loss,       so       thank


  15    you    for    being          here.


  16           You    all       done       a lot    of    work          to    show      that       many New


  17    Yorkers       were       in    crisis       even       before          COVID.              That    30


  18    percent       of    New       Yorkers       were       falling behind                      on    rent


  19    before       the    virus          hit.     I wanted             to    ask,       what          percent


  20    of    New    Yorkers          do    you    think       are       falling behind                   rent


  21    right       now    as    a result          of    this       crisis          and what             are    the


  22    risks       that    those          tenants       are       going       to       face       and what


  23    risk    does       the       city    face       if    we    don't          step       up    to


  24    protect       them       now?


  25
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          COMMITTEE ON HOUSING AND BUILDINGS                             JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                              86

   2           OKSANA MIRONOVA:                 Absolutely.            Thank        you    and


   3    thank you          so much and thank you                 for    listening to             our


   4    testimony and yeah,                   I really appreciate              the    statement


   5    about       Tom,    it's       difficult      to believe         that he's          gone.


   6           So,    we    know that         from the      data       that was       available


   7    from the          LUNY public health               research;         they've been


   8    doing a survey every                   single week about              the    number       of


   9    people who          are       effected by COVID-19.                  And    from our


  10    own    research about               the    number    of people who have                  less


  11    than    $1,000          in    savings      which    is   70    percent       of    low


  12    income people                have   less    than    $1,000      in    savings.


  13           At    the    end of March,            there was        probably about


  14    126,000       people who were               I don't want         to    say were


  15    likely to          fall behind on            rent but who            lost most       of


  16    their       income       and also         didn't have         enough money in             the


  17    bank to make             a months'         worth of      rent.


  18           So,    that's          126,000      renters,      specifically in             the


  19    private market,                so   that's    excluding everyone who                     gets


  20    Section       8.        Excluding everyone who                 lives       in public


  21    housing because we're making the                          assumption with the


  22    Cares       Act    that       their   rent    is    going to be            covered at


  23    least       for    the       next   couple    of months.


  24           There       is    no   guarantees       beyond that but               for    the


  25    foreseeable             future.       So,    that's      126,000       people       in
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          COMMITTEE            ON    HOUSING          AND       BUILDINGS             JOINTLY WITH

   1      COMMITTEE            ON        CONSUMER AFFAIRS                AND      BUSINESS
          LICENSING                                                                                           87

   2    late    March.              We    don't       have       figures          for       April,       we


   3    don't       know what's                going       to    happen          in    May but          the


   4    harsher          social          distancing             rules       went       into       effect          I


   5    think       on    March          16 th .     So,    and       lots       of    people          lost


   6    jobs    after          that,       so      that     number          is    much       larger          by


   7    now.


   8           SPEAKER             JOHNSON:           Thank       you.           Thanks,         Oxsana.              I


   9    just    want          to,    yeah       Barika,          go    ahead          you    are       unmuted.


  10           BARIKA WILLIAMS:                       I just,         since        we've          gotten          a


  11    lot    of    questions             about         specific           data,       I think          Oxsana


  12    can    probably             chime       in    on    this       and       tell       me    if    she


  13    disagrees,             but       I think         one     thing       you       all       could       do       and


  14    especially             you       Speaker,          could maybe                help       us    with       one


  15    thing we          know would               aid     a lot       of    our       analysis          is


  16    being       able       to    get       the    unemployment                data       disaggregated


  17    at    something             other       than       the    citywide             or    county          level.


  18           So,   when           we    just       get   that       big        number,          it's       really


  19    hard    to       do    anything with.                    That       translates                into    very


  20    different             rents,       very       different             numbers          of       people          in


  21    different             places.           One      thing        that       we've       been       trying


  22    to    figure          out    with       New York          State          DOL,       I'm not          sure


  23    where       they       are       but    if    we    could       get       that       number          at


  24    some    sort          of    smaller          geography          and with more


  25    frequency,             I think          that       would be          hugely          helpful.
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          COMMITTEE ON HOUSING AND BUILDINGS                            JOINTLY WITH
   1      COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                88

   2           SPEAKER JOHNSON:           Thank you.                I appreciate              you


   3    all    testifying today under                these       trying


   4    circumstances.           I want       to   thank all           the      Council


   5    Members       who    I have been       listening to               all     their


   6    questions,          very thoughtful          questions,             I appreciate


   7    it.     And    I just want       to    say you          know,       the    Council            is


   8    doing the best          that we       can.       We     are    trying here               to


   9    give    some    level    of protection             to    renters,          to    tenants,


  10    to New Yorkers          who we    know are vulnerable                      and


  11    suffering but          again,    I think it's               just       important           for


  12    the public          to understand and realize                     that with one                 of


  13    the worst       economic       situations          the      city has           ever been


  14    in,    with a $2.5 billion budget                     shortfall           in    the


  15    current       fiscal    year    that we're            in,     not      even     talking


  16    about    next       fiscal    year which begins                on      July     1 5t .     We


  17    estimate       that    that    number      is    upwards          of    another          $5


  18    billion,       so we're       somewhere         near     $8    billion          in    the


  19    hole    and that number          could grow.                The     city doesn't


  20    have    the    resources       and money to be                doing many of                the


  21    things    that we       all    know is       the      right       thing to           do,


  22    which    is    why we    need    federal         help       and     federal


  23    intervention          to help us       here.


  24           There was       a bill    I know that was                  put     forward by


  25    some Assembly Members             and Senators                calling          for    a $10
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          COMMITTEE            ON    HOUSING       AND    BUILDINGS              JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS             AND       BUSINESS
          LICENSING                                                                                  89

   2    billion       program          from the          federal       government             to


   3    actually          compensate             landlords       for    tenants          who       can't


   4    pay    their       rent.        So,       landlords       could          still       pay    their


   5    property          taxes       and    real       estate    taxes          which       then


   6    wouldn't          undermine          the    city's       budget.


   7           We    know       there       is    another    bill      that        would       cancel


   8    rent    but       by    Senator          Gianaris    but       we    want       to    do


   9    anything          we    can    but       ultimately when             you've          seen    these


  10    really       outrageous             statements       by    the       Senate          Majority


  11    Leader       Mitch McConnell,                   saying    that       states          and    local


  12    governments             should       just       declare    bankruptcy,                the    human


  13    impact,       the       toll    that       that    would have             on    New York


  14    City    is    beyond          comprehension.              And       so,    his       comments


  15    softened          just       a little       bit    yesterday but                we    know    how


  16    he    really       feels.           We    really    need       in    this       next


  17    stimulus          bill       a significant          amount          of    money       for    New


  18    York    City       to       protect       the    social    safety          net.


  19           Our    north          star    in    this   process           is    to   protect


  20    people       that       are    vulnerable.           To    protect             New    Yorkers


  21    that    were       struggling             and vulnerable             before          this


  22    crisis       hit       to    protect       children       and       seniors          and


  23    tenants       in       low    income       communities          and       communities          of


  24    color       and    immigrant             communities,          people          that    we    knew


  25
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                   AND       BUSINESS
          LICENSING                                                                                        90

   2    were    struggling before                   COVID-19             slammed          into       our


   3    city.


   4           So,   throughout              this       budget      process           and      through


   5    our    advocacy       to       both       the    state       and       our    federal


   6    representatives,                we    are       going       to    continue             to    push    for


   7    money    and programs                that       will    help          New    Yorkers          that


   8    need    it   most     right          now.


   9           I really       appreciate                all    of   you       and     your


  10    organizations             joining          us    today       for       this       important


  11    call.        It's    a nice          way    to    spend my             38 th birthday              on


  12    this    Zoom       conference             and    I just          wanted       to       thank       you


  13    all    for   being        here       today       and    I'm happy             to       either       turn


  14    it    back    to    Chair       Cohen       or    Chair          Cornegy          or    to    the


  15    Committee          Counsel       so       that    we    can       hear       from       our    next


  16    witness.


  17           AUSTEN       BRANDFORD:              I can       now      call        on   members           of


  18    the    Administration                to    testify.


  19           So,   today we          will       be     hearing         testimony              from       Dana


  20    Sussman       of    the    Commission             on    Human          Rights          and    Sheriff


  21    Joseph       Fucito       of    the       Department             of    Finance.              AnnMarie


  22    Santiago       Department             Housing          Preservation                and


  23    Development          will       also       be    available             for    questions.


  24


  25
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS           JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                AND     BUSINESS
          LICENSING                                                                                91

   2          Can     the    three       of    you       please       raise    your    right


   3    hands.        We    will    administer             the    oaths       once;    we    will


   4    unmute       you    to    affirm       individually             at    the    end.


   5           Do   you     affirm       to    tell       the    truth,       the    whole    truth


   6    and    nothing but          the       truth before             this    Committee          and


   7    to    respond       honestly          to    Council       Member       questions?


   8           PANEL:        Yes.


   9          AUSTEN        BRANDFORD:             Dana        Sussman?


  10           DANA    SUSSMAN:           Yes.


  11          AUSTEN        BRANDFORD:             Sheriff        Fucito?           Sheriff?


  12           JOSEPH       FUCITO:           Yes.


  13          AUSTEN        BRANDFORD:             Great.         AnnMarie          Santiago?


  14    AnnMarie?


  15          ANNMARIE           SANTIAGO:           Yes.


  16          AUSTEN        BRANDFORD:             Great,       wonderful.            You    may


  17    begin       when    you    are    ready.


  18           DANA    SUSSMAN:           Alright,             I think       I am    starting.


  19    Good    afternoon          Speaker          Johnson,          Committee       Chairs


  20    Cornegy       and    Cohen       and       the    members       of    the    Committees.


  21    I am    Dana       Sussman,       Deputy          Commissioner          for    Policy


  22    Intergovernmental                Affairs          at    the    New    York    City


  23    Commission          on    Human       Rights.           Thank    you    for    convening


  24    today's       hearing       to    address          the    critical          needs    of    New


  25    Yorkers       during       the    COVID-19             pandemic.        We    know    that
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          COMMITTEE         ON    HOUSING           AND      BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON        CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                        92

   2    many    of    us    are       now       struggling             and may be             mourning          a


   3    loss    of    friends          and       family          and    co-workers             and    I want


   4    to    take    a moment             to    acknowledge             that       during       this


   5    incredibly          difficult             time.


   6           As    you    likely          know,       the       Commission             is   the     local


   7    law    enforcement             agency          of    Civil       Rights          Law


   8    Enforcement             Agency          that    enforces             the    New York          City


   9    Human       Rights       Law,       one    of       the    broadest          and most


  10    protective          anti-discrimination                         and    anti-harassment


  11    laws    in    the       country,          now       totaling          26    protected


  12    categories          across          nearly          all    aspects          of    city       living:


  13    housing,       employment                and public             accommodations,                   in


  14    addition       to       discriminatory harassment                            and bias-based


  15    profiling          by    law       enforcement.                 By    statute,          the


  16    Commission          has       two       main    functions.                 First,       the


  17    Commission's             Law       Enforcement             Bureau          enforces          the       City


  18    Human       Rights       Law by          investigating                complaints             of


  19    discrimination                from       the    public,          initiating             its       own


  20    investigations                on    behalf          of    the    City,       and utilizing


  21    its    in    house       testing program                   to    help       identify


  22    entities       breaking             the    law.


  23           Second,          the    Community            Relations              Bureau,      which           is


  24    comprised          of    Community             Service          Centers          in    each       of    the


  25    City's       five       boroughs,          provides             free       workshops          on
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          COMMITTEE         ON       HOUSING          AND     BUILDINGS         JOINTLY WITH

   1      COMMITTEE         ON       CONSUMER AFFAIRS                   AND   BUSINESS
          LICENSING                                                                                    93

   2    individuals             right       and businesses,                employers            and


   3    housing      providers              obligations             under       the      City       Human


   4    Rights       Law    and       creates          engaging          programming            on    human


   5    rights       and    civil          rights          issues.


   6          Before       turning              to    Intro.       1936,      I'd     like      to


   7    highlight          some       of    the       important          work    that         the


   8    Commission          is       doing       to    address          discrimination               and


   9    harassment          that       we       have       seen    emerging         in    the       midst    of


  10    the    current          public          health       crisis       posed by COVID-19.


  11    In    the    context          of    the       COVID-19          pandemic,         we    have       seen


  12    a multitude             of   ways        in    which       the    City      Human       Rights


  13    Law    intersects            with        the       rapidly       changing         needs       of    New


  14    Yorkers       in    crisis.              Starting          in    January,         the


  15    Commission          began          to    monitor          and    increase         in    anti-


  16    Asian       discrimination                   and harassment,             including


  17    scapegoating,                fearmongering,                and    the    spread         of


  18    misinformation,                as       news       about    COVID-19          started         to


  19    emerge.


  20          In    February,              the       Commission          started         to    receive


  21    its    first       reports          of       New    York    City-based            incidents          of


  22    discrimination                and       harassment          targeting            Asian       New


  23    Yorkers.           At    the       same       time,       the    Commission's               East


  24    Asian       Communities             Liaison          Flora       Ferng      and       other


  25    members       of    the       community             outreach       team were            working
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          COMMITTEE           ON    HOUSING          AND       BUILDINGS          JOINTLY WITH

   1      COMMITTEE           ON    CONSUMER AFFAIRS                   AND       BUSINESS
          LICENSING                                                                                             94

   2    regularly with                  community             leaders       of    Asian          and       Pacific


   3    Islander         or    API       communities                throughout             New    York          City


   4    to    provide         information                and    resources             about       the


   5    Commission's               work.


   6           From      February          through mid-April,                         the   agency


   7    recorded         284       reports          of    harassment             and       discrimination


   8    related         to    COVID-19,             over       40    percent          of    which          or    115


   9    identify         incidents             of    anti-Asian             harassment                or


  10    discrimination.                   And       I'd       just    like       to    note       that          we


  11    released         numbers          last       week.           The    numbers          I'm


  12    reporting            out    today       are       updated          as    of    earlier             this


  13    week,      so    the       numbers          are       slightly higher.


  14          By     comparison,               during         this     same      time       period              in


  15    2019,      the       Commission             had       received          just       five       reports


  16    of    anti-Asian            discrimination.                    This       influx          in       reports


  17    and    cases         resulted          in    the       Commission's                April


  18    announcement               of    the    formation             of    a COVID-19                Response


  19    Team    to      handle          reports          of    harassment             and


  20    discrimination                  related          to    the    outbreak.              The       Response


  21    Team    is      comprised          of       staff       from       the    Law       Enforcement


  22    Bureau       and      the       Community Relations                      Bureau          working             in


  23    coordination               to    quickly          and       efficiently             track          and


  24    respond         to    the       sharp       increases          in       reports          of


  25    harassment            and       discrimination                connected             to    the
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          COMMITTEE            ON    HOUSING          AND    BUILDINGS              JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                   AND       BUSINESS
          LICENSING                                                                                      95

   2    pandemic.              The    COVID-19          Response             Team has       now       taken


   3    action       in    176       of    those       reports,             including,          for


   4    example,          conducting             early       or    emergency             intervention,


   5    providing          know       your       rights       information                about    how       to


   6    request       a reasonable                   accommodation,                referring          the


   7    individual             to    another          service          or    agency,       or


   8    commencing             an    investigation.


   9           In    addition,             the       Commission         has       opened        active


  10    investigations                into       26    matters          spanning


  11    discrimination                in    housing,          public             accommodations,             and


  12    employment             on    the    basis       of    race,          national       origin,


  13    disability,             and       lawful       source          of    income.


  14    Additionally,                the    Response          Team has             now    successfully


  15    resolved          and       closed       ten    matters             of    COVID-19       related


  16    harassment             and    discrimination                   so    far.


  17           The    Commission's                Community            Relations          Bureau       or


  18    CRB    has    also          held bystander                intervention             trainings


  19    with    the       Center          for    Anti-Violence                   Education,       which


  20    provide       techniques                to    safety       de-escalate             a bias


  21    incident          in    real       time       and    just       earlier          this    week       or


  22    late    last       week,          were       recently piloted                in    Mandarin.


  23           In    early March,                CRB    co-sponsored                community          forums


  24    in    Sunset       Park Brooklyn                and Manhattan's                   Chinatown


  25    educating Asian                   communities             of    their       rights       and
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          COMMITTEE         ON    HOUSING       AND    BUILDINGS        JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS             AND   BUSINESS
          LICENSING                                                                           96

   2    protections          under       the    law.     The    Commission            has    held


   3    virtual       town    halls,       in    partnership         with       sister


   4    agencies,          elected       officials       and    community based


   5    organizations             highlighting workplace                  rights       related


   6    to    COVID-19,       reporting          discrimination            and    harassment


   7    related       to    COVID-19       and    responding         to    hate       and bias


   8    with    restorative             justice    measures       among         other       topics.


   9           The   Commission          continues        to    produce         and promote


  10    content       to    provide       key    information         to    impacted


  11    communities          on    their       rights    in    several      language


  12    including          many    of    those    spoken       by Asian         New    Yorkers


  13    facing       heightened harassment                and    discrimination


  14    including          Cantonese,          Fujianese,       Korean,         Mandarin       and


  15    Tagalog with          additional          language       forthcoming.                The


  16    Commission          staff       currently       speak over         30    languages.


  17           Shortly       after      the     outbreak began,           the     Commission


  18    launched       an    online       resource       page    outlining            New


  19    yorker's       rights       and protections             around      COVID-19


  20    related       harassment          and    discrimination            in    housing,


  21    employment          and public          accommodations            which       is


  22    regularly updated.                 The    page    is    available         at


  23    nyc.gov/stopcovidhate.                    The    commission         also       currently


  24    has    a paid       campaign       running       on    social      media       platforms


  25
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          COMMITTEE            ON    HOUSING         AND    BUILDINGS           JOINTLY WITH

   1      COMMITTEE            ON    CONSUMER AFFAIRS                 AND    BUSINESS
          LICENSING                                                                                     97

   2    directing people                to      our    resources           on    their       rights          as


   3    they    relate          to    COVID-19.


   4          Turning           now   to     Intro.        1936,      most      cases        of   housing


   5    discrimination                against         a person         with      suspected          or


   6    confirmed          COVID-19,            or    against         a person         carrying          for


   7    someone       with       a suspected               or    confirmed        case,       are


   8    protected          under       the      City       Human      Rights      Law's       broad


   9    protections             based      on    actual          or   perceived         disability


  10    or    a person's             association            with      someone         with    a


  11    disability.


  12           In    addition,         essential            workers         who   may        face


  13    housing       discrimination                  because         they      are    at    risk       of


  14    exposure          to    COVID-19         are       protected by           the       City    Human


  15    Rights       Law's       protections               based      on   lawful       occupation.


  16          The     Commission's               Law Enforcement                Bureau        has


  17    directly          received         228       COVID-19         related         inquiries,             44


  18    of    which       are    in    the      housing          context.         The       Commission


  19    has    provided          tenants         and       co-op      residents         with


  20    information             regarding            the    City      Human      Rights       Law       and


  21    in    some    cases,          contacted management                      companies          or    co-


  22    op    boards       to    advise         them       of    their     responsibilities


  23    under       the    law.        For      example,          where      restrictions               on


  24    residents          to    reduce         the    spread         of   COVID-19          did    not


  25    allow       for    accommodations                  for    residents           with
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          COMMITTEE         ON    HOUSING             AND    BUILDINGS             JOINTLY WITH

   1      COMMITTEE         ON    CONSUMER AFFAIRS                      AND       BUSINESS
          LICENSING                                                                                        98

   2    disabilities.                 For    example,             in    situations             in    which


   3    buildings          are    not       permitting             or    facilitating


   4    deliveries          to    the       door       of    individuals                with


   5    disabilities             unable          to    exit       their       apartment             due    to


   6    their       limitations             or    immunocompromise                      conditions,


   7    COVID-19          self-quarantine,                   or    because          they       are    unable


   8    to    lift    or    otherwise             carry packages                   due    to    a


   9    disability.              The       Commission's                Law    Enforcement             Bureau


  10    is    able    to    intervene             and provide                inquirers          with


  11    information          about          their       rights          to    request          a


  12    reasonable          accommodation.


  13          While        Intro.          1936       does    not       amend      the     City Human


  14    Rights       Law,    it       does       amend       or    seek       to    amend       the


  15    Housing       Maintenance                code's       language             on    protected


  16    categories          with       respect          to    tenant          harassment             which


  17    was    modeled       after          language          in       the    City Human             Rights


  18    Law    to    protect          against          harassment             based       on    a person's


  19    protected          status.


  20           That       2017    addition             of    those      protected              categories


  21    with    respect          to    tenant          harassment             and housing             code,


  22    allows       tenants          to    choose          whether          to    file    a


  23    discrimination                claim with             the       Commission          or       can    take


  24    a case       to    housing          court.           Because          of    the    substantial


  25    overlap       between          existing protections                         in    the       City
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          COMMITTEE           ON    HOUSING             AND     BUILDINGS         JOINTLY WITH

    1     COMMITTEE           ON    CONSUMER AFFAIRS                    AND      BUSINESS
          LICENSING                                                                                       99

    2   Human       Rights       Law       and      the       Housing Maintenance                   Code,


    3   several       of      the     protections               contemplated                in    1936


    4   already       exist         to     protect            tenants       against          harassment


    5   in    housing.


    6          As   I said before,                      this    is   true        for    cases      of    both


    7   confirmed          or    suspected               COVID-19,          or    when       an


    8   individual            has     a relationship                  or    association             with


    9   someone       with       an      actual          or    suspected          case       of    COVID-19,


  10    including          for      example,             family members                who       reside    in


  11    the    unit.


  12           It   is     important               to    note    that      if     a tenant          chooses


  13    to    prevent         claim under                this     provision            in    housing


  14    court,       they       typically will                  be   precluded              from bringing


  15    the    same      claim        at      the       Commission.              Currently,


  16    remedies         in     housing            court       are   usually           limited       to


  17    civil       penalties            ranging          from       $1,000       to    $10,000


  18    compared         to     remedies            at    the     Commission,               which    include


  19    uncapped         compensatory                   damages       to    the    victim,          civil


  20    penalties          of    up      to     $250,000          and      other       affirmative


  21    relief.          Because           the      remedies          in    housing          court       are


  22    more    limited          than         at    the       Commission,          it       is    vital    that


  23    tenants       understand                the      options        available            to    them and


  24    are    able      to     make       an      informed          decision          regarding          the


  25    venue       they      choose.              To    the    extent       that       New       Yorkers
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS             JOINTLY WITH

    1     COMMITTEE         ON     CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                  100

    2   experience          discrimination                or    harassment             with    respect


    3   to    any    of    the    protected          categories             articulated             in    the


    4   City    Human       Rights          Law,    we    always          encourage          them to


    5   contact       the       Commission.


    6          The   Commission              recognizes             that    people       who    have


    7   COVID-19          are    at    risk    of    contracting                the    virus    and/or


    8   are    essential          workers          must    be       able    to    live       safely       and


    9   securely          and    should       never,       under          any    circumstance,


  10    have    to    contend with             discrimination                   harassment.              We


  11    are    committed          to    working with                the    Council       to    ensure


  12    that    he    devastating             impacts          of    this       public       health


  13    crisis       are    not       unnecessarily             compounded             and    that       new


  14    Yorkers       can       live    peacefully             in    their       homes,       free       from


  15    harassment.              We    are    acutely          aware       of    the


  16    vulnerabilities                of    New Yorkers             right       now    and    the


  17    Commission          is    ever       more    committed             to    defending          the


  18    human       rights       of    all    New Yorkers,                especially          those


  19    impacted by COVID-19.


  20           Thank       you    for       convening          today's       hearing          and    I


  21    look    forward          to    your    questions.


  22           AUSTEN       BRANDFORD:              Thank       you.        A quick       reminder


  23    that    if    you       mute    yourself,          you       cannot       unmute


  24    yourself.


  25           Sheriff          Joseph       Fucito?
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          COMMITTEE         ON HOUSING AND BUILDINGS                        JOINTLY WITH

    1     COMMITTEE         ON     CONSUMER AFFAIRS                AND BUSINESS
          LICENSING                                                                                   101

    2          JOSEPH      FUCITO:            Good afternoon members                       of   the


    3   Committee          on    Consumer Affairs              and Business                Licensing


    4   and Committee             on    Housing       and Buildings.                  I am Sheriff


    5   Joe    Fucito       and       I am here       today to           discuss       proposed


    6   Intro.       1912.


    7          Before      I do,        I want       to    take    the    time        to    thank the


    8   City Council             for    its    efforts        to    tackle       the       many


    9   hardships          facing New Yorkers                 during       the    COVID-19


  10    pandemic       and beyond.              We    have     all       been    touched by


  11    this    crisis,          my office       included,           with       the    loss       of


  12    loved ones.              Sheriff's       Public        Safety Officer                   Serge


  13    Paul    passed away             last week after              a brave          struggle


  14    against       COVID-19.           He    was       a dedicated           law enforcement


  15    officer,       husband,          and    father        and    I would be             remiss       if


  16    I did not publicly acknowledge                             his    dedicated             service


  17    and    sacrifice.


  18           The   Sheriff's          Office        fully appreciates                    what we


  19    believe       is    the       Council's       intention           to provide             relief


  20    to New Yorkers                from debilitating              seizures          of property


  21    and monetary assets.                    However,           Intro.       1912,       while


  22    well    intended,             raises    significant              legal    concerns             for


  23    my office.              The    work of       our     Office       is    integrally


  24    related to          the       work of    the       judicial        system and


  25    governed by             State    Law.
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          COMMITTEE ON HOUSING AND BUILDINGS                              JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               102

    2         May     I take    a moment         to provide              a quick


    3   explanation          about    judgement          enforcement matters.                       A


    4   judgement       is    the    final       outcome       of    a court          case.        A


    5   judgment       resolves       the       contested issues                and terminates


    6   a lawsuit,          since    it    is    regarded as             the    court's


    7   official pronouncement                   of    the   law on        the       action       that


    8   was    pending before             it.     The    judgment          states          who has


    9   won    the    case    and what          remedies       are       awarded to          that


  10    prevailing party.                 Remedies       may include monetary


  11    damages,       injunctive          relief,


  12          or both.


  13          Judgements        are       enforced by writs                of       execution,


  14    which      can be     addressed to             the   Sheriff           or    in New York


  15    City to       the Marshal,          commanding them to                      give    the


  16    plaintiff possession                of    land;      or     to    enforce          the


  17    delivery of personal property which was                                     the    subject


  18    of    an   action,     or    to    collect       the      amount        of    the


  19    judgment,       depending on             the    relief       sought          in    the


  20    underlying          case.


  21          As     I've    described,          judgment         and execution


  22    enforcement          are mandates             that   come        from the          court.


  23    They are       under    the       governance         of     the    State          court


  24    system and implemented through the                               State       Civil


  25    Practice       Law and Rules.                 Indeed,       they represent                the
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          COMMITTEE ON HOUSING AND BUILDINGS                                    JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                  103

    2   core    function          of    the    judiciary branch and the


    3   ultimate       expression             of    its    independent                decision


    4   making authority.                 We believe                that       Intro.    1912       would


    5   require       actions          that    interfere with this                      well


    6   established          structure.


    7          The bill          assigns       duties          to   the        Sheriff   that


    8   presupposes          the       Sheriff has             control          over    the    judgment


    9   and execution process.                          However,          that    is    not    the


  10    case.     The       Sheriff       is       an    officer          of    the    court    and


  11    wholly guided by the                   exacting             statutory          steps    set


  12    forth    in    the       CPLR which preclude                      the    Sheriff's


  13    personal       judgment          or    outside          review.


  14           Courts    have          repeatedly held that                      a Sheriff       cannot


  15    look behind the                court mandates                or    review them for


  16    error    and can be penalized                      for       doing       so.     For    these


  17    reasons,       it    is    our view that                the       Sheriff       could not


  18    comply with the                directives          of       Intro.       1912    without


  19    violating the panoply of                         State       laws       that    govern       the


  20    Sheriff's       role       as    the       civil       enforcement             official       of


  21    the    courts.


  22           In my role          as    Sheriff,          I am not             a heartless          bill


  23    collector,          but    rather          an    officer          of    the    court who has


  24    the    duty to       enforce          the       laws    enacted          for    the


  25    protection          of    the    lives,          persons,          property,          and
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS              JOINTLY WITH

    1     COMMITTEE         ON        CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                     104

    2   health       of    our    citizens.              I hope          that       my    testimony


    3   today has          conveyed my passion                      for       following          the    law


    4   and    having       the       Office       of    the       Sheriff          working


    5   productively             and    cooperatively                   for    the       betterment       of


    6   all    New Yorkers.


    7          Thank       you    for       your    time       and       I will          now    take    any


    8   questions.


    9         AUSTEN        BRANDFORD:              Thank          you.        We    will       now    open


  10    it    up    for    questions          from       Speaker          Johnson          and    the


  11    Chair's.


  12           SPEAKER       JOHNSON:              Thank       you      very much.               I really


  13    appreciate          your       patience.              I know          you    guys       waited    for


  14    a while       to    testify.              So,    Sheriff,             I want       to    thank    you


  15    for    your       patience          and    I want          to    give       you    our


  16    condolences          on       the    loss       of    someone          in    your       office,


  17    I'm    really       sorry.           As    you       said,       this       is    touching       all


  18    of    our    lives       and we       want       to    remember             all    of    the    folks


  19    that       have    been       serving       New York             City,       especially          the


  20    city workers.                 So,    thank       you       for    acknowledging                this


  21    wonderful          person       who       served       the       City       of    New York.


  22           I wanted          to    ask    you       Sheriff;          do    you       have    any


  23    policies          that    guide       how       you    decide          to    prioritize          your


  24    enforcement          actions?              Are       you    trying          to    avoid


  25    targeting          low    income          New    Yorkers          right          now?
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          COMMITTEE ON HOUSING AND BUILDINGS                                JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                               105

    2          JOSEPH      FUCITO:           Part    of    our protocols                during this


    3   COVID-19         emergency is          we're       looking at          emergency type


    4   orders       and orders         that       affect public             safety.


    5          So,   right       now,       orders    of protection                are    still


    6   being enforced,               mental       hygiene warrants                are    still


    7   being enforced.                Things       that    involve public                safety,


    8   we   are     enforcing.


    9          Things     that        require       the    types       of    court process


  10    that    require         the    seizure       of money and property,                      we're


  11    looking at very carefully.                         There       are    certain


  12    protections            in place       that    are    only available when                   the


  13    court      system is          open    and    fully       functioning.              So,


  14    those      are    items       that we       take    a careful          look at


  15    because whenever we                  seize money or property,                      those


  16    remedies         should be          available       to    the person.              They


  17    should be         able    to be       able    to    go    to    court       and look to


  18    have protection               granted by the             court.


  19           So,   right now we're                not    conducting any property


  20    seizures         but    that's       simply because             the    court       system


  21    is   not     fully open         and those          remedies          are    not


  22    available         to    them except          for very limited


  23    circumstances.                So,    the    types    of    orders          we    are


  24    carrying out            you would be          considering emergency type


  25    orders.
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          COMMITTEE             ON   HOUSING        AND    BUILDINGS                JOINTLY WITH

    1     COMMITTEE             ON   CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                        106

    2          SPEAKER          JOHNSON:           Sorry    about          that.           Is    it    safe


    3   to    say    Sheriff          and    so,    I assume          it       is    because          of    the


    4   answer       to    the       question       you    just       gave.           Is    it       safe       to


    5   say    that       you    are       enforcing       judgments                during       this


    6   crisis?


    7          JOSEPH       FUCITO:              Yes.


    8          SPEAKER          JOHNSON:           And what          if    you       go    and       the


    9   person       says       they       have    COVID-19?


  10           JOSEPH       FUCITO:              Well,    the    idea          of    enforcement


  11    doesn't          necessarily work                that    way.           If    we    have       to


  12    serve       an    order       of    protection          on    somebody             and       they


  13    have    COVID-19,             the    Deputy       Sheriff          has       to    serve       that


  14    person.           So,    our       officers       have       to    wear       protective


  15    gear.        We    try       to    have    as    limited          contact          as    possible


  16    the    person       within          the    confines          of    the       order.


  17           So,   whatever              the    order    tells          us    to    do,       we    still


  18    have    to       carry       out    even    though       COVID-19             is    going          on


  19    but    we    can    take          obvious       safety precautions                      for    our


  20    officers.


  21           SPEAKER          JOHNSON:           Thank    you       and       if    the       state


  22    moratorium          lapses,          are    you    going          to    rely       on    the


  23    courts       to    determine             whether     someone            is    protected by


  24    the    federal          moratorium?


  25
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          COMMITTEE        ON    HOUSING          AND       BUILDINGS              JOINTLY WITH

    1     COMMITTEE        ON     CONSUMER AFFAIRS                     AND       BUSINESS
          LICENSING                                                                                          107

    2          JOSEPH      FUCITO:          We     have       to.           Unfortunately,                   in    my


    3   role    as      Sheriff,          while       I have       personal             opinion          and


    4   like    said,      my personal                feeling          is    I think          that       these


    5   concepts         are    very       good       to    explore.              In    my    role       as


    6   Sheriff,         I have       to    be    somewhat             agnostic          and       stand


    7   offish,         neutral.           I can't          really weigh                in    on    these


    8   positions         and    I have          to    rely       on    the       court       to    be       the


    9   best    guide      for       what    the       Sheriff          is       supposed          to    do.


  10           SPEAKER         JOHNSON:           Thank       you       Sheriff          and       thank          you


  11    to   the     members         of    the    Administration.                       I turn          it    back


  12    to   the     Committee            Counsel.


  13           AUSTEN     BRANDFORD:                  Thank       you       Speaker.           Any


  14    questions         from       the    Chair's?


  15           CO-CHAIR         COHEN:       Austen,              I'm going             to   defer.               I'm


  16    going      to    let    the       Committee          Members             ask    and    then          I'll


  17    come    back.


  18           AUSTEN     BRANDFORD:                  Okay,       great.              I will       now       call


  19    on   Council       Members          in    the       order       they have             used       the


  20    Zoom    raise      hand       function             with    a quick             reminder          that


  21    Council         Members       Torres,          Yeger       and       Powers          raised          their


  22    hand previously               to    ask       questions             at    this       time.


  23           Council         Members,      please           keep          your       questions             to


  24    four    minutes         including             responses.                 If    there's          a


  25    second       round      of    questioning,                Council             Member       questions
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          COMMITTEE         ON    HOUSING             AND       BUILDINGS          JOINTLY WITH

    1     COMMITTEE         ON        CONSUMER AFFAIRS                     AND    BUSINESS
          LICENSING                                                                                              108

    2   will    be    limited          to    two       minutes.              The       Sergeant             at    Arms


    3   will    keep       a timer          and       let       you       know when          to    start          and


    4   when    your       time       is    up.        We       will       begin       with       Council


    5   Member       Torres       followed by Council                            Member       Yeger.


    6          SERGEANT          AT    ARMS:           And       your       clock will             start         now.


    7          COUNCIL      MEMBER TORRES:                           Thank    you.           I have          a


    8   question       for       the       Sheriff.              Sheriff,          imagine             for       a


    9   moment       the    Council          were          to    go       forward with             Intro.


  10    1912,    so    it's       the       law       of    the       city       and    then       a judge


  11    were    to    issue       an       eviction             warrant.           In    the       event          of    a


  12    conflict       between             the    local          law       and    a judicial                order,


  13    how would          the    Sheriff's                respond          and    I'm       curious             to


  14    know how       the       Marshal's             respond.              I know          DOI       is    not


  15    present       at    the       moment          but       what       would       you    do       in    the


  16    event    of    a conflict                between             a judicial          order          and       the


  17    local    law?


  18           JOSEPH      FUCITO:               The       law       is   very     clear          on    it.


  19    That    the    Sheriff             can't       look behind                a judgement.                    In


  20    fact,    most       of    the       case       law       in       New York       involving                a


  21    Sheriff       questioning                an    order          happened          here       in       New


  22    York    City       and    it's       a very well                   settled       law       that          if


  23    the    Sheriff       is       ordered          to       do    something,             he    can't          look


  24    behind       the    reasoning             of       the       court       and he       must          carry


  25    out    the    mandate          according                to    its    command.              That          was
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          COMMITTEE            ON    HOUSING          AND     BUILDINGS          JOINTLY WITH

    1     COMMITTEE            ON    CONSUMER AFFAIRS                   AND    BUSINESS
          LICENSING                                                                                              109

    2   the    whole       principle             by having             a Sheriff          be       the


    3   ministerial             officer          for       the    court    and       for       the       Sheriff


    4   carrying          out    those       duties,             the    Sheriff          is    granted


    5   quasi-judicial                immunity.              Meaning       that          even       if       that


    6   action       were       to    disobey          a current          law,       a Sheriff                would


    7   be    immunized          for       carrying          it    out.        That       is       the


    8   protection             that    is    granted             the    Sheriff          because             he    is


    9   carrying          out    the       will       of    the    court.


  10           COUNCIL         MEMBER TORRES:                     So,    even       if   we        were       to


  11    enact       the    law,       you    would          not    enforce          it    over          a


  12    judicial          order,       is    that—


  13           JOSEPH          FUCITO:           If    the       Sheriff       fails          to    act,          he


  14    can    be    held       in    contempt.              There       are    two       types          of


  15    contempt          in    New York          State.           There       is    a criminal


  16    contempt          which       is    punitive             and    there's          a civil


  17    contempt          which       is    coercive.              The    court          could          apply          a


  18    criminal          contempt          to    me       which would          jail          me    for       30-


  19    days    and       a civil          contempt          which       could       jail          me


  20    indefinitely until                   I perform             the    act.


  21           An   example          was     recently             you    had    a county                clerk


  22    who    refused          to    take       marriage          licenses.              That's             a


  23    ministerial             act    and       if    a Sheriff          is    required                to    carry


  24    out    a ministerial                act       and he       refuses;          he       faces


  25
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          COMMITTEE         ON HOUSING AND BUILDINGS                          JOINTLY WITH

    1     COMMITTEE         ON     CONSUMER AFFAIRS                  AND BUSINESS
          LICENSING                                                                                     110

    2   probably the             most       severe       punishment          available             under


    3   the    law    for    an       officer.


    4          So,    I face       both          a personal          liability,             criminal


    5   and    civil       but    if       I carry out          the    order,          I am       fully


    6   immunized and             I have          the    full    backing          of    the       court       to


    7   do    so.


    8          COUNCIL MEMBER TORRES:                          So,    since       you're          an   agent


    9   of    the    state       court,          neither       a federal          and/or          a local


  10    moratorium is             viable          without       the    buy    in       of    the       court,


  11    is    that what          you       are    saying?


  12           JOSEPH       FUCITO:              Yes.     Unfortunately,               the        court       in


  13    the    court       room,       the       courts    process          really          controls


  14    what    the    Sheriff             does    and    since       the    Sheriff          has       no


  15    ability to          look behind the                courts       order,          then


  16    whatever       the       court       tells       the    Sheriff       to       do,    the


  17    Sheriff must             do.        The    Sheriff       leaves       these          issues          for


  18    the    litigation             in    court.        That's       why a lot             of    civil


  19    process       has    a notice             requirement.              The    Sheriff             give


  20    notice       before       he       does    something          and that          gives          the


  21    person       the    opportunity to                go    to    court       to make          these


  22    claims.


  23           Many of       these         issues       that     you    are    bringing


  24    forward are          claims          that would be             appropriately made


  25    in    court    not       to    the       Sheriff.
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          COMMITTEE            ON    HOUSING          AND    BUILDINGS           JOINTLY WITH

    1     COMMITTEE            ON     CONSUMER AFFAIRS                   AND   BUSINESS
          LICENSING                                                                                     111

    2          COUNCIL          MEMBER TORRES:                    This    might       be    a question


    3   for    HPD but          suppose          in    the       absence       of    a moratorium,


    4   is    there       anything             that    the       city    could       do,    the    Council


    5   could       do    to    address          egregious          case       of    rent       gouging          in


    6   an    attempt          to    exploit          the    COVID-19          crisis?


    7          DANA      SUSSMAN:               So,    I don't          know    that       we    are


    8   prepared          to    comment          on    that.        I haven't          heard       that          as


    9   a suggestion                at    this    point          Council       Member       but    we       can


  10    certainly          take          that    back       to    see    if    there       has    been       any


  11    discussion             around          that    particular             issue.


  12           COUNCIL          MEMBER TORRES:                    Thank       you.     I see       my       time


  13    is    about       to    expire,          so    thank       you    for       affording          me    the


  14    opportunity.


  15          AUSTEN           BRANDFORD:              Thank       you.        Now,    we'll       hear


  16    from    Council             Member       Yeger       followed by             Council       Member


  17    Powers.


  18           SERGEANT          AT       ARMS:       And        your    clock will             start       now.


  19           COUNCIL          MEMBER YEGER:                    Thank    you       very much.


  20    Sheriff,          thank          you    for    being       here.        First,          I just


  21    want    to       echo       Mr.    Speaker's             comments       anytime          somebody


  22    in    our    greater             family       of    New    York       City    employees             is


  23    taken,       it's       a shock          not       just    for    the       greater       system


  24    but    obviously             to    the    employees             who    are    close       with


  25    that    person          and       your    office          being       the    small       office
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          COMMITTEE           ON     HOUSING            AND     BUILDINGS               JOINTLY WITH

    1     COMMITTEE           ON     CONSUMER AFFAIRS                        AND       BUSINESS
          LICENSING                                                                                             112

    2   that    it    is,       I'm      sure,          I have          no    doubt          that    it's


    3   hitting       you       folks         at    the       Department                of    Finance          pretty


    4   hard    and      I want          to     express            my    condolences.


    5          Sheriff,            in   your        opening          testimony               and    in


    6   Councilman            Torre's           questions,               you       really          did    allude


    7   to   many     of      the       items       that       I wanted                to    talk    to    you


    8   about      today        and      some       of    which          I discussed with                      the


    9   earlier       panel.             But       I just,          I want             to    get    some       more


  10    information             a little            bit,       just          so    that       we    can    have


  11    some    clarity.


  12           So,   if       I may,       when          did       you       start      working           at    the


  13    Sheriff's          office?


  14           JOSEPH         FUCITO:              1988.


  15           COUNCIL          MEMBER YEGER:                   Okay,             so    I'm going          to    say


  16    at   least       for       myself,          as    for       a good             number       of    my


  17    colleagues            in     the      Council.              I would             think       it's       fair


  18    to   say     you      probably have                   a greater                understanding             of


  19    your    powers          and      authorities                than          I do.        I just          want


  20    to   focus       I think           on      some       of    the       remedies.              Since       it's


  21    so   clear       to     me      that       this       law       cannot          be    enforced.


  22    Introduction               1912.           If    it    were          to    be       enacted,       you


  23    would      not     be      legally          allowed             to    follow          it    under       any


  24    circumstances.


  25
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          COMMITTEE            ON    HOUSING          AND        BUILDINGS           JOINTLY WITH

    1     COMMITTEE            ON     CONSUMER AFFAIRS                   AND       BUSINESS
          LICENSING                                                                                          113

    2          I don't             doubt    for       one       second        that       the    Mayor       would


    3   not    fire       you       for    not       following           an    unlawful          act       of


    4   this    Council.              I know          for       sure     that       the    Mayor       values


    5   his    oath.           I know       you       value        your       oath.         I value         my


    6   oath    as       a member          of    the       Council        but       I also       value          my


    7   oath    as       an    officer          of    the       court     and       a Sheriff          is       an


    8   officer          of    the    court,          an    arm     of    the       judicial          system.


    9          So,       I want       to   focus           on    some     of       the    remedies          that


  10    can    be    done          instead.           My understanding                    obviously             is


  11    that    your          powers       come       from       the     CPLR       and     from      state


  12    law but          clearly,          if    the       Chief       Judge        of    the    State          of


  13    New    York were             tomorrow          to       issue     an       order       directing


  14    judges       in       the    state       that       they may           not       issue


  15    execution,             is    it    fair       to    say     that       you       would       not


  16    receive          executions             because          judges        would        stop      issuing


  17    them?


  18           JOSEPH         FUCITO:           Yes,        if    the     court          directed          us,       we


  19    would       do    it.


  20           COUNCIL          MEMBER YEGER:                    Alright,           so    you    know       the


  21    obvious          solutions          to       these       problems           don't       come       from


  22    the    well       intentioned                efforts        here       in    the       Council,          but


  23    the    notion          that       there       are       places        in    this       state       that


  24    govern       your          activity          and    you     do    not       have       the    ability


  25    to    decide          to    refuse       to    execute           on    an    execution             that
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          COMMITTEE            ON     HOUSING         AND       BUILDINGS             JOINTLY WITH

    1     COMMITTEE            ON     CONSUMER AFFAIRS                   AND      BUSINESS
          LICENSING                                                                                           114

    2   you    receive          but       more       to    the    point          that       you   stated


    3   earlier,          there          are    remedies          should          you       receive       an


    4   execution.


    5          Number          one,      is    there        are    notice             provisions,


    6   correct?


    7          JOSEPH          FUCITO:           Correct.


    8          COUNCIL          MEMBER YEGER:                    Okay,       and       number       two       is


    9   when       you    actually             seize      property,              you    don't


  10    immediately             that       day       or    the    next       morning          turn       it


  11    over.           You    actually hold                it    for       quite       a while          to


  12    allow       for       within       the       confines          of    the       Sheriff,          so    that


  13    the    debtor          can       actually          collaterally                attack       the


  14    execution             and    the       underlying          judgment             if    necessary,


  15    is    that       correct?


  16           JOSEPH          FUCITO:           Correct.


  17           COUNCIL          MEMBER YEGER:                   Well,        there          are   remedies


  18    as    we    know.           My    concern          of    course          is    as    I've    said


  19    Sheriff          and    you       may    not       necessarily be                   aware    of       this


  20    but    I say          this       for    the       greater       public,             I have       in    my


  21    time       in    the    Council          been,          I believe,             very protective


  22    of    the       authorities             of    the       Council.              I believe          that


  23    the    council          has       authorities             as    it       is    stated       in    our


  24    Charter          and under             state       law but          it    is    limited          and


  25    when       it    is    limited,          we       should       not       try    to    cross       that
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS              JOINTLY WITH

    1     COMMITTEE         ON     CONSUMER AFFAIRS                      AND      BUSINESS
          LICENSING                                                                                            115

    2   line.       We     should       respect             the       authority          of       the    law.


    3   In   this     case       the    state          is    the       place       that       needs       to


    4   make    these       instructions                to       you    and       I would          suggest          to


    5   my   colleagues           that       is    a better             way       to    go    with       respect


    6   to   the    good        intentions             of    this       law       and with          that       I


    7   yield back my             time,       thank          you.


    8          AUSTEN      BRANDFORD:                  Thank          you.        Next,       we    will       be


    9   hearing       from Council                Member          Powers          followed by


  10    Council       Member          Cabrera.


  11           COUNCIL         MEMBER        POWERS:             Mr.     Sheriff,             how       are    you


  12    doing?


  13           JOSEPH      FUCITO:            How       are       you    sir?           Nice       to    see


  14    you.


  15           COUNCIL         MEMBER        POWERS:             Nice        to    see       you    again.           I


  16    hope    you      are     hanging          in    there.           I'm very             sorry       to


  17    hear    about       your       employee             or    your       colleague             that


  18    passed      away        and wishing             all       of    you       the    best.           And


  19    thank      you     to    everybody             else       as    well       from HPD             and


  20    Human      Rights.


  21           Just      two    very    quick           questions,                just       as    I'm


  22    looking       at    this,       the       1912,          we    were       told by          tenants


  23    today      and     I actually             have       a legislation                   around


  24    security         deposits        in       the       City       Council          and       I'm


  25    wondering          if    on    the    other          side       of    this       equation,
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          COMMITTEE            ON    HOUSING       AND     BUILDINGS            JOINTLY WITH

    1     COMMITTEE            ON    CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                        116

    2   would    your          ability       to    do money          judgments,             I'm       just


    3   looking       at       the    bills.           Would       you    ability          to    do    money


    4   judgements             here    affect          a tenant          who    is    suing          the


    5   landlord          to    get    their       security          deposit          returned             to


    6   them    and would             you    be    able       to    take       action       in       that


    7   case?


    8          JOSEPH          FUCITO:       Well,        supposing             that       there      was        a


    9   ban    and    as       I said       earlier,          we    don't       think we             would be


  10    able    to    carry          through       on    it.        The    ban       would work both


  11    ways.        In    fact,       it    would probably                impact;          the       state


  12    has    a tribunal             community          and housing             renewal.              They


  13    actually have                a tribunal          where       they       award       triple


  14    damages       to       a tenant          who    has    been       rent       overcharged.


  15           So,   the       workings           of    the    justice          system          on   both


  16    sides    would be             impacted by             this       type    of    legislation.


  17           COUNCIL         MEMBER       POWERS:            Meaning          that       If    there      was


  18    a rent       overcharge             or    I guess          a security          deposit


  19    issue,       you       would    and       you    were       meant       to    on    behalf          of


  20    the    tenant          help    them out          or    restore          their       money          or


  21    damages       that       you    would — at             least       for       this       period          of


  22    time    be    able       to    do    that?


  23           JOSEPH          FUCITO:           Correct,          the    Sheriff          is


  24    everyone's             Sheriff.           We    carry       out    the       mandates          of       the


  25
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          COMMITTEE            ON    HOUSING          AND    BUILDINGS            JOINTLY WITH

    1     COMMITTEE            ON     CONSUMER AFFAIRS                 AND       BUSINESS
          LICENSING                                                                                       117

    2   court       and       everybody          is    entitled            to    have    their


    3   judgement             enforced          impartial.


    4          COUNCIL             MEMBER       POWERS:          Understood             and    you    would


    5   be    able       to    then       do    it    after      this       period       ended?           You


    6   know,       I understand                there      is    a constitutional                   question


    7   here       that       you    are       raising       but      let's       just       say we       were


    8   able       to    figure       that       issue       out,      you       would be          able    to


    9   do    it    but       it    would be          at   the     end      of    that       period       and


  10    time.


  11           JOSEPH          FUCITO:           I don't         want      to     speak       to   what     the


  12    legislation                would       look    like.          I could          only    speak       to


  13    if    the       appropriate             remedies         were       available          to    stop


  14    the    Sheriff,             the    Sheriff         would be             stopped       and we'd


  15    follow          the    directions             that      we're       authorize          to    follow.


  16           COUNCIL             MEMBER       POWERS:          Okay,          and    I applaud          this


  17    because          I don't          always       know      the       exact       intersection             of


  18    where       you       hand    over       to    the      Marshals          but    I know       the


  19    Marshals             have    some       jurisdiction               over       things       like


  20    parking          tickets          and    I think         other          tickets       that    are


  21    unpaid          in    the    city.


  22           JOSEPH          FUCITO:          A quick          reference.              The       Sheriff


  23    is    a law          enforcement             agency.          We    are       like    a small


  24    police          agency       that       handles         the    enforcement             of    court


  25    orders.              The    courts       that      we    handle          are    all    the    courts
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          COMMITTEE         ON       HOUSING          AND       BUILDINGS          JOINTLY WITH

    1     COMMITTEE         ON       CONSUMER AFFAIRS                   AND    BUSINESS
          LICENSING                                                                                           118

    2   in    New    York       City.           So,       all    the    courts          in    the       city       and


    3   the    state.           The       Sheriff          is    the    enforcement                officer.


    4   The    Marshal          is    the       enforcement             officer          for       the    civil


    5   court       of    the    City          of    New York.


    6          They work             in    a similar             fashion       but       I don't         want


    7   to    speak       for    them.


    8          COUNCIL       MEMBER             POWERS:          Okay,        and       I think          I am


    9   confident          that       they will             be    you    know,          probably


  10    testifying          later          today.           But    just       my    question             that


  11    is,    maybe       you       can       speak       on    this    issue          and       then    I'll,


  12    if    the    Marshals             do    testify,          I'll    ask       this          question.


  13           For       things       like          red   light        camera       tickets,


  14    speeding          tickets,             I guess          parking       tickets             too.        Is


  15    that    impacted by                this       legislation             if    we       are       looking


  16    to    — I guess          it       takes       some       action       related             to   things


  17    that    many       issues          we       talk    about       like       speeding             and    red


  18    light       cameras          and       things       like       that.


  19           JOSEPH       FUCITO:              Yes.


  20           COUNCIL       MEMBER             POWERS:          How     is    that          impacted?


  21           JOSEPH       FUCITO:             Most       of     these       public          safety


  22    judgment          enforcement                in    the    city    relies             on    judgement.


  23    So,    like,       building             code       violations,             fire       code


  24    violation,          speeding violations,                         all       of    those


  25
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          COMMITTEE        ON    HOUSING        AND    BUILDINGS          JOINTLY WITH

    1     COMMITTEE        ON        CONSUMER AFFAIRS            AND    BUSINESS
          LICENSING                                                                               119

    2   ultimately         culminate          into    a decision             that's       docketed


    3   with    the      New York       City       Civil    Court       as    a judgement.


    4          COUNCIL      MEMBER       POWERS:           And    that       would be       put    on


    5   pause      for    the    time    period.


    6          JOSEPH      FUCITO:           Yes,    the    legislation             has    that


    7   view.


    8          COUNCIL      MEMBER       POWERS:           Okay,    great,          thank    you.


    9   Thanks      for    answering          my    questions,          but    my    times    up


  10    anyway.          Thanks.


  11         AUSTEN        BRANDFORD:           Thank       you.        We'll       now here


  12    from    Council         Member       Cabrera       followed by Council


  13    Member      Chin.


  14           SERGEANT         AT    ARMS:     And       your    clock will          start       now.


  15           COUNCIL      MEMBER CABRERA:                 I'm    going       to    use    a very


  16    short      amount       of    time    because       my    questioned was


  17    answered by         the       questions       that       were    asked by my


  18    colleagues.


  19           Thank      you    so much,          I'll    pass.


  20         AUSTEN        BRANDFORD:           Council          Member       Chin?


  21           SERGEANT         AT    ARMS:     Your       clock will          start       now.


  22           COUNCIL      MEMBER CHIN:              Yes,       thank       you.     Thank       you


  23    to   the   panel.            I first       wanted    to    really       thank       the


  24    Deputy     Commissioner              Sussman       from Human          Rights


  25    Commission         for       working with          our    community,          in
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          COMMITTEE ON HOUSING AND BUILDINGS                           JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                            120

    2   fighting xenophobia                and hate       crime       and we       got    to   do


    3   more    to    educate.           I think the bystander                training         are


    4   great.        My    staff    is    all   taking     it    and we want             to urge


    5   more people          to    report    the    hate    crime       that       is


    6   happening unfortunately.


    7          My question          is,   two    things,        I don't       if    someone


    8   from Department             of    Finance    is    here.        One    of       the


    9   things       that    I talked about          earlier was             you    know,


  10    support       for property owners,                small property owners


  11    who    are providing affordable                   housing,       rent       regulated


  12    housing and they need relief                      and    I talked about


  13    property tax deferral but we                      know the       city needs


  14    money and the             only way we       can    get    out    of    this       mess      is


  15    we    get    the    federal       dollars.        But    in    our    City Council


  16    response       to    the Mayor       that    I think there was


  17    precedent          set    I guess    back in       the    economic          crisis       in


  18    the    70's    that       large property owner,                commercial


  19    property owner             that    could afford to pay property tax


  20    up    front,       that we       should encourage             them to       do    that      so


  21    that we       can    give    a deferral program to                   the    smaller


  22    property owner who                are providing affordable                      housing


  23    in    our    district.


  24


  25
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          COMMITTEE         ON    HOUSING          AND       BUILDINGS          JOINTLY WITH

    1     COMMITTEE         ON    CONSUMER AFFAIRS                      AND    BUSINESS
          LICENSING                                                                                      121

    2          I don't       know       if    anybody          can       answer       that.        If


    3   there    is    anybody          from       Department             of    Finance.           If    not,


    4   we'll    bring       it    back       to       the    Administration.


    5          And    the    other       question             is    to    Deputy       Commissioner


    6   Santiago       in    HPD.        You       know,       during          this       time,    as    I


    7   said,    we    still       have       predatory             landlords,             bad


    8   landlords       who       are    still          doing       tenant       harassment.                 So,


    9   I'm    just    interested             to       see    like,       how many          cases       have


  10    HPD been       working          on?        The       Commissioners                HIPAA    rights


  11    gave    us    some       really       good       statistics             in    terms       of


  12    complaints          and    so,       if    you       can    address          that       issue,


  13    that    would be          great.


  14           ANNMARIE          SANTIAGO:             So,     as       you    know       the    Mayor    has


  15    supported       us       greatly          in    tenant          harassment          initiatives


  16    and    HPD    had    started          and has          an       anti-harassment                unit,


  17    which    tenants          can    contact             and we       have       continued          to


  18    receive       complaints             during          this       period.


  19           Most    are       around heat,                hot    water.        We       are    still


  20    responding with             inspections                to       those    conditions             and


  21    we're    taking          information             from       tenants          to    follow       up


  22    once    we're       in    a better             state       to    do    full       building


  23    inspections          because          that       is    what       mostly what             the


  24    anti-harassment             unit          does.


  25
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS             JOINTLY WITH

    1     COMMITTEE         ON    CONSUMER AFFAIRS                  AND       BUSINESS
          LICENSING                                                                                    122

    2          So,   we've        received          about      60    complaints             during


    3   this    period       and we're             continuing            to    reach       out    to       all


    4   of   those     tenants          who       contact      us    to       make    sure       that


    5   once    we    can    continue             with   our     anti-harassment


    6   inspections,             do    inspections            for    violations,


    7   conditions          in    the       buildings,         we    will       be    ready       to


    8   continue       that.


    9          COUNCIL       MEMBER CHIN:                Do    you       know    if   all        those


  10    complaints          came       in    through       HPD      or    are    some       of    them


  11    from    referrals,             from       elected      officials             office       or


  12    could maybe          base       —


  13           ANNMARIE          SANTIAGO:           The      vast     majority have               been


  14    through       311    who       refers       them to         HPD.


  15           COUNCIL       MEMBER CHIN:                Okay,       alright.              Thank       you.


  16           ANNMARIE          SANTIAGO:           Your      welcome.


  17           AUSTEN       BRANDFORD:              Thank      you.        We    will       now       circle


  18    back    to    our    Chair's          and    Speaker         for       any    final


  19    questions       for       the       Administration               before       moving          to


  20    public       testimony.              Chair's?


  21           CO-CHAIR          COHEN:           I appreciate            that.        I did want


  22    to   say     thank       you    to    the    Administration                  for    your


  23    patience.           I know          the    hearing       has      been       long,       so    I


  24    want    to    say    thank          you    for   that.


  25
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          COMMITTEE ON HOUSING AND BUILDINGS                                  JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                  123

    2          To HPD,          I wonder       if    I really,          maybe       I should have


    3   asked this          at    the    last panel but             I'm of          some       thought


    4   that perhaps             you    know,       eviction       is    a legal proceeding


    5   in    the    state       of New York.              Housing       court       is    uniquely


    6   set up       to    deal with those                and we've       talked about                you


    7   know,       tenants       and landlords             and property owners                      all


    8   differently             situated.           Maybe       housing       court       isn't


    9   really the best place                   to       try to    sort       this       out    as    the


  10    time,       when    the    time       comes,       as    opposed to          looking,          I


  11    mean    it would be             great       to    find    some macro policy that


  12    just    solved everyone's                   problem in          one    great piece             of


  13    legislation but                I wonder          if HPD has       any thoughts                on


  14    you    know,       maybe       the    individualized approach at


  15    housing       court might be                the way to          go,    or    if    you have


  16    thoughts          one way or          the    other.


  17           ANNMARIE          SANTIAGO:           I think as          some       of    the


  18    advocates          said,       housing       court would be             totally


  19    overwhelmed if             and when we             ever    got    to    a position


  20    where       all    of    these       cases       and all    of    these people,


  21    that    they are          talking about             at    risk,       wound up          in


  22    eviction proceedings                   or wound up          in    some       other


  23    proceedings             in housing          court.


  24           I think the Mayor                you      know,     is    continuing to               look


  25    and has       advocated          for    a lot       of    the    initiatives             that
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          COMMITTEE            ON    HOUSING          AND    BUILDINGS          JOINTLY WITH

    1     COMMITTEE            ON    CONSUMER AFFAIRS                 AND      BUSINESS
          LICENSING                                                                                      124

    2   have    been       talked          about       today.        Again,          we    continue          to


    3   look    to       our    federal          and    state      partners           for       financial


    4   support.           You       know,       getting          ahead    of    this          before       it


    5   has    to    come       before          housing       court       or    any       other       type


    6   of,    I think          judicial          or    administrative                body       on    an


    7   individual             case       by    case    basis,       is    really          how    this


    8   would have             to    be    addressed.


    9          So,       I know          that    there       are   many people                 working       on


  10    this    issue          looking          for    guidance,          looking          for    support


  11    from    outside             the    city       and    I think       that       that       would be


  12    the    way       that       we    all    should       continue          to    push.


  13           CO-CHAIR             COHEN:        I certainly             agree      that        obviously


  14    that    we       need       federal       support.           I know          that       you    know,


  15    the    Speaker          has       been    a very          loud voice          on       that.        I've


  16    spoke       to    my    congressional                representative                about       the


  17    city's       needs.              I know       that    we    all    will.


  18           Thank      you        very much.             Austen,        do   we        have


  19    everybody?


  20           CHAIRPERSON                CORNEGY:           I just       wanted          to    ask    one


  21    point       question.


  22           CO-CHAIR             COHEN:        Oh,    please       Rob.


  23           CHAIRPERSON                CORNEGY:           Sorry.        I'm pretty             sure


  24    that    with       this          esteemed       group       of    Council          Members          this


  25    may    have       been       asked,       but       I'm    just    curious             whether       or
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          COMMITTEE             ON   HOUSING           AND       BUILDINGS         JOINTLY WITH

    1     COMMITTEE             ON   CONSUMER AFFAIRS                   AND       BUSINESS
          LICENSING                                                                                              125

    2   not    there's          a belief             that       there       is    enough          resources


    3   to    actually          effectively                and       efficiently             look       at


    4   tenant       harassment             cases.


    5          So,    I don't             know       if    someone          asked.           I don't          know


    6   if    there       is    a complaint                being       made       by HPD          about       the


    7   staff       size       and    the       requirements                now    that       have


    8   expanded          their       duties          but       I'm    just       curious          as    to


    9   whether       or       not    there          is    an    opinion          that       the    necessary


  10    resources          are       already          in    existence             or    are       there       more


  11    resources          needed          to    do       this       job?        Especially             the      job


  12    of    investigating                these          cases       effectively.


  13           ANNMARIE             SANTIAGO:              So,       I think       there          are    a


  14    couple       of    different             issues          on    the       table       here       Council


  15    Member.           So,       you    know       that       the    Mayor          is    in    full


  16    support       of       anti-tenant                harassment             measures          and       I


  17    think between                HPD,       DOB,       HRA,       a number          of    agencies             who


  18    deal    with       tenant          harassment                generally          a lot       of


  19    resources          have       been       put       forth.


  20           If    you       are    speaking             specifically                about       the       COVID


  21    related       cases          that       we    are       talking          about       today,          I


  22    don't       want       to    speak       on       behalf       of    the       commission             who


  23    testified          about          their       resources             and what          they've            been


  24    doing.        So,       I would          defer          to    them,       specifically                in


  25    that    area.
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          COMMITTEE         ON    HOUSING             AND     BUILDINGS                JOINTLY WITH

    1     COMMITTEE         ON        CONSUMER AFFAIRS                  AND       BUSINESS
          LICENSING                                                                                           126

    2         CHAIRPERSON              CORNEGY:              Well,          I won't         hold        up


    3   moving       forward because                   again,          I believe            that        my


    4   colleagues          who       I am very proud                   of,       of    being       a member


    5   of    this   body,        have          probably          asked          questions          that       are


    6   relevant       to    the       questions             that       I was          going       to    ask.


    7   So,    thank    you       though             for    appearing             today.


    8         ANNMARIE           SANTIAGO:                 Your    welcome,             thank       you.


    9         AUSTEN        BRANDFORD:                 Great,       with          no    further


  10    questions       from          Chair's,             we'll       be    turning          to    public


  11    testimony.           Thank          you       all    for       waiting.


  12          I'd    like        to    remind          everyone             that       unlike       our


  13    typical      Council           hearings,             we'll          be    calling


  14    individuals          one       by       one    to    testify.              Once       your       name      is


  15    called,      a member              of    our       staff       will       unmute       you       and    the


  16    Sergeant       at    Arms          will       give       you    the       go    ahead       to       begin.


  17          Your    testimony will                    be       limited          to    two    minutes          and


  18    a Sergeant          at    Arms          will       let    you       know when          to       begin


  19    and when       your       time          is    up.


  20          Please    wait           for      the        Sergeant          at    Arms       to    announce


  21    you    can   begin        before             delivering             your       testimony.              I


  22    would    now    like          to    welcome          Ava       Farkas          to   testify.


  23          SERGEANT        AT       ARM:           Ava,       your       clock will             start      when


  24    you    begin    your          testimony.


  25
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          COMMITTEE          ON    HOUSING        AND      BUILDINGS             JOINTLY WITH

    1     COMMITTEE          ON    CONSUMER AFFAIRS                   AND    BUSINESS
          LICENSING                                                                                       127

    2          AVA     FARKAS:           Sorry,       I just          heard my          name,       can    you


    3   give    me     one    second.


    4          Okay,      thank      you       very much,             thank       you.        I just


    5   wanted       to    thank     Speaker          Johnson          and       the    Committee          on


    6   Housings          and Buildings              and       the    Committee          on       Consumer


    7   Affairs        and Business             Licensing             for    having          this


    8   hearing.


    9        My      name     is   Ava     Farkas         and        I am here          to    testify          in


  10    strong       support        of    Intro.'s             1912    and       Intro.       1936.        Met


  11    Council's         mission         is    to    fight          for    housing          as    a human


  12    right.         The    fact       that    it       is    not    a human          right       has


  13    exacerbated           this       current          COVID-19          crisis       and       its


  14    health       impacts.


  15           92,000        New   York        State      residents              are   homeless           and


  16    cannot       shelter        in    place       and       if    we    do    not    have       a plan,


  17    post    eviction           moratorium then                   millions          more       will    find


  18    themselves           in    the    same       predicament.


  19           I want        to    thank members               of     the   City        Council          for


  20    supporting           one    of    the    critical             services          that       Met


  21    Council        provides          which       is    our       tenant       rights          hotline,


  22    which     is      now more        important             than       ever    for       New


  23    Yorkers.


  24           Our     hotline       calls       are      confirming what                    everyone


  25    knows     that       tenants       who       were       barely       able       to    afford
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          COMMITTEE ON HOUSING AND BUILDINGS                              JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                            128

    2   their       rent before       the pandemic             are    completely unable


    3   to    now.     Our hotline          calls       have       gone    from questions


    4   about       getting    repairs       to       questions       almost       exclusively


    5   about       inability to pay the                rent,       either      due   to


    6   layoff,       reduction       in hours          or    a roommates          layoff       or


    7   reduction       in hours.           We    have       also    gotten      at    least     one


    8   call    from a healthcare worker whose                            roommate       and


    9   primary tenant has             been harassing her                   into      leaving


  10    the    apartment before             her       sublease       is   up.      So,     Intro.


  11    1936    is    critically important.


  12           In    addition,    we       conducted a survey with our base,


  13    556 people          responded,       so       this    is    a self-selecting


  14    survey but          I want    to    share       the    data with all             of    you.


  15    Of    the    556 people who          took our          survey about how


  16    COVID-19       is    impacting their             ability to pay rent,                   80


  17    percent —


  18           SERGEANT AT ARMS:                 Time    is    expired.


  19           AVA FARKAS:           Sorry.           My time      up?


  20           AUSTEN BRANDFORD:                 If    you have       additional


  21    testimony,          we will    review all written                   testimony


  22    submitted.


  23           AVA FARKAS:        Okay.


  24


  25
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          COMMITTEE           ON    HOUSING        AND    BUILDINGS          JOINTLY WITH

    1     COMMITTEE           ON     CONSUMER AFFAIRS               AND    BUSINESS
          LICENSING                                                                               129

    2         AUSTEN          BRANDFORD:           We    will       make    sure    we   look     at


    3   it.     Alright,            next,       I would       like    to    welcome       Julia


    4   Duranti-Martinez                  to    testify.


    5         SERGEANT          AT    ARMS:       And    Julia,       your    clock will


    6   start      when       you    begin       your    testimony.


    7         JULIA       DURANTI-MARTINEZ:                   Hi,     good    afternoon


    8   Chair's         Cohen       and    Cornegy       and    Committee          Members       and


    9   thank      you    for       the    opportunity          to    testify.


  10          My   name        is    Julia       Duranti-Martinez             and    I'm a


  11    Campaign         Coordinator             at    New Economy          Project.        As    my


  12    colleague         Andy Morrison                noted    on    the    first       panel,    in


  13    addition         we    are    also       working       to    expand    community          land


  14    trust      in    New York          City,       including       through       a citywide


  15    community         land       trust       discretionary             funding


  16    initiative.


  17          We   welcome           the       steps    the   Council        has    taken    to


  18    combat      housing          discrimination             and    displacement          during


  19    the    COVID-19         crisis          through       Intro.'s       1912    and    1936.


  20    In    addition         to    protecting          New Yorkers          from harassment


  21    and    evictions,            it    is    critical       that       Council       support


  22    community         led       institutions             like    Community       Land    Trust


  23    to    ensure      a just          recovery       in    New York       City's


  24    communities            of    color       and    to    the    communities          interest


  25
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          COMMITTEE            ON HOUSING AND BUILDINGS                         JOINTLY WITH

    1     COMMITTEE            ON    CONSUMER AFFAIRS                   AND BUSINESS
          LICENSING                                                                                      130

    2   and    lease       use       of    the    land       for permanently affordable


    3   housing          and other          local       needs.


    4         As    community governed organizations,                                      CLT'S       have


    5   the    relationships                and trust             to   address        rapid       response


    6   needs       during          times    of    crisis          and more          than    a dozen


    7   emerging          CLT's       citywide          are       engaged       in    COVID-19


    8   mobilization                efforts       from conducting wellness                            check


    9   calls       to    residents          and       connecting          tenants          to    legal


  10    assistance             to    distributing                food and       supplies          to


  11    elderly and homebound                      community             residents.


  12    Nationally,             CLT's       also       have       a track       record of


  13    stabilizing housing                      for    low       income       families          in


  14    communities,                including preventing park                         closures          in


  15    the    wake       of    the       2008    financial             crash    and aiding             in


  16    recovery efforts                   after       the       hurricanes          in    Puerto       Rico.


  17           Now more             than    ever,      New York City has                    to   invest


  18    in proven          community             led    solutions          like       CLT'S       to


  19    strengthen             and    stabilize             neighborhoods             that       have    long


  20    born    the      brunt        of    housing          in public          health       crisis.


  21           We   urge       City Council                 to   sustain       and expand              its


  22    support          for    CLT's       and    community             led    cooperative


  23    economic          development.                 We    are       calling       for    renewed


  24    fiscal       year       2021       discretionary                funding which will


  25    directly          support          the    hardest          hit    neighborhoods                and
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          COMMITTEE         ON    HOUSING       AND    BUILDINGS           JOINTLY WITH

    1     COMMITTEE         ON     CONSUMER AFFAIRS            AND     BUSINESS
          LICENSING                                                                                131

    2   build    institutions             that    will    be    crucial        to      prevent


    3   evictions,          foreclosures,          and    speculation             in     the       wake


    4   of    economic       devastation          brought       by COVID-19.


    5          SERGEANT       AT    ARMS:        Time    expired.


    6          AUSTEN       BRANDFORD:           Thank    you.        We    would        now       like


    7   to    welcome       Joseph       Condon    to    testify.


    8          SERGEANT       AT    ARMS:        Joseph,       your    clock will              begin


    9   when    you    begin       your    testimony.


  10           JOSEPH       CONDON:       Good     afternoon          and    thank        you       for


  11    the    opportunity          to    provide       testimony.           Thank        you,


  12    Committee       Chairs,          thank    you    Speaker       Johnson.               My    name


  13    is    Joseph    Condon       and       I am providing          this       testimony              on


  14    behalf    of    the       Community       Housing       Improvement              Program,


  15    also    known       as    CHIP.


  16           CHIP    is    an    organization          made    up    primarily              of


  17    small    and medium          sized       owners    and    operators              of    rent


  18    stabilized housing                in    New York       City.        Our     members          run


  19    hands    on    small       businesses         by managing           their        own


  20    buildings       and becoming             long    term    fixtures           in    their


  21    communities.


  22           During       the    COVID-19      pandemic,        these       members              and


  23    their    staff       are    on    the    frontlines       making          sure        people


  24    have    safe,       clean    properly         functioning           apartment


  25
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          COMMITTEE ON HOUSING AND BUILDINGS                                    JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                  132

    2   buildings       to    live    in while             the       shelter       in place          order


    3   is    in    effect.


    4          Because       our members            are        community oriented,                   they


    5   are    extremely sympathetic                      to    the painful             financial


    6   circumstances          that       COVID-19             has       created.        According


    7   to    a survey of       our members,                   more       than    50    percent          of


    8   them have       already entered into payment                               agreements


    9   with tenants          who have been                impacted by COVID-19.


  10    Another       25 percent          of    our members                who    responded          said


  11    that       they expect       to    offer          some       relief       on    a case by


  12    case basis          moving    forward and almost                         all    of    our


  13    members       have provided information                            on    employment


  14    benefits       and other benefits                      to    their       tenants.


  15          Now,    we     understand that                   not       everyone who has                lost


  16    income will be          eligible             for       those benefits,                nor will


  17    those benefits          make       up       all    of       the    lost    income       for


  18    those who       are    eligible.              But       CHIP members             and other


  19    property owners             are working with these                         tenants          to


  20    figure       things    out.        Property owners                      and managers             are


  21    in    the best position                to    deal with a variety of


  22    circumstances          tenants          are       facing.           But    if    everyone


  23    else who       can pay rent             just       stops          paying,       the    ability


  24    of    an    owner    to provide             relief          to    those who          can't       get


  25    it    anywhere       else    is    significantly diminished.
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          COMMITTEE            ON    HOUSING          AND     BUILDINGS            JOINTLY WITH

    1     COMMITTEE            ON     CONSUMER AFFAIRS                     AND    BUSINESS
          LICENSING                                                                                        133

    2   Despite          this       being       a time       where          we    need     to      put


    3   politics          aside       and work             together,             many    tenant


    4   activists             are    using       the       COVID-19          crisis        as      an


    5   opportunity             to    push       a political                agenda.           Cancelling


    6   rent    without             also    providing             relief          for    the       expenses


    7   of    small       property          owners          is    not       a workable             option      and


    8   should       not       be    realistically                considered by                 these


    9   committees,             unless          there       is    some       commencement                relief


  10    on    the    expense          side.


  11           SERGEANT          AT    ARMS:           Time       up.


  12           JOSEPH          CONDON:           Relief          in    the       area    of     property


  13    taxes       is    an    excellent             compliment             to    any moratorium.


  14    Between          30    and    40    percent          of       a tenants          rent       payment


  15    goes    to       the    city       in    the       form       of    property          taxes      but


  16    only    focusing             on    one       side    of       the    equation,             these


  17    proposals             add    fuel       to    the    political             fire       of    anti-


  18    housing          activists          who       are    calling             for    a rent          strike


  19    for    all.           This    is    one       of    the       main       reasons        CHIP


  20    opposes          1912.


  21           CO-CHAIR             COHEN:           Thank       you       for    your    testimony.


  22           JOSEPH          CONDON:           Thank       you.


  23           AUSTEN          BRANDFORD:              Thank          you.       We'd     now      like     to


  24    welcome          David       Chemtob          to    testify.


  25
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          COMMITTEE         ON       HOUSING       AND       BUILDINGS              JOINTLY WITH

    1     COMMITTEE         ON       CONSUMER AFFAIRS                   AND        BUSINESS
          LICENSING                                                                                         134

    2          SERGEANT         AT     ARMS:           David,          your    clock will             begin


    3   when    you       start       your       testimony.


    4          DAVID       CHEMTOB:              Can    everyone             see    me?       Can     you


    5   hear    me?


    6          CO-CHAIR         COHEN:            Yes.


    7          DAVID       CHEMTOB:              Okay,       dear       honorable         members             of


    8   the    New       York    City       Council.              Thank       you    for       hearing         my


    9   testimony          today.           Now    that       you       are    considering               new


  10    legislation             in    the    wake       of    this       COVID-19             pandemic         to


  11    allow       tenants          not    to    pay       rent.        I would          like      to    ask


  12    the    Council          Members          who    are       in    favor       of    this      a few


  13    questions.              Landlords          are       currently providing                      crucial


  14    and    essential             services          to    their       tenants.              Those


  15    essential          services          could          only       continue          if    landlords


  16    could       continue          to    collect          their       rent.           Specifically,


  17    how    are       landlords          expected          to       pay    for    heat       and      hot


  18    water       if    tenants          are    not       going       to    be    paying       rent?


  19    How    do    you    expect          landlords             to    pay    for       water      and


  20    sewage       that       allows       tenants          to       take    showers          and      to    go


  21    to    the    bathroom?


  22           Landlords             are   paying           supers       and porters             to    put


  23    the    garbage          that       tenants          are    generating             today.          How


  24    will    landlords             continuing             to    clean       up    and mop          public


  25    spaces       without          the    critical             cash       flow    that       comes         from
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          COMMITTEE            ON    HOUSING          AND     BUILDINGS                JOINTLY WITH

    1     COMMITTEE            ON        CONSUMER AFFAIRS                  AND    BUSINESS
          LICENSING                                                                                           135

    2   rent    collections?                    How       does    City Council                expect


    3   landlords             to    pay property             taxes          without          rent?


    4   Property          taxes          have       skyrocketed             in    the    last          three


    5   years       to    a level          as       equal    to       35    percent          of    our       rental


    6   income.           Why       is    the       landlord          trying       to    collect             termed


    7   as    harassment?                 Is    a landlord             not       entitled          to    collect


    8   rent    for       providing             shelter,          heat,          hot    water,          and


    9   cleaning          services             and    etc.,       to       their       tenants?


  10           Why       are    we       even    using       the       term harassment?                      All


  11    we    want       to    do    is    just       collect          the       rent    on       an


  12    apartment             so    we    can       continue          paying       our       property


  13    taxes,       paying          our       supers,       paying          the       oil    company


  14    that's       going          to    deliver          oil    tomorrow.


  15           We    got       to    pay       ConEdison          to       keep    the       elevators


  16    rolling.              Why    is    government             considering                to    throwing


  17    the    burden          of    this       pandemic          completely             on       the


  18    landlords?                 Why    is    City       Council          not    considering                a


  19    bill    to       allow people                to    walk       into       a local


  20    supermarket,                pick       up    some    groceries             and walk             out


  21    without          paying?


  22           SERGEANT             AT    ARMS:           Time    expired.


  23           DAVID          CHEMTOB:              Thank    you       and       good    luck.


  24           AUSTEN          BRANDFORD:              Thank          you.        We    would          now    like


  25    to    welcome          Kenneth          Litwack          to    testify.
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          COMMITTEE         ON    HOUSING       AND        BUILDINGS          JOINTLY WITH

    1     COMMITTEE         ON     CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                      136

    2          SERGEANT       AT    ARMS:        Kenneth,           your       clock will             begin


    3   as    you    start    your       testimony.


    4          KENNETH       LITWACK:           Good       afternoon           Chairman


    5   Cornegy,       Cohen       and    Speaker          Johnson           and    the    members             of


    6   the    Committee.           I want       to       thank     you       for    this


    7   opportunity          to    testify before                 you    today       on    behalf          of


    8   the    Marshals       Association             of     the    City       of    New       York.           I


    9   am    going    to    speak       in    opposition           to       Intro.       1912.


  10           Since    1979,       when       I was       first        appointed          as       Council


  11    in    the    Inspector       General          to     the    New       York       City


  12    Sheriff,       I've       been    involved           in    this       aspect       of       the


  13    law.        I became       Director          for     the    Marshals             Bureau          for


  14    the    New    York    City       Department           of    Investigation                   after


  15    serving       for    the    Sheriff          and     that       is    the    unit       that       is


  16    responsible          for    regulating             New York           City Marshals


  17    pursuant       to    state       law.        I'd     like       to   point        out       to    you


  18    that    Marshals          employ       approximately                 250    people          or    New


  19    Yorkers       whose       lives       would be        deeply          impacted by                the


  20    long    term disruptions                to    their        operations.


  21           Our    first       objection          to    Intro.        1912       is    that       the


  22    City    Council       does       not    have       the     jurisdiction                or    legal


  23    authority       to    enact       such       a measure.               There       is    no


  24    statutory basis             that       would permit              the       City    Council             to


  25    restrain       a Marshal          or    a Sheriff's              functions.
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          COMMITTEE         ON       HOUSING          AND    BUILDINGS             JOINTLY WITH

    1     COMMITTEE         ON        CONSUMER AFFAIRS                   AND      BUSINESS
          LICENSING                                                                                      137

    2   Marshals          act    pursuant             to    court       orders          which       command


    3   them    to    act       and       are    part       of    a complex             system where           it


    4   is    the    duty       of    judges          to    determine             the    special


    5   circumstances                of    a particular               case.


    6         Section           16092       of       the    New York          City       Civil      Court


    7   Act    specifies             that       it    is    the       [INAUDIBLE          2:38:46]


    8   which       has    the       regulatory             authority             over    Marshals.


    9   Marshal       is    an       independent             officer          whose       position        was


  10    created by          the       state          legislature             and his          powers     and


  11    duties       are    prescribed by                   state       statute.              In    addition


  12    to    the    civil       court          act    Marshals          yet       their       powers,


  13    which       are    defined by                the    New    York       State       CPLR.


  14          Our     next       objection             is    that      while       we     understand


  15    the    intent       of       this       legislation             is    to    help       those     in


  16    need,       which       have       been       negatively             impacted by             COVID-


  17    19,    we    believe          the       proposal          —


  18          SERGEANT           AT    ARMS:           Time       expired.


  19          CO-CHAIR           COHEN:          Austen,           can       we    give       the   Marshal


  20    a little          more       time.           I think       this       testimony             is


  21    particular          germane,             I just          want    to       let    him       finish,


  22    alright.


  23          KENNETH           LITWACK:              Thank       you.


  24          SERGEANT           AT    ARMS:           I will         restart           the    clock     at


  25    two    minutes.
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          COMMITTEE            ON    HOUSING        AND    BUILDINGS            JOINTLY WITH

    1     COMMITTEE            ON    CONSUMER AFFAIRS                AND       BUSINESS
          LICENSING                                                                                         138

    2          CO-CHAIR          COHEN:           Thank       you.


    3          KENNETH          LITWACK:           If    the    proposed             legislation


    4   were    enacted          as    written,          it    would       negatively                impact


    5   small       claims       court       and    a needy plaintiffs                         ability       to


    6   enforce       a money          judgement.              As    a result             of    this


    7   legislation,             plaintiffs             would       have       no    way       of


    8   recovering money                   they    are    legally          entitled             to    which


    9   adds    insult          to    injury       during       these          trying          times.


  10           New York          City Marshals                enforce          approximately


  11    2,000        to    2,500       money       judgments          in       small       claims          court


  12    each    year.           It    is    imperative          that       the       Council


  13    consider          the    budgetary          implications                of    this          bill.     We


  14    are    a key part             of    an    approximate             $80       million          in


  15    revenue       that       the       city    collects          in    judgements                every


  16    year    on    parking,             speed,       red    light       violations,                camera


  17    violations,             as    low    as    environment             control             board


  18    violations.


  19           This       is    a significant             source          of    annual         revenue


  20    for    the    City       of    New York          and    is    needed more                   than    ever


  21    as    the    city's          budget       deficit       continues             to       expand.


  22    Furthermore,             the       money    judgments             Marshals             execute       in


  23    these       categories             serve    as    a deterrent                to    this       type    of


  24    behavior          and    further          the    goals       of    the       city's          safety


  25    programs          like       Vision       Zero.
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          COMMITTEE         ON   HOUSING        AND       BUILDINGS                JOINTLY WITH

    1     COMMITTEE         ON   CONSUMER AFFAIRS                    AND       BUSINESS
          LICENSING                                                                                        139

    2          I'd    also    like    to    point             out    that       putting          aside


    3   these    objections,          in       the       past       Marshals             have


    4   cooperated with             the    city          in    for       example          during          911


    5   and    during       Hurricane          Sandy,          in    cutting back                on


    6   evictions       through       the       city          and working with                   the       city.


    7   I'm very       sensitive          to    these          issues.              We    look       forward


    8   to    working with          the    Council             on    this          issue       and    I am


    9   happy    to    answer       any    question                you    may have.


  10           CO-CHAIR       COHEN:           Thank          you   very much.


  11          AUSTEN        BRANDFORD:           We       will       now      turn       for     any


  12    questions       from the          Chairs.              We    have          a question             from


  13    Council       Member       Yeger.


  14           COUNCIL       MEMBER YEGER:                    Thank       you      Mr.     Chairman.


  15    Mr.    Lipblack,         I'm glad           you       are    here          to    testify


  16    because       you    are    adding          clarity          to       a place          where       the


  17    Sheriff       was    not    able       to    opine.              He    limited          his


  18    opinions       to    his    own    powers             of    authority but                it's       very


  19    clear    from what          you    are       saying          that          should       the


  20    Council,       and    this    goes          to    a very          similar          question


  21    that    I asked       earlier.              Should          the       Council          pass       this


  22    law    and    the    law    says       that       you       are       to    ignore       a


  23    lawfully       delivered          execution.                 You       would       not       be


  24    empowered       to    abide       by    the       Council             law,       you    would       have


  25    to    abide    by your       powers          as       stipulated by                Section          1609
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          COMMITTEE            ON    HOUSING          AND     BUILDINGS            JOINTLY WITH

    1     COMMITTEE            ON     CONSUMER AFFAIRS                  AND       BUSINESS
          LICENSING                                                                                         140

    2   of    a civil          court       act       and Article             52    of       the    PPLR,       is


    3   that    correct?


    4          KENNETH          LITWACK:              That    is    absolutely                   correct.       If


    5   would be          improper             and    illegal       for       a Marshal             to    refuse


    6   a command          of       the    court.


    7          COUNCIL          MEMBER YEGER:                 Okay,          I have         nothing


    8   further.           Thank          you,       Mr.    Chairman,             I yield back.


    9          AUSTEN          BRANDFORD:              Alright,          with          no   more


  10    questions,             this       concludes          the    public             testimony.              So,


  11    if    inadvertently                forgotten          to    call          on    someone          who


  12    registered             to    speak,          that    person          can       raise       their       hand


  13    using       the    Zoom       raise          hand    function             in    the       next    minute


  14    or    so,    we'll          try    to    hear       from    you       now.           We    will    wait


  15    for    a minute.


  16           Seeing          none       it    looks       like    we       can       turn       this    back


  17    to    the    Chair's          here       for       some    closing             remarks.


  18           CHAIRPERSON                CORNEGY:           So,    Andy,          I don't          know       if


  19    you    want       to    go    first.           You    kind       of       held       this    down.


  20           CO-CHAIR             COHEN:           I'll    be    very brief.                    I really


  21    just    want       to       say    thank       you    to    everybody who


  22    testified.              I think          I mentioned             this          in    my    opening


  23    but    it    took       an    enormous             amount       of    work          on    part    of    the


  24    staff       to    bring       this       hearing          off    and       a tremendous


  25    amount       of    prep       you       know       from our          committee,             my
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          COMMITTEE ON HOUSING AND BUILDINGS                                    JOINTLY WITH
    1     COMMITTEE ON CONSUMER AFFAIRS AND BUSINESS
          LICENSING                                                                                         141

    2   Legislative             Director          Patty,          like,       it was       enormous


    3   amount       of work and             I don't want                to hurt my arm


    4   patting us             on    the back here but                   I thought          this       went


    5   very,    very well             and    I want          to       say,    thank you          for


    6   everybody participating and                               I want       to    say thank you


    7   for    your partnership Rob,                         I think you             did a good job.


    8          CHAIRPERSON CORNEGY:                          Thank you.              I'd like          to    say


    9   for    those who             are watching an                   essential       function             of


  10    the    council          is    to meet       and to             advocate       through


  11    legislation             and policy on behalf                      of    the voice          of       the


  12    city.        I think this             was       a balanced effort                   at    looking


  13    at what we're                facing as          it    relates          to    tenant


  14    displacement                during COVID.                 But    I think what we                heard


  15    was    testimony that                you    know,          that       applicates          on


  16    behalf       of    small       landlords             as    well,       which demonstrates


  17    the    need to          get    this       right       and to make             sure       that       you


  18    know that we                don't have          a singular             focus       and as       a


  19    Council,          we    have       a duty to hear                these       things       and this


  20    is    unique       environment             to    do       it    in.     I have       to    say


  21    that    I've       never been prouder                      of    the    Council          to honor


  22    its    commitment             to    act    on behalf             of    its    citizens          even


  23    in    this    unique way.


  24           I want          to    thank all          the       staff       that was       involved


  25    because what people                   don't          know is          you    see    this       couple
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          COMMITTEE         ON    HOUSING          AND    BUILDINGS           JOINTLY WITH

    1     COMMITTEE         ON    CONSUMER AFFAIRS                   AND    BUSINESS
          LICENSING                                                                               142

    2   of    hours    of    hearing          and    of    testimony but                there    were


    3   countless       hours          put    in    prior       to    and    in    countless


    4   hours    that       will       be    put    in    in    debriefing          and making


    5   sure    we    have       all    of    the    information.                 So,    I want       to


    6   personally          thank       all    the       staff       involved,          including


    7   the    Security          staff       who    make       sure    that       those    who    are


    8   supposed       to    be    here       are    here       and    those       who    are    not


    9   are    not    allowed          to    disrupt       this.        So,       thank    you    again


  10    and    I think       this       is    the    part      Austen        where       I gavel


  11    out.     With       my    favorite          drum       sticks       by    the    way.     So,


  12     [GAVEL],      this       conclude          the    hearing          of    Housing       and


  13    Buildings       and with my partnership                         with Andy          Cohen.


  14    Thanks       Andy.


  15           CO-CHAIR       COHEN:          Great        job   Rob,       thank        you.


  16           CHAIRPERSON             CORNEGY:           Thanks      Mike.


  17


  18


  19


  20


  21


  22


  23


  24


  25
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                                C E R T I F I C A T E




        World    Wide      Dictation          certifies          that      the


        foregoing       transcript            is    a true       and    accurate


        record    of    the      proceedings.            We    further     certify      that


        there    is   no    relation         to    any    of   the     parties     to


        this    action      by       blood    or    marriage,        and    that   there


        is   interest      in    the   outcome       of   this     matter.




        Date          April     1,   2018
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                  Commission on
                  Human Rights




                                Testimony of Dana Sussman
                 Deputy Commissioner, Policy and Intergovernmental Affairs
                       New York City Commission on Human Rights
   Before the Committee on Housing and Buildings and Committee on Consumer Affairs and
                              Business Licensing on Int. 1936
                                      April 28, 2020

Good afternoon Speaker Johnson, Committee Chairs Cornegy and Cohen, and Members of the
Housing and Buildings and Consumer Affairs and Business Licensing Committees. Iam Dana
Sussman, Deputy Commissioner, Policy and Intergovernmental Affairs, at the New York City
Commission on Human Rights. Thank you for convening today's hearing to address the critical
needs of New Yorkers during the COVID-19 pandemic. We know that many of us are struggling
and may be mourning the loss of family, friends, and co-workers, and Iwant to take amoment to
acknowledge that.

As you likely know, the Commission is the local civil rights enforcement agency that enforces
the New York City Human Rights Law, one of the broadest and most protective anti-
discrimination and anti-harassment laws in the country, now totaling 26 protected categories
across nearly all aspects of city living: housing, employment, and public accommodations, in
addition to discriminatory harassment and bias-based profiling by law enforcement. By statute,
the Commission has two main functions. First, the Commission's Law Enforcement Bureau
enforces the City Human Rights Law, by investigating complaints of discrimination from the
public, initiating its own investigations on behalf of the City, and utilizing its in-house testing
program to help identify entities breaking the law. Second, through the Community Relations
Bureau which is comprised of Community Service Centers in each of the City's five boroughs,
the Commission provides free workshops on individuals' rights and businesses, employers' and
housing providers' obligations under the City Human Rights Law and creates engaging
programming on human rights and civil rights issues.

Before turning to Int. 1936, I'd like to highlight some of the important work that the Commission
is doing to address discrimination and harassment that we have seen emerging in the midst of the
current public health crisis posed by COVID-19. In the context of the COVID-19 pandemic, we
have seen amultitude of ways in which the City Human Rights Law intersects with rapidly
changing needs of New Yorkers in crisis. Starting in January, the Commission began to monitor
an increase in anti-Asian discrimination and harassment, including scapegoating, fearmongering,
and the spread of misinformation, as news about COVID-19 started to emerge. In February, the
Commission started to receive its first reports of New York City-based incidents of
discrimination and harassment targeting Asian New Yorkers. At the same time, the
Commission's East Asian Communities Liaison Flora Ferng and other members of the
community outreach team were working regularly with community leaders of Asian and Pacific
Islander (API) communities throughout New York City to provide information and resources
about the Commission's work.

From February through mid-April, the agency recorded 284 reports of harassment and
discrimination related to COVID-19, over 40% (115) of which identify incidents of anti-Asian
harassment or discrimination. By comparison, during this same time period in 2019, the
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Commission received just five reports of anti-Asian discrimination. This influx in reports and
cases resulted in the Commission's April 19 announcement of the formation of aCOVID-19
Response Team to handle reports of harassment and discrimination related to the outbreak. The
Response Team is comprised of staff from the Law Enforcement Bureau and the Community
Relations Bureau working in coordination to quickly and efficiently track and respond to the
sharp increase in reports of harassment and discrimination connected to the pandemic. The
COVID-19 Response Team has taken action in 176 of those reports, including, for example,
conducting early or emergency intervention, providing information on how to request a
reasonable accommodation, referring the individual to another service or agency, or commencing
an investigation. In addition, the Commission has opened active investigations into 26 matters
spanning discrimination in housing, public accommodations, and employment on the basis of
race, national origin, disability, and lawful source of income. Additionally, the Response Team
has successfully resolved 10 matters of COVID-19-related harassment and discrimination so far.

The Commission's Community Relations Bureau (CRB) has also held bystander intervention
trainings with the Center for Anti-Violence Education. The trainings provide techniques to safely
de-escalate abias incident in real time, and were recently piloted in Mandarin. In early March,
CRB co-sponsored community forums in Sunset Park, Brooklyn and Manhattan's Chinatown
educating Asian communities of their rights and protections under the law. The Commission also
held virtual town halls, in partnership with sister agencies, elected officials, and community-
based organizatoins highlighting workplace rights related to COVID-19, reporting discrimination
and harassment related to COVID-19, and responding to hate and bias with restorative justice
measures, among other topics. The Commission continues to produce and promote content to
provide key information to impacted communities on their rights in several languages, including
those spoken by Asian New Yorkers facing heightened harassment and discrimination due to
COVID-19 stigma (Cantonese, Fujianese, Korean, Mandarin, and Tagalog). Commission staff
currently speak over 30 languages. Shortly after the outbreak began, the Commission also
launched an online resource page outlining New Yorkers' rights and protections from COVID-19
related discrimination in housing, employment, and public accommodations which is regularly
updated. The page is available at nyc.gov/stopcovidhate. The Commission also currently has a
paid campaign running on social media platforms directing people to our resources on their
rights as they relate to COVID-19.

Turning now to Int. 1936: most cases of housing discrimination against aperson with suspected
or confirmed COVID-19, or against aperson caring for someone with asuspected or confirmed
case, are protected under the City Human Rights Law's broad protections based on actual or
perceived disability and aperson's association with someone with adisability. In addition,
essential workers who may face housing discrimination because they are at risk of exposure to
COVID-19 are covered by the City Human Rights Law's protections based on occupation. The
Commission's Law Enforcement Bureau has directly received 228 COVID-19 related inquiries,
44 of which are in the housing context. The Commission has provided tenants and coop residents
with information regarding the City's Human Rights law and, in some cases, contacted
management companies or cooperative boards to advise them of their responsibilities under the
law, where restrictions on residents to reduce the spread of COVID-19 did not allow for
accommodations for residents with disabilities. For example, in situations in which buildings are
not permitting or facilitating deliveries to the door of individuals with disabilities unable to exit



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their apartment due to immunocompromised conditions, COVID-19 self-quarantine, or are
unable to lift or otherwise carry packages or deliveries due to adisability, the Commission's Law
Enforcement Bureau was able to intervened and provided inquirers with information about their
rights to request areasonable accommodation.

While Int. 1936 does not amend the City Human Rights Law, it does amend the Housing
Maintenance Code's language on tenant harassment, which was modeled after language in the
City Human Rights Law to protect against harassment based on aperson's protected status. The
addition of tenant harassment in the housing code in 2017 allows tenants to choose whether to
file adiscrimination claim with the Commission or to take acase to housing court. Because of
the substantial overlap between existing protections in the City Human Rights Law and the
Housing Maintenance Code, several of the protections contemplated in Int. 1936 already exist to
protect tenants against harassment in housing. This is true for cases of both confirmed or
suspected COVID-19, or when an individual has arelationship or association with someone with
an actual or suspected case of COVID-19.

It is important to note that if atenant chooses to bring aclaim under this provision in housing
court, they typically will be precluded from bringing the same claim at the Commission.
Currently, remedies in housing court are limited to civil penalties ranging from $1,000 to
$10,000, compared to remedies at the Commission which include uncapped compensatory
damages to the victim, civil penalties of up to $250,000, and other affirmative relief. Because the
remedies in housing court are more limited than at the Commission, it is vital that tenants
understand the options available to them and are able to make an informed decision regarding the
venue they choose. To the extent that New Yorkers experience discrimination or harassment with
respect to any of the protected categories articulated in the City Human Rights, we encourage
them to contact the Commission.

The Commission recognizes that people who have COVID-19, are at risk of contracting the
virus, or are essential workers must be able to live safely and securely and should never, under
any circumstances, have to contend with discrimination and harassment. We are committed to
working with the Council to ensure that the devastating impacts of this public health crisis are
not unnecessarily compounded, and that New Yorkers can live peacefully in their homes, free
from harassment. We are acutely aware of the vulnerabilities of New Yorkers right now, and the
Commission is ever more committed to defending the human rights of all New Yorkers,
especially those impacted by COVID-19.




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MW
Department of Finance


     Committee on Consumer Affairs and Business Licensing and

                 Committee on Housing and Buildings

Intro 1912: A Local Law in relation to ceasing the taking and restitution of
  property and the execution of money judgments by the city sheriff and
                marshals due to the impacts of COVID-19



                      Testimony of Joseph Fucito,
                    Sheriff of the City of New York
                  New York City Department of Finance



                              April 28, 2020
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    Good afternoon members of the Committee on Consumer Affairs and

Business Licensing and Committee on Housing and Buildings. Iam Sheriff Joe

Fucito, and Iam here today to discuss proposed Intro-1912. Before Ido, Iwant

to take the time to thank the City Council for its efforts to tackle the many

hardships facing New Yorkers during the COVID-19 pandemic and beyond. We

have all been touched by this crisis, my office included, with the loss of loved

ones. Sheriff's Public Safety Officer Serge Paul passed away last week after a

brave struggle against COVID-19. He was adedicated law enforcement officer,

husband, and father, and Iwould be remiss if Idid not publicly acknowledge his

dedicated service and sacrifice.


    The Sheriffs Office fully appreciates what we believe is the Council's

intention to help provide relief to New Yorkers from debilitating seizures of

property and monetary assets. However, Intro 1912 -- while well intentioned —

raises significant legal concerns for my office.     The work of our Office is

integrally related to the work of the judicial system and governed by State law.


    May I take a moment to provide a quick explanation about judgment

enforcement matters. A "judgment" is the final outcome of a court case. A

judgment resolves the contested issues and terminates a lawsuit, since it is

regarded as the court's official pronouncement of the law on the action that was

pending before it. The judgment states who has won the case and what remedies


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are awarded to that prevailing party. Remedies may include money damages,

injunctive relief, or both.

    Judgments are enforced by "writs of execution" which can be addressed to

the Sheriff or in New York City to the Marshal, commanding them to give the

plaintiff possession of land; or to enforce the delivery of personal property

which was the subject of the action; or to collect the amount of the judgment,

depending on the relief sought in the underlying case.

    As I've described, judgment and execution enforcement are mandates that

come from the court. They are under the governance of the State court system

and implemented through the State Civil Practice Law and Rules. Indeed, they

represent the core function of the judiciary branch and the ultimate expression of

its independent decision-making authority. We believe that Intro 1912 would

require actions that interfere with this well-established structure.

    The bill assigns duties to the Sheriff that presupposes the Sheriff has control

over the judgment and execution process. However that is not the case. The

Sheriff is an officer of the court and wholly guided by the exacting statutory

steps set forth in the CPLR which preclude the Sheriff's personal judgment or

outside review.

    Courts have repeatedly held that aSheriff cannot look behind court

mandates or review them for error, and can be penalized for doing so. For these



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reasons, it is our view that the Sheriff could not comply with the directives of

Intro 1912 without violating the panoply of State laws that govern the Sheriff's

role as the civil enforcement official of the courts.

    In my role as Sheriff Iam not aheartless bill collector, but rather an officer

of the court who has the duty to enforce the laws enacted for the protection of

the lives, persons, property, and health of our citizens. Ihope that my testimony

today has conveyed my passion for following the law and having the Office of

the Sheriff working productively and cooperatively for the betterment of all New

Yorkers.

    Thank you for your time. Iwill now take questions.




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                                                                                           HEAL ESTATE BOARD OF NEW YORK




TESTIMONY OF THE REAL ESTATE BOARD OF NEW YORK TO THE
COMMITTEE ON HOUSING & BUILDINGS AND THE COMMITTEE ON
CONSUMER AFFAIRS & BUSINESS LICENSING OF THE NEW YORK
CITY COUNCIL ON INTRO NO. 1912 AND INTRO NO. 1936, AS PART
OF THE COVID-19 PACKAGE
April 28, 2020

The Real Estate Board of New York (REBNY) is the City's leading real estate trade association
representing commercial, residential, and institutional property owners, builders, managers,
investors, brokers, salespeople, and other organizations and individuals active in New York City
real estate. REBNY strongly supports policies that expand the local economy, grow and improve
the City's housing stock, and create greater opportunities for all New Yorkers. Thank you to the City
Council for the opportunity to provide REBNY's perspective regarding COVID-19 related legislation.

New York is facing an unprecedented crisis. New Yorkers are worried about their health and safety,
and too many are worrying about how they will provide for themselves and their families.

REBNY and its members are committed to ensuring our fellow New Yorkers withstand this crisis
safely in their homes. That is why before government or the courts acted, REBNY members
representing over 150,000 rental units voluntarily pledged to not execute warrants of eviction for
three months. With so much physical, emotional, and financial suffering going on now, no one
should have to worry about losing their place to live during this crisis.

During this time of crisis, property owners are doing all they can to meet their responsibility of
providing quality and safe housing for their tenants. However, as is the case with most businesses
in this crisis, it has become increasingly difficult financially to find ways to cover the costs for utilities
and maintenance, COVID-19 related cleaning and safety precautions, and the other already
burdensome financial obligations they have including property taxes.

Very few industries or sectors have been shielded from the economic downtown brought by COVID-
19, and the real estate industry is no exception. As we look for ways to encourage arobust but safe
economic recovery, it is critical that policymakers recognize that one well-intentioned bill can have
harmful consequences on other actors in ways that will hinder our ability to recover. Unfortunately, it
does not appear that the bills being proposed in the package takes that into account.

Below please find more detailed comments on the bills under consideration today.

BILL: Intro No. 1912-2020

SUBJECT: Ceasing the taking and restitution of property and the execution of moneyjudgments by
the city sheriff and marshals due to the impacts of COVID-19.

SPONSORS: Speaker Johnson and Council Members Kallos, Van Bramer, Lander, Chin and Ayala




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Intro 1912 prohibits the marshals and the City's sheriffs from the taking and restitution of property or
the execution of money judgments until the later of the end of the state of emergency or September.
For New Yorkers impacted by COVID-19, marshals and sheriffs would be barred from the taking
and restitution of property or the execution of money judgments.

REBNY is opposed to Intro 1912 for numerous policy, practical, and legal reasons. REBNY
understands the Council's concern for eviction proceedings and shares its pursuit for fairness and
justice in the process, notably during the COVID-19 pandemic. It is why REBNY was the first group
to announce that its members voluntarily instituted a90-day eviction moratorium for their tenants to
provide relief. Additionally, as the pandemic has continued, REBNY members have been proactive
with their tenants to best address their specific needs as we weather this crisis together.

The powers and duties of marshals and sheriffs are embedded within New York State law, not local
law. The Council attempts to limit these duties through alocal law. It is misguided and
conceivably, unlawful basis by the Council to usurp State authority.

Notwithstanding the above, from apractical perspective, property owners rely on the ability to
collect rent to meet their expenses. According to data collected by the City of New York, nearly 30%
of atenant's rent goes to property taxes. In the past year, Class 2properties experienced a7.6%
increase in property tax levy, afaster pace than that of the City as awhole, as the Rent Guidelines
Board PIOC Report notes. Additionally, assessments rose 7.8% and the Class 2 levy share
increased 0.4%. Rent also pays for utilities, insurance, maintenance, and other operating costs. As
aresult, not all property owners are able to forgo rental payments and simultaneously operate their
properties at the same level for the next year.

Noticeably since Intro 1912 provides no contingency regarding atime period, an eviction
moratorium could last indefinitely. There should be widespread concern on the impression that this
legislation gives to tenants, particularly those who have the means to pay rent and will choose not
to do so. The economic consequences of this misimpression could lead to widespread mortgage
default, decreased property tax collection, and asubsequent decline in necessary city services for
quality of life for tenants across the city.

Additionally, while this bill does allow for actions to be taken in connection with amatter under the
jurisdiction of the family court, at aminimum, the bill also needs to allow for marshal action if an
action is in connection with amatter under the jurisdiction of criminal court. For example, Safe
Horizon, New York City's domestic violence hotline, has received asurge of 3,000 calls in April,
after adecline in March. The family court system does not deal with the issuance of permanent and
temporary orders of protection, often granted in criminal matters, which require the removal of an
individual. We need sensible legislation that allows owners to maintain the warranty of habitability
that protects the welfare of their tenants.

BILL: Intro No. 1936-2020

SUBJECT: Amending the definition of harassment to include threats based on aperson having
been impacted by COVID-19.

SPONSORS: Council Members Torres, Kallos, Van Bramer, Chin, Powers and Speaker Johnson


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Intro 1936 amends the definition of harassment in the Housing Maintenance Code to include threats
against an individual based on their status as aCOVID-19 impacted person, their status as an
essential employee, or their receipt of arental concession or forbearance. Harassment would be
punishable by acivil penalty of $2,000 to $10,000.

REBNY agrees wholeheartedly with the Council that protecting tenants from harassment of bad
actors, notably during the COVID-19 crisis, should be apriority. However, it is important to clearly
define what harassment means when most of the normal ways our society interacts with each other
has changed.

With that said, REBNY has concerns surrounding how Intro 1936 will affect the conversations that
are already happening between tenants and owners that could lead to solutions on rent relief.
Notably, if either side of those conversations are now fearful that such conversations could be
misconstrued as harassment, needed relief for tenants could be lost. Is one knock on the door to
ask if the building notices have been received, which have been emailed at some points daily to
alert tenants to changing executive orders, CDC guidance, and protocols on elevator usage,
considered harassment? What about reminders to pick up packages?

Additionally, REBNY has concerns that surround the idea of creating atemporary protected class,
and how a building owner understands what constitutes aprotected class. As written, there does
not seem to be acontingency on for how long atenant could claim protected status relative to the
COVID-19 disaster declaration, theoretically allowing for the protected class to be claimed well after
the end of the current pandemic.

Additionally, extending the protected class to also cover individuals who have received a rent
concession or forbearance for any rent owed also raises questions and concerns. As written, there
is no clarity on what would occur if atenant who has claimed protected status, for example, does
not pay rent on afuture unit under adifferent lease.

Finally, in our social distancing society, REBNY has concerns on if the bill addresses what could be
misconstrued as harassment. For example, limitations on elevator usage are important but certainly
will provide inconveniences for tenants. We encourage the Council to take these scenarios into
consideration to best provide more clarity for building owners and tenants alike.




CONCLUSION

As we work to address reopening our economy while prioritizing the health and safety of all New
Yorkers, we need to support proposals and actions that embrace collaboration. Additionally, we
need to understand the reality that most small businesses and industries across our City need real
and immediate relief.

Unfortunately, many of the proposals fall short on understanding that reality. REBNY is ready and
willing to work with the Council and appropriate City agencies to find solutions that balances relief
for both small businesses and workers, the obligations of owners, and the needs of tenants.


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Thank you for the time and consideration of these points.


CONTACT:
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Real Estate Board of New York (REBNY)
(937) 269-6889
rmonell@rebny.com




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Subject: The proposed Council Bill would be adestructive hit to Landlords



Hi Laurie,

It was very nice to speak with you today. Iappreciate the time you spent listening to my
concerns.

As Imentioned on our call, Iam the owner of asmall commercial building in the garment center,
230 West 39th Street, which has 16 stories and 60,000 sq. ft. Ihave 24 tenants and only four of
them have paid aportion of April's rent; the rest Ihave deferred for three months. If the
economic and pandemic situation, however, does not improve, Ithink they will need to defer
their rent for alonger term.

While there may be some press reports of large commercial and office tenants continuing to pay
rent, judging from the landlords Iknow, Idoubt such reporting would be accurate. Instead, I
think it is more likely that NYC landlords, almost all if whom carry debt on their properties,
would prefer not to broadcast to their lenders that they may have an issue collecting rents and
therefore may not be able to service their debt.

Whether or not landlords are receiving their rental income, we still have to pay debt service,
taxes, utility charges, insurance premiums and payroll to keep the lights on. Generally,
commercial and residential landlords have not been allowed to benefit from any of the
emergency financing that SBA has made available to businesses and individuals across the
country to alleviate the financial burdens caused by the pandemic. Also, most banks are
prohibiting borrowers from placing additional debt on their properties, even loans from the SBA,
and even if the SBA debt would be subordinate to the bank loan.

In short, landlords rely on tenants to pay rent so they can pay their business expenses and keep
their businesses operational for both their other tenants and to keep paying their
employees. Without rental income, alandlord can't keep the lights on. If alandlord can't service
the debt on the building, the bank will foreclose on the asset. If many landlords end up in this
predicament, the banks will not be able to keep up with foreclosures. The snowball effect of
allowing tenants to remain in their units for ayear, without paying rent, without being subject to
eviction or personal liability, will collapse the rental real estate market in NYC.

The aspects of the COVID-19 Legislative Relief Package that pertain to real estate (Int 1912-
2020, Res 1277-2020, Int 1932-2020, Intl936-2020) if enacted, would destroy the rental real
estate market in NYC and have disastrous, long reaching consequences. The only people who
will enjoy along term benefit from such legislation are extremely wealthy investors, sitting on
massive reserves of cash. When the destruction sowed by this legislation blankets the City, they
will swoop in to cherry pick otherwise decent assets. In fact, it was reported on by Costar today
that Blackstone has set aside amountain of cash to buy distressed real estate.

If this were to happen, the small businesses Ihave nurtured as an independent landlord will
vanish as will the iobs of my union employees who manage my building. Iwill lose my building
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that Ihave invested in for 3decades and my living as well. The proposed legislation is
tantamount to ataking of private property and my right and my employees rights to earn aliving.

Iwould also like to take this opportunity to point out the unique obstacles that face both
landlords and tenants in the Garment Center. Unlike other commercial buildings located in
business areas throughout the City where you will find diverse businesses, commercial buildings
in the garment center primarily have garment related tenants. Therefore, when the garment
industry suffers, the landlords who house that sector will also suffer. Forcing the landlords to
cary the burdens of the distressed garment sector is fundamentally unjust.

NYC garment businesses were already having trouble in 2019-2020 because of the Trump tariffs
on imports. When the pandemic hit in March, all the U.S. stores cancelled their orders. The
goods were ordered, paid for and manufactured by the tenant garment companies, however,
when stores/buyers cancelled orders there was no place to ship those orders. Then the "factors"
(garment industry lenders) refused to pay the garment companies because there would be no
outlet for the sales. As aresult, garment tenants are out all the funds they fronted to produce
goods for the season they cannot sell.

Only the largest companies might be able to carry this kind of loss. No one is buying product,
not even the outlet sellers (TJ Maxx, Century 21, Walmart, etc). Many garment companies will
not be able to pay rent. When most tenants in abuilding are garment tenants, landlords in these
buildings, especially smaller buildings with smaller sized businesses, will not have income. The
proposed legislation would mean Ihave to keep my building open, my lights on, for tenants who
are not paying me, all for asustained period of time. During this time, your proposal offers me
no tax relief and no debt relief. What funds am Isupposed to use to carry my tenants, my
employees, my taxes and my mortgage for ayear?

Kindly take the ramifications Ihave described of the proposed legislation into account before
proceeding further on this path. Iam asmall landlord who has worked hand in hand with my
small tenants to help them grow. Iproudly take risks on new companies. Where tenants don't
have atrack record and creditworthiness, they can provide good guy guaranties to secure their
lease. How else do you think these new "mom and pop" garment start-ups can get aliteral
foothold, aspace of their own? Your proposed legislation might help some struggling
commercial endeavors muddle through ayear of COVID downturn but it will also destroy the
marketplace for small landlords who take chances on small start-up businesses.

Iwould appreciate areply to this correspondence.

Sincerely yours,

Charles Hoppenstein
[choppenstein@gmail.com]
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Personal Guarantee Release




Speaker Johnson -Thank you for all of your efforts in supporting small businesses in NYC
during these unprecedented times. Your proposed law that would release commercial tenants
from personal guarantee would be life changing for me and many other small business owners.

3years ago, when Itook my life savings to open up a20 seat, 6employee restaurant in the West
Village, the only way Icould secure alease was to provide apersonal guarantee. That guarantee
entitles my landlord to 6months rent (at $18,000 per month) ,other fees and my security deposit
(3 months rent) should Irequest to vacate the premises prior to the end of the 10 year lease. In
the current situation icannot afford to pay rent and ican not afford to give notice. Iwill quickly
run out of money either way. Iapplied early on for the PPP and 2other SBA loans, but Iwas not
approved before the funds dried up. Ihave filed loss of income claims with my insurance
company to no avail. Iam out of options.

If the personal guarantees stay in place Iand many others will not only lose our business, our
livelihoods and our investments in the business, but also spend every other dollar we have on
commercial rent on aspace that is unusable. We will then be forced into bankruptcy to liquidate
whatever little else we might have, to pay commercial rent on alocation that has been forced to
close.

Ibeg you to please help us. Please step in and give us an opportunity to survive this disaster by
getting rid of the personal guarantees. Ihave accepted that my business will not survive this,
but Iam hopeful with your help Iand many small business owners will not be personally ruined
as well.

Thank you and stay safe,

Joseph Conti
Owner -Shuraku Restaurant
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       NYS Am FAH
       NEW YORK STATE ASSOCIATION FOR AFFORDABLE HOUSING


Testimony Submitted to the New York City Council Committee on Housing and
Buildings, Jointly with the Committee on Consumer Affairs and Business
Licensing
Re: Int. 1912
April 28, 2020

On behalf of the New York State Association for Affordable Housing (NYSAFAH), we
would like to thank Chair Cornegy and Chair Cohen for the opportunity to submit
comments on the bills being heard at today's remote hearing.

NYSAFAH is the trade association for New York's affordable housing industry, with
nearly 400 members, including developers, lenders, investors, attorneys, contractors,
architects and others active in the financing, construction, and operation of affordable
housing.

Int. 1912
The Covid-19 pandemic has created acrisis in the City's rental housing for tenants who
have experienced an unexpected loss in income and for the owners trying to keep
buildings afloat. On both fronts, these challenges are worse in our affordable housing
stock. Our members are reporting higher degrees of rent non-payment than has been
reported Citywide and the margins in affordable housing are much thinner than in their
market rate counterparts.

This crisis requires amultifaceted solution and will certainly necessitate federal relief,
which NYSAFAH has been advocating for with nonprofit and government partners
nationwide. Int. 1912 is not asolution that benefits affordable housing in New York City.

Without question, there will be large swaths of tenants who are newly unable to pay all
or part of their rent as aresult of the ongoing emergency. NYSAFAH's members are
communicating with their tenants regularly, encouraging them to discuss their situation
so that payment agreements can be reached, concessions can be made, or voucher
administrating agencies can be contacted if adjustments to subsidy vouchers are
necessary.

Continuing to receive rent from tenants who are able pay the rent, because they are still
working or because the enhanced unemployment benefits and stimulus funding allows
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them to, is critical. Payments continue to be required on the mortgage, insurance,
utilities, taxes, payroll and, vitally important, the building service workers necessary to
keep the buildings clean and maintained.

Unfortunately, statewide calls for rent strikes, including of tenants who are able to pay
the rent, have been persistent and largely unchallenged. Those who voluntarily do not
pay rent make it more difficult for building owners to assist and meet halfway those who
have no choice. They make it more difficult to keep building staff paid.

Against this backdrop, Int. 1912 bars City sheriffs from restitution of property or money
judgments until September for all, and April 2021 for those impacted by Covid-19,
broadly and loosely defined. It is the serious concern of the affordable housing industry
that this bill with further disincentive rent payment in an already extremely vulnerable
part of the housing stock.

Many tenants are in an extremely vulnerable position, as well. This cannot be denied.
There must be asolution that involves flexibility on the part of government housing
agencies with respect to reserves and cash flow payments, leniency and openness by
banks and lenders, and massive federal relief in the form of tenant vouchers and larger
direct stimulus payments. All of these must work in concert. However, we fear that Int.
1912 will instead incentivize tenants to make the rational decision to wait things out until
September 2020 or April 2021 and press their luck. The bill kicks the can down the road,
but it is affordable housing and those that reside in it and maintain it that
disproportionally suffer in the meantime.

Int. 1912 does not require showing rent burden, or that the enhanced Unemployment
Insurance received was insufficient to pay the rent. NYSAFAH supported the State's
eviction moratorium, calling for it prior to its enactment. Evictions are not the goal; they
are massively traumatic for families. But moratoriums during the height of the crisis
must eventually be matched by the relief that allows tenants to stay in homes and
buildings to stay operational, safe, clean and staffed. Int. 1912 is not that solution.
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                                     Testimony of Kenneth Litwack

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                          The Marshals Association of the City of New York

                                                BEfore the

                                   New York City Council
         Committees on Consumer Affairs and Business Licensing & Housing and Buildings
                                        April 28, 2020

                                                Regarding

             Int. 1912-2020: Temporary Prohibition on Evictions and Money Judgments



        Good afternoon Chairmen Cornegy and Cohen and the rest of the committee members. Iwant to
thank you for the opportunity to testify before you today.

        My name is Kenneth Litwack and Iserve as Special Counsel to the Marshals Association of the
City of New York. Iam here today to testify on behalf of the Association in opposition to Int. 1912.

    In 1979, Iwas appointed Counsel and Inspector General to the New York City Sheriff after which, I
became Director of the Marshals Bureau for the New York City Department of Investigation (DOI). This
unit is responsible for regulating New York City Marshals pursuant to state law. Upon going into private
practice, Ibecame Counsel to the Marshals Association.

   Iwant to state at the outset that Marshal's offices collectively employ 250 New Yorkers whose lives
would be deeply impacted by long-term disruptions to their operations.

    Our first objection to Int. 1912 is that the City Council does not have the jurisdiction or legal
authority to enact such ameasure. There is no statutory basis that would permit the City Council to
terminate or restrain aMarshal or Sheriff's official functions. Marshals act pursuant to court orders which
command them to act and are one part of acomplex system where it is the duty of Judges to determine the
special circumstances of aparticular case.

         Section 1609 (2) of the New York City Civil Court Act specifies that it is the Appellate Division,
First and Second Departments which has the regulatory authority over Marshals. See also Jorio v. City c   f
New York, 96 Misc. 955; 410 NYS 2d 195 (1976). A Marshal is an independent officer whose position was
created by the State Legislature and whose powers and duties are prescribed by state statute. In addition to
the Civil Court Act, Marshals and their powers are defined and regulated under section 105(s-1) of the
New York State Civil Practice Law and Rules (CPLR), which also governs the enforcement of money
judgements under Art. 52 and was extended in the recently-enacted state budget.

         Furthermore, we believe that in addition to the state law that governs and regulates the Marshal's
official duties, the issuance of Executive Order 202.8 by Governor Cuomo last month, clearly preempts
any municipal ordinance regarding evictions as this type of action would indicate an intent by the City
Council to occupy this field. Given the language and effect of Int. 1912 to restrict evictions and the
execution of money judgments, we believe the proposed legislation is preempted by state law. I'll also
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point out that Executive Order 202.8 only prohibited eviction and eviction proceedings but was silent on
the execution of money judgments.

         Our next objection is that while we understand the intent of this legislation is to help those in
need who have been negatively impacted by COVID-19, we believe the proposed legislation actually
hurts this constituency. If the proposed legislation were enacted as written it would negatively impact
Small Claims Court and aneedy plaintiff's ability to enforce amoney judgment. As aresult of this
legislation, plaintiffs would have no way of recovering money they are legally entitled to which adds
insult to injury during these trying times. New York City Marshals enforce approximately 2,000 —2,500
money judgments in Small Claims Court per year.

         It is also imperative that the Council considers the budget implications of this bill. We are akey
part of an approximate $80 million in revenue that the City collects in judgments every year on parking,
speed and red light camera violations as well as Environmental Control Board (ECB) violations. This is a
significant source of annual revenue for the City of New York and is needed more than ever as the city's
budget deficit continues to expand. Furthermore, the money judgments Marshals execute in these
categories serve as adeterrent to this type of behavior and furthers the goals of the City's safety programs
like Vision Zero.

         Putting aside the objections Ihave laid out in my testimony, I'd like to conclude by providing the
Council with some history of how evictions have been halted during previous crisis in New York City.
For example, after the terrorist attacks on 9/11, we worked closely with the City to halt evictions,
particularly in Lower Manhattan, for an extended period of time. After the devasting damage done by
Hurricane Sandy, Marshals halted evictions in various parts of the city including the Rockaways. The
court-ordered judgments and evictions are complex and any disruption will have amyriad of
consequences. We need to be measured and thoughtful on how to approach these subjects during the
COVID-19 crisis just as we have done in the past.

        We look forward to working with the Council on this issue and Iam happy to answer any
questions you may have.
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                              Testimony of New Economy Project
    Before the NYC Council's Committee on Consumer Affairs and Business Licensing
                       Delivered by Andy Morrison, Campaigns Director
                                                April 28, 2020


Thank you, Committee Chair Cohen and members of the Committee, for the opportunity to
testify today. My name is Andy Morrison and Iam the Campaigns Director at New Economy
Project, an economic justice organization that works with community groups and low-income
New Yorkers throughout New York City. New Economy Project's mission is to build ajust
economy, based on cooperation, racial, economic, and gender justice, and ecological
sustainability.


Since our organization's founding in 1995, we have worked with hundreds of grassroots groups
to challenge Wall Street banks and other corporations that harm New Yorkers and perpetuate
poverty, inequality, and segregation. We also work with groups to build democratically-
structured and community-controlled initiatives, including community land trusts and mutual
housing, worker and financial co-ops, public banks, and more.


New Economy Project strongly supports Int. 1912 and we urge the Committee to bring the bill
before the full body of the NYC Council, for the swiftest possible passage into law. We
commend Speaker Johnson and other sponsors of this emergency legislation for their strong
leadership. New Economy Project, along with thousands of New Yorkers and more than 60
groups statewide, has been pressing Governor Cuomo to institute an emergency statewide
moratorium on predatory debt collection during the COVID-19 crisis. We are pleased that in the
absence of state-level action, members of the NYC Council are taking this critical step to protect
New Yorkers.


For the past 15 years, New Economy Project has run afree legal hotline for low-income New
Yorkers. We have heard from thousands of New Yorkers harmed by discriminatory and abusive
debt collection lawsuits. Since COVID-19 gripped New York City last month, our hotline has
been flooded with anew spate of calls from low-income New Yorkers who are being hounded by
debt collectors using judgments to freeze people's bank accounts and garnish their wages.


As has been well-documented, the debt collection industry is rife with bottom-feeding companies
in the business of buying old, alleged debts on the cheap, then using our courts to pry away as
much money as they can from low-income New Yorkers. The rapacious debt buyers that file
these lawsuits are notorious for using deceptive and fraudulent practices to obtain automatic, or
"default," judgments against thousands of New Yorkers, which they then use to freeze people's
bank accounts or garnish their wages.




   NEW ECONOMY PROJECT      1 121 W. 27   T"   ST., SUITE #804   1 212-680-5100   1 NEWECONOMYNYC.ORG
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Amid the COVID-19 pandemic, predatory debt collection, which siphons wealth from and
destabilizes so many low-income communities and communities of color throughout the City,
has morphed into an urgent public health crisis. We must be clear: No New Yorker should find
themselves blocked from their funds, unable to buy food, medicine or other necessities, because
of adebt collection judgment.


New Economy Project urges the NYC Council to pass Int. 1912 immediately. We would
recommend that the NYC Council follow up with abill that strengthens the second part of Int.
1912, which would extend the moratorium until the second suspension date. Specifically, this
follow-up legislation should:


    • Require the NYC sheriff and marshals to:
           o Provide written notice to New Yorkers, at least 30 days in advance of any
               judgment enforcement, of their right to show that they qualify for this extended
               moratorium and the steps they should take to make such ashowing; and
           o Provide this notice to New Yorkers at an address verified as avalid address by the
               person's bank or employer or other third party not acting as an agent of the
               judgment creditor;
    • Empower the NYC Department of Consumer and Worker Protection to adopt emergency
       implementing regulations, in order to ensure compliance with these provisions;
    • Explicitly allow New Yorkers to make the showing of proof required by section 3(a)(3)
       via asworn detailed affidavit, without more; and
    • Add acatch-all "other" provision that allows New Yorkers to offer their own explanation
       as to why they qualify for the extended moratorium.


Predatory debt collection is avivid example of the profound racial and economic inequities that
underlie the urgent public health and safety concerns we are now dealing with. Department of
Health and Mental Hygiene data show adisproportionate concentration of COVID-19 cases in
neighborhoods of color, home to so many frontline workers who are putting themselves at risk to
keep our city running. These neighborhoods already face severe health and economic disparities.
They are also the communities from which debt buyers systematically extract wealth, where calls
from abusive debt collectors are part of everyday life.


New York City needs to take this action to ensure economic and racial justice, and community
equity. As debt collectors continue callously to take people's money during COVID-19, they are
further endangering low-wage service workers, elderly and disabled New Yorkers, and others
who are at higher risk of severe illness from COVID-19.


Many of these New Yorkers are speaking out and sharing their stories, underscoring the need for
bold actions to stop debt collection in New York City:




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 Ijust found out that my paycheck was garnished. Idon't know what it's for. Ican't
cjford to have any money taken away right now. My two daughters and two
grandchildren live with me. I'm trying to support my family, but everything is uncertain.
My job has cut the number cf days that Igo into workfor scfety reasons. One cf my
daughters lost her job because cf coronavirus. This money that was taken from me could
have gone toward alot cf other things that I'm worried about right now, like food,
disinfecting supplies, and other things Ineed to keep my family healthy. Iam
overwhelmed trying to work and make sure my family is scfe. "-Veronica, Brooklyn


 I used to be homeless. Now Iwork as ahome health aide and live in c,,fordable housing
Igot through alottery. A marshal started garnishing my paycheck in January. Ifound out
it's for areally oldjudgment, but Inever got court papers. I'm also avictim cf identity
theft, so Idon't think this is even my debt. Iwent to court to try to stop the wage
garnishment, but the court postponed my court date to March, and then again to June,
because cf coronavirus. The whole time the marshal kept garnishing my wages. I'm
worried I'll have to go back to ashelter because cf all this. "-Migdalia, Brooklyn


 I workfor the city finding emergency housing for fire victims. Ijust found out that 10%
cf my paycheck was garnished. Now Idon't know fI'll be able to stock up on the insulin
my son needs. He has Type Idiabetes. I've also been delivering groceries to my mother,
who lives close by. About amonth ago Igot amarshal's notice saying my wages would
be garnished. Iwas about to go to court to try to step it, but with COV1D-19 hitting the
city so hard, Idecided Ishould stay at home for the sake cf my family's health. Ialready
live paycheck to paycheck, so fthis garnishment goes on, taking care cf my family
during this crisis will be incredibly hard. "-
                                             Grace, Queens


 I was laid c1fbecause cf COV1D-19. Then my family tried to get groceries and Ifound
out my debit card wouldn't work. Ichecked my bank account and it was thousands cf
dollars overdrawn. Ithought I'd been scammed. Ispent hours on the phone with my bank
trying to find out what happened. Finally they told me there was ajudgment against me
for acredit card from afew years ago. That's when my husband, who's disabled, was
going through severe health issues. Ihave zero funds. Ihave no money. I'm at the
breaking point. "-Veronica, The Bronx


 "I'm asingle mother. Ihave three kids. My bank accounts were frozen in March. Ifound
out it's for an old judgment that the city got against me. Inever got court papers and I
have no idea what the judgment is for. Ifound out that the city's lawyers don't even have
my correct address. Ihad no money to pay my bills or prepare my family for this crisis,




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but the lawyers said they wouldn't release my bank accounts unless Isigned something
saying Iowe the debt. "-Jilliann, The Bronx


 I went to buy toilet paper and other supplies early in the morning, when the
supermarket was just open for seniors, but my debit card wouldn't work. Then Ifound out
my account was frozen because cf acredit cardjudgment. That account is where Iget my
Social Security disability bemjiits. I'm 61 and Ihave congenital heartfailure, so I've
been trying to stay home. Ialso live with my mom, who's 81, and I'm afraid cf her getting
sick. But Ihad to go to the post c•fice to send aletter to the debt collectors. They just
called me, and they didn't seem to care that Ionly get Social Security. They just kept
asking how I'm going to pay. "-G.W., Manhattan


 In March Ifound out adebt collector had frozen my bank accounts. I've never even
heard cf this debt collector. This is all the money Ihave in the world as I'm currently out
cf work due to the pandemic. I'm asubstitute teacher, and with schools likely closed until
the fall, Iwon't have any income for the nextfew months. Now Idon't have enough
money for rent. Ialso worry that my stimulus check will be directly deposited into my
frozen accounts and not accessible. Ineed that money for urgent necessities like rent,
food, and supplies for my family. Itried to find out how the direct deposit could be
switched to paper check via mail but Icouldn't locate that info, and the IRS website says
do not call. This situation has put aterrible pressure on me and on my family. On top cf
all this, last week was laid low with coronavirus-like symptoms, so I'm trying to rest
and isolate myse f "-Robert, Queens


 "About six years ago Ideveloped multiple autoimmune disorders which began to worsen.
Ihad to step working and have been forced to rely on family support. In March Ireceived
court papers for acredit card Ihad to stop paying six years ago. Battling three
autoimmune disorders and multiple immune conditions puts me at very high riskfor
COV1D-19. Going to court would put me in grave danger, but I'm panicked that the
credit card company will get ajudgment against me fI don't make the trip to court. "-
L.H., Manhattan


 I am ahealthcare worker. Icommute over two hours each way from my home in the
Bronx to aclinic in Brooklyn, where Iwork 10-hour sh fits. Iam asingle mother and the
sole provider for my family. In the middle (f March Igot court papers in the mail saying
Iwas being sued for acredit card Ihad been trying to pay (
                                                         jf. I'm stressed out

wondering fI'm supposed to miss work to go to court to answer this lawsuit right now.
 With this crisis, Ineed to prioritize caring for people at my clinic and making sure my
family stays healthy. I'm worried that the court will say Iowe this money fI don't fight




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       back, but I'm also worried about risking my health and the health cf my loved ones. "-
       Olga, The Bronx


These are just afew examples that underscore the pressing need for action to halt debt collection
in New York City. We urge the Committee to move Int. 1912 forward so that the Council can
pass this desperately-needed bill into law right away.


Thank you.




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                                                                                        BOMA                            New York




        THE BUILDING OWNERS AND MANAGERS ASSOCIATION OF
       GREATER NEW YORK'S TESTIMONY ON INT. NO. 1912, A LOCAL
    LAW IN RELATION TO CEASING THE TAKING AND RESTITUTION OF
              PROPERTY AND THE EXECUTION OF MONEY
    JUDGMENTS BY THE CITY SHERIFF AND MARSHALS DUE TO THE
                       IMPACTS OF COVID-19


   The Building Owners and Managers Association of Greater New York (BOMA New York)
   appreciates this opportunity to submit the below comments for the record. BOMA New York
   represents more than 750 property owners, managers, and building professionals who own or
   manage 400 million square feet of commercial space in New York City. We are an association
   within BOMA International, afederation of 90 US associations and 19 international affiliates that
   own and operate approximately 10.5 billion square feet of office space in the United States.

   This bill is part of a packet of potential legislation that purports to add various protections for
   different groups who have or will be impacted by COVID-19 and the pandemic it has created.
   Although we appreciate the City Council's desires to help the City mend when this health crisis
   is mitigated or over, we feel that this and the other bills was rushed out without proper
   consultation with various stakeholders, including the commercial real estate community, and will
   undoubtedly cause significant obstacles to recovery.

   Commercial real estate has been devastated by the COVID-19 outbreak. In the face of these
   challenges, our critical employees have worked diligently to keep buildings up and operational
   and open, even if most tenants have elected or been told to stay away. With spaces empty and
   with many tenants suffering unprecedented losses, commercial real estate has not been spared.
   The cost of keeping buildings open is significant, and those costs will only escalate as our
   tenants return in the new COVID-19 world, where awide range of public health safety practices
   will need to be implemented in buildings that will impact budgetary bottom lines as well as
   create significant operational challenges.

   Given never-before-seen nature of the impacts of this virus on New York City and its economy,
   it's critical that we find the right responses that help everyone get back up and running, and that
   do not create barriers and unforeseen consequences that hinder recovery. This bill, which would
   grant virtual immunity from eviction and other penalties to almost all tenants for up to (and
   possibly beyond) ayear, is not the right solution.

   At atime when the economy is disrupted and there is virtually no new lease signing, it is in no
   one's interest to evict, or have evicted, existing tenants in commercial buildings. That is why




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   building owners and managers are negotiating and working with tenants to find practical
   solutions to short-term financial issues to make sure tenants can stay. This bill would likely take
   many tenants out of those negotiations, as they could rely on blanket immunity to protect them.
   A year of no rent would destroy the real estate industry and take away their important tax
   revenues from the City. It would also lead to workers in commercial buildings losing their jobs.

   Furthermore, many of the tenants we are negotiating with are large and sophisticated retail
   companies, law firms, hedge funds, and other such companies that do not need the protections
   this bill would offer to avery wide range of tenants. Again, the City intervening here will only
   raise obstacles to finding solutions that will cost everyone time and money.




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                                                                       77 Sands Street



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                                                                   Brooklyn, NY 11201
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April 26th, 2020



VIA ELECTORNIC DELIVERY

NYC Council Speaker Corey Johnson
City Hall Office
New York, NY 10007



RE: Proposed COVID-19 Relief Bill, Protecting NYC Small Businesses



Dear Speaker Johnson,

         First, Iwant to thank you and the rest of the Council, on behalf of my company and myself personally, for
the COVID-19 relief bill being proposed. While the purpose of this letter is to emphasize the importance of a
specific small business protective measure under consideration, as a20-year New Yorker Icould not be more
enthusiastically in support of what the Council is proposing in all aspects.

         Iam currently raising afamily in Brooklyn, where Ihave lived for the past 10 years after spending 10 prior
in Manhattan. My parents were from the Bronx and Queens and Iam here for the long haul. My partners and I
started our restaurant business on Broome Street over 15 years ago with 4employees and asmall bar/cafe. Today
we have 3full-service restaurants (2 with small breweries) and 80 employees (pre-crisis) who are all NYC residents.
We have been an owner-operated, DIY company since the beginning and we have survived throughout the years by
catering to locals. 2020 was set up to be our biggest year ever in hiring and growth as we just signed anew lease for
a4t h location in January, which at this point is untenable and atremendous stress unfortunately. While our future is
uncertain in this moment, we are reassured by the fact that our local government understands what we are dealing
with and has the courage and resolve to act in support of businesses like ours.

         Regarding the small business protective measures under consideration, the suspension of commercial lease
guaranties in COVID-19 impacted situations is, by far, the one that gives me the most comfort as Ilie awake every
night thinking about how my company and family will survive the crisis. Ibelieve this measure is aprofoundly fair
solution to aproblem in which both tenants and landlords equally share no fault yet also equally cannot escape. In
support of this proposal, Iwant to share with you how this measure would mean the difference between survival and
bankruptcy for my small business specifically, atried and true NYC restaurant company.

         We guarantee leases through aholding company, owned by founders and employees, whose assets include
100% of our restaurant businesses and which also serves as our company's centralized employer. In the case of our
most recent lease, for which the project has not yet started, the depletion funds to cover COVID-19 losses has made
moving forward aguaranteed path to insolvency. We informed the landlord about this and attempted to negotiate,
explaining that both parties are better off if we remain solvent. The landlord prefers to simply wait since our
holding company has guaranteed the lease (full 15-year term), and therefore all of our existing restaurants are on the
hook indirectly. Should we secure financial relief or start to recoup losses after we can open, this landlord's
recovery potential and leverage will grow. We are paralyzed and forced to consider starting aproject we cannot
fund and spending ourselves into insolvency as apreferable strategic option to waiting for the landlord to force us
into bankruptcy as we begin to recover from the crisis.
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         Landlords and tenants, and everyone else, knows that economic circumstances have changed in adramatic
fashion, and at aspeed, never before seen in our lifetime. Small business owners have had no choice but to accept
these circumstances in real time, reset their expectations and either throw the towel in or begin to make the sacrifices
necessary to survive. We now desperately need our landlords to acknowledge these same circumstances and either
negotiate with us accordingly or allow us to accept acalculable loss and move on. Suspending guarantees is the
only way to force this fair and earnest negation, based on the market conditions of today. It is absolutely essential to
the survival of small businesses in our city.

         Finally, Iam reminded, as many have been, about hurricane Sandy and the fears we faced then. Compared
to COVID-19 Sandy somehow feels small, but it was still devastating. We were asmaller and younger company
with just one restaurant during Sandy. We were shut down, broke and unsure when, or if, we'd be able to re-open.
We made the decision to drive upstate and borrow afamily member's gas-powered generator and charcoal grill. We
opened our downtown restaurant for the community and offered free food, coffee and beer. We used plug-in, string
lights and candles and cooked with agrill on the sidewalk. We became the only place open for blocks and drew our
neighbors to us. Our make-shift operation lasted for about 2days before we ran out of gas for the generator.
Despite offering everything for free, our neighbors insisted that we accept payment. The whole experience became
our company's most defining moment. We went from anew and unknown spot to aneighborhood institution. Our
significance in the community was instantly solidified and we built friendships and loyalties that we still enjoy
today. We're not yet exactly sure how, but we think this crisis presents the same type of defining opportunity for
our company, and our industry. What the Council is currently proposing will help us all get form where we are now
to that moment and for that we are beyond grateful.

         If there is anything we can do to assist in this matter, please do not hesitate to contact me.



Sincerely,




Dave Plate
CEO, Randolph Beer
dave(a,randolphbeer.com
646-242-3496
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Virus relief package... NO
Good morning. Iam aresident of Chelsea and asmall business owner. Iam reading about the
proposed virus relief package, and when Iread it Ithink that the council is out of touch with the
reality of nyc life. Ilive in asmall coop building that has retail stores.



The tenant protections in the legislation would bar marshals and
sheriffs from collecting debts or performing evictions for residential or
commercial tenants affected by the virus until next April and give
renters more time to repay their rent


Our coop is made up of 10 families, and we rely on the rent from the commercial stores that we
have. We are obviously willing to share the burden of this virus with them, but we cannot
possibly go until next April before collecting any rent. All you would be doing is transferring
the loss from them to us. Who helps us out? Maybe you should work to have NYC lower the
property taxes of every building that forgives rent.



Everyone thinks that all landlords are these cash rich corporate entities, but that is certainly not
the case in NYC. As Imentioned, Iam asmall business owner who has been severely impacted
by this. On top of that, you want me to bail out other businesses?




John J. Kennedy, CDMM®

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     CORPORATE PARTNER
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In support of your COVID-19 bill for commercial tenant relief




Dear Speaker Johnson,

I'm asmall business owner in your district (I opened anew food hall called The
Deco Food +Drink at 231 W. 39th St. in the Garment District in December 2019),
and I'm writing to express my strong support for the bill that you recently
introduced to the City Council to nullify personal liability provisions in commercial
leases like mine (including in the good guy guaranty, which Ihave in my lease)
where the commercial tenant was impacted by COVID-19.

In my case, we shut down the food hall on March 17, 2020 in response to NYS and
NYC government orders. Ivery much hope to re-open the food hall when the
COVID dust settles, but uncertainty about my rent obligations is ahuge barrier to
my business's ability to survive. If passed, your bill would have asignificant
positive effect on leveling the playing field between commercial tenants and our
landlords when the time comes to renegotiate our leases (which will absolutely
need to happen in the majority of cases for hospitality business owners --
otherwise, alarge swath of us will go out of business for sure).

Thank you for what you're doing to persuade your fellow council members of the
critical importance of this bill. Ivery much hope that the council votes to enact
your proposal.

Sincerely,

Doris




Doris Huang

Owner, The Deco Food +Drink

doris@thedeconewyork.com

650-283-8884
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Covid19 Legislative Relief Package /Iam afriend and Nieghbor of
Stefan Campbell

Dear Mr. Johnson,


ISUPPORT THIS PACKAGE.


You are doing afantastic job for us hard working citizens. As a
restaurateur this is more important than EVER.


Thank you for all that you do.


Good luck Wednesday and be well,
Judi Wong



cafecluny.com
theodeonrestaurant.com
cafeluxembourg.com
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As asmall landlord with afamily owned building Iam shocked to see some of the proposals
being used to "protect" rights of certain groups. As our governor has said many times, we are
ALL in this together and this is no time to politicize the issue. As the mayor and many council
members seek to use this pandemic as ameans to solidify their base and secure "favors" from
the electorate in order to get elected, they are using very short sited plans to do this. Putting in
place programs that allow tenants to withhold and potentially walk away for rents for 12
months does nothing to help the city's situation. Small landlords do not have unlimited supply
of working capital to keep buildings running up to the City's high standards. Compliance with
all the regulations that were in effect prior the pandemic plus requirement to continue
operating without any income to provide necessary updates will cause major
defaults/bankruptcies. If the City's plan is to have landlords walk away from their buildings so
that the city can take over and resell at alater date for aprofit, then go ahead and pass the
bills. Otherwise the city itself will reap the pain of the bills it passes today as a"landlord" for all
these buildings.   It simply provides you with acity full of people who will make the same
demands of you that they make of us. And without the rents, the City will not be able to make
any improvements and we will have 5boroughs of "NYCHA" apartments-no heat, no service,
etc.

Landlords want to be part of the solution and there has to be amiddle ground where we can
work with those tenants that can't pay and those that can. We are not the bad guys here.



guillermo garcia

tgcllc@yahoo.com
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Proposed regulations


 wanted to reach out in support of several of the city councils' proposed
new policies aimed at supporting small businesses in New York City.

 am asmall business owner and operator in the West Village, with a
casual cafe called Village Den. Although asuccessful eatery, our margins
are thin as are all restaurants, especially with New York
commercial rents.

 stand strongly in favor of your proposed bill to provide relief to
commercial renters in the form of pausing evictions and debt collections
for both residential and commercial properties until April 2021.

 also strongly stand in favor of your proposed bill that will suspend
personal liability provisions in commercial leases.

 lastly appreciate your proposal to waive annual sidewalk fees.

Please let me know if my voice can be of any help in this moving
forward.

Best Regards,

Lisle Richards
Owner
Village Den
[lisle@themetric.com]
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                                  A-1833


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Tax Relief along with eviction moratorium!

Dear Council Speaker Corey Johnson,


Iam writing about the proposed new eviction law that the New York City Council is currently
considering- anew local law that will declare amoratorium on evictions until April 2021, a
move instigated by the pandemic.


While this addresses aproblem that is real and for which this law represents ahumanitarian
solution it will set into motion ahumanitarian disaster for building owners who will be
destroyed by not being able to pay their real estate taxes if atenant is paying no rent and no
tax relief for the building owner is forthcoming.


Those of us building owners paying dizzying real estate taxes will be out of our homes in
desperation. For example: the many coops in Soho who rely on our ground floor tenant's rent
to pay our taxes. Iam the president of just such abuilding. Our tenants simply cannot cover the
taxes by along stretch given how high those taxes are currently with no rental income for many
months under this law as it is written.


Our commercial tenant is part of an ecosystem that includes us as well. Tenants and building
owners both need relief if the humanitarian aim of this law will work.


Please rewrite the proposed eviction law to include atax freeze for building owners.


Sincerely,
Sarah Walker
Board President
138 Prince Street
NY, NY 10012
917-270-5775
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                                 A-1834


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COVID-19 Relief Package

David McGoldrick
Partner and Manager
Marjen & Family LLC and Marmelade LLC
124 East 72nd Street
New York, NY 10021

Dear Council Members,

First, Ihope that you are doing well and staying healthy. Obviously, these are very
trying times and the safety of our families and communities is of paramount importance.

Iam writing to express my concern over proposals that are being considered by the City
Council to protect New York City tenants during this crisis. Let me say that my family
and Ihave been landlords in New York since the 1940s, and Ithink asurvey of our
tenants would confirm that we have always been diligent and responsive to them and
their needs, but now IAM WORRIED ABOUT LOSING OUR BUILDINGS!

Obviously, there's so much trouble going around right now that there is plenty to share,
and we are willing to do our part to keep our city safe and successful, but Ido not think
that the proposals being considered by the City Council will achieve that objective. In
fact, they will, by virtue of human nature, do just the opposite. Both residential and
commercial tenants are practically being encouraged to withhold their rents and
eventually to walk away from their leases when grace periods expire. It simply cannot
be so one-sided. The City Council must take into account the health and financial well-
being of both landlords and tenants in crafting legislation. As it is now, it seems as if
landlords are slated to be the city's safety net, with no discussion of how landlords are
supposed to keep up with taxes, insurance, utilities, maintenance and so on, to provide
the services that keep tenants safe and secure.

If this sort of legislation passes, building owners will essentially have no way to enforce
the collection of rent from anyone claiming, without any evidence, to have been
negatively impacted by the COVID-19 crisis. While it is understandable that there is
concern for tenants, this sort of sweeping mandate will be devastating for owners. Any
relief and protection for tenants must be coupled with the same for landlords, whether
that entails measures to abate or delay collection of property taxes or many of the other
bills that owners must pay, and to make it incumbent on tenants to show that they are
unable to pay their rent due to COVID-19, and to make arrangements for them to catch
up when the economic situation improves. If owners aren't extended commensurate
relief then the outlook for the residential housing stock will be bleak indeed: tax defaults,
mortgage defaults, reduced or non-existent maintenance, and the exposure of landlords
to predatory lenders and buyers; people and entities who do not have the same
devotion to fair play and the responsibilities that tenants and landlords must share.
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Iknow it's not easy to come up with acomprehensive plan, but you must not implement
ashoot from the hip solution that ignores the complexity of the existing system and
instead imposes adraconian and unsustainable burden on just one group of
stakeholders.

Thank you for your time. Be well.

Sincerely,

David McGoldrick
david@1919films.com
       Case 20-4238, Document 40, 02/11/2021, 3035097, Page215 of 284
                                  A-1836


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Stop trying to punish business and property owners. These stories are
insane and reflect how out of touch leftists and leftist politicians are with
reality. I'm convinced you're all traitors trying to destroy the city and
country as awhole. Also shutting down evictions and making it seem
it's ok to not pat rent is also insane and irresponsible. You're turning this
city into acesspool.

https://therealdeal.com/2020/04/24/grocers-well-shut-down-if-city-council-mandates-rona-
bonus/

https://ny. eater. com/2 02 0/4/22/2 1
                                     231018/nyc -restaurant-coronavir,
                                                                     us-city-council-legislation




Sent from phone



David Brotsky
212.863.9665
https://davidbrotsky.com
Location and Production Services
Licensed Real Estate Professional
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virus relier package

To Whom It May Concern,

I, like most of my colleagues in the bar and restaurant industry, are obviously watching the
proceedings of the City Council with bated breath. I'd like to offer an individual case for your
consideration -mine -hoping it might shed just alittle more light on the situation. My tavern,
The Ginger Man, opened in 1996 and has been amidtown Manhattan (36th Street) favorite since
then, especially with the craft beer movement community. We have run fundraisers for
environmental causes, disaster relief efforts, and have worked closely with our neighborhood and
local police department. For our employees, hundreds since we opened, we make sure that their
workplace is friendly, fair, and safe. No employee, or vendor, or government agency has had
invoices go unpaid, or even had to wait for payment, in our near quarter of acentury of doing
business. Seems unlikely, Iknow, but this is amatter of record. After 20 years of wonderful New
York business and experiences our lease expired 5years ago and we found ourselves,
coincidentally, with anew owner of our space. This new landlord, only occasionally in New
York, rewarded us for our efforts with adoubling of our rent -far in excess of what our
neighbors were paying, and when Icomplained he responded by putting the condo common
charges on t6p cf the 100% increase. Our business life changed overnight, and what was a
pleasure for all became difficult, but we pressed on. However, he wasn't done with us -he
demanded apersonal guarantee, defined and qualified by aGood Guy Guarantee. This guarantee,
as you know, came into being in NYC to add some measure of sanity to PG's -LL's could have
their guarantee, and tenants could have away out; standard clauses have a3month notice of
intent to close, forfeit of all security deposits, and ahandover of the keys. If the tenant was
current in rent, he could walk away. Not so with my LL -he devised amilestone formula -I
could only give notice, with six months notice, only every two years. He gave me no choice but
to sign on to these terms. Regarding the PG formula, Ithought the likelihood of major
catastrophe happening exactly when when one of those 2year opportunities passed was was far
fetched, and that Iwouldn't have to worry about it. The last window was this past January. So,
with my nearly $55,000 rent Iam looking at financial ruin if he were successful in enforcing the
PG for another 2years. Aside from being patently unfair and bad for business in the city, the
logic is lacking -if the space in question (11 E36th St) was rentable at $55,000 amonth, why
would any LL need to have more than 5months security to do so (my 2month's security
deposit +the 3months of notice)? In this scenario, he is demanding 2years.
Ihope the City Council moves to remove these onerous PG's, and also to provide necessary rent
relief for our industry.

Thank you.

Sincerely,

Robert Precious
bptgml@gmail.com
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                                  A-1838


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Omit Yolcu

Good afternoon Mr. speaker, I'm pleased to see you and the council taking a
much needed initiative in providing assistance to essential workers, as many of us
across the city have had our hours cut in response to the ongoing situation. Ifeel
it would be very beneficial to alot of struggling individuals and families working
through this pandemic to keep our great city running as best we can, and the
added bonuses would mean aworld of difference in providing financially for our
loved ones. Im sure the great members of our council will get this passed without
delay, and im writing to you today to request that upon passage it also be applied
to all essential workers retroactively, dating back to the beginning of the
shutdown, when we all as acity began to feel the impacts of COVID across many
areas of life. Iappreciate you taking the time to read this and will look forward to
seeing you all take the needed steps to protect our essential employees in these
times of uncertainty.

Best regards,

Omit YOICU
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Commercial rents


On commercial leases for stores that the store owner gave personal
guarantees. All small business owners make their dream their small
business ,they'll do most anything to go into business including giving
their personal guarantee putting themselves and their family into
catastrophic ruin.


Please outlaw any such practice, especially in this time of virus.
Also taxi medallion owners whose medallion has collapsed, have lost
everything, they also should be treated equally.

MICHAEL SIMON <nycmis@ao1.com>
      Case 20-4238, Document 40, 02/11/2021, 3035097, Page219 of 284
                                 A-1840


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Commercial rent help for small business


My family has asmall business. The measures you have proposed with
regard to tenants having large commercial rents would be very helpful
to us and may have the effect of saving our business.


Thank you. Ihope you are successful in this effort.


Margie Katz

<margie.katz@icloud. com>
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                                 A-1841


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Small business owner in FiD1 received notice of default

Iam writing to you to pass along information that is pertinent to the proposed new legislation. I
have owned and operated asmall business in NYC for 20 years and am currently located in the
financial district. Ihave been at that location for over 5years and have a10 year lease.

We have struggled to stay afloat but have managed to remain current with all of our vendors and
our landlord through March of this year. We are in the entertainment business on the production
side and have no way to produce revenue during this health crisis.

Ireceived a"Default Notice" on Monday, April 20 with a5day cure. There is no $to pay the
balance of my April rent.

It certainly seems extreme to receive a"Default Notice" already especially since Iwas current
through March, but our landlord, Moinian, is obviously taking avery aggressive stance.

Ifelt you should have this information from another small business owner.

Sincerely,

David Baker
ENDEAVOR studios
endeavorstudios.com
212-645-2641
90 John Street
Suite 301
NYC 10038
Fulton St. Subway Station
2,3,4,5,A,C,J,Z Trains



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Hello Mr. Reynoso and Mr. Johnson
As aresident of Greenpoint, Iam writing to you in support of several options being discussed at
today's meeting. They include the following:

Pushing for Open Streets- the proposed 75 miles is abare minimum for acity of 8.5 million and
over 6000 miles of roads- Iurge you to push for many times that number- perhaps 10% of roads
could be closed, at 600 miles, giving millions of New Yorkers safe space to breath and be
outside- as well as creating safe zones for essential workers to move about the city and avoid and
heavily overcrowded subways. This could work to open up bike lanes, as well as bus only lanes-
again reducing subway use.

Rent/eviction freeze- Please support the rent/eviction freeze, as New Yorkers need to be able to
continue living in their homes safely and without the worry of becoming homeless- particularly
in acrisis. We already have tens of thousands of homeless, each of whom should be given a
guaranteed apartment- there are thousands if not tens of thousands of empty apartments across
the city-USE YOU MASSIVE AUTHORITY as the City Council to force these apartments to be
rented out to those who need them. You have the power- USE IT.

Essential worker benefits- as the first city in the US to offer full medical coverage, you must
make this process instantaneous and paperwork free- while also heavily promoting it to all New
Yorkers. All workers, not just essential workers, need ajob and payment guarantee, with special
attention paid to those keeping us all alive- food workers, hospital staff, etc. We must make it as
safe as possible for them to continue supporting all of us- see the above comments as well.

The above are agood starting point. As the wealthiest city in the US, and one of the wealthiest in
the world, Iexpect to see you support ALL New Yorkers through this crisis and beyond,
guaranteeing us adecent quality of life no matter what.

Thank you, and Ilook forward to watching what you do,
Cameron Shore

Cameron Shore
M.Arch, CCNY2017
<cameronbshore@gmail.com>
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                                        A-1843


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NYU
Furman
Center   I                                                                             Advancing research and debate
                                                                                       on housing, neighborhoods,
                                                                                       and urban policy
                                                                                    SchoolofLaw
                                                                                    Wagner School of Public Service




           Written Testimony of Matthew Murphy, Executive Director, NYU Furman Center
                                   to the New York City Council

                       Joint Hearing of the Committee on Housing and Buildings and
                          Committee on Consumer Affairs and Business Licensing

                                                     April 28, 2020



     On behalf of the NYU Furman Center, thank you for the opportunity to submit testimony on
     Int. No. 1912 -Ceasing the taking and restitution of property and the execution of money
     judgments by the city sheriff and marshals due to the impacts of COVID-19. My name is
     Matthew Murphy and Iam the Executive Director of the NYU Furman Center. We appreciate
     today's hearing on COVID-19 Relief, and the Council's consideration of the significant housing
     challenges faced by New Yorkers as aresult of the pandemic's economic impacts.

     The NYU Furman Center advances research and debate on housing, neighborhoods, and urban
     policy. This includes preparing essential data and analysis that helps policymakers, community
     organizations, and many others to examine pressing policy issues. The New York City Council
     funds the NYU Furman Center to provide data for the real estate and affordable housing
     community in New York City. As aprovider of information on housing issues, we submit some
     of our recent data on eviction filings trends to assist in understanding and quantifying issues
     related to today's hearing.

     We recently completed extensive data analysis of eviction filing trends from 2010-2019. The
     complete findings will be released in June with our annual State (f New York City's Housing and
     Neighborhoods report. Given the critical timing of today's hearing topic, however, we would like
     to highlight afew findings for the Council. We hope that this information can assist the
     Council's deliberations by establishing abaseline for eviction filing trends prior to the pandemic,
     highlighting disparities in eviction filings between communities, and shedding light on the
     demographics of areas with the highest eviction filing rates.

     Using administrative data from the New York State Office of Court Administration, we analyzed
     all private eviction filings in New York City housing courts from 2010 to the present. In addition
     to analyzing summary statistics, we were able to examine filing patterns and demographic
     correlations at the ZIP Code level. To help inform Council, we provide some key findings on the
     scale of eviction filings in New York City:

          ■ In 2019, there were 139,615 filings, down almost 17% from 2018. Citywide, the number
            of eviction filings initiated decreased between 2010 and 2019.
          ■ The risk of eviction is not equally distributed across communities. Areas of the city with
            lower incomes and larger Black and Hispanic populations had some of the highest
            eviction filing rates.
    139 MacDougal Street, 2nd floor   INew York, NY 10012 Ip 272-998 -6713 1furmancenter@nyu.edu (furmancenter.org
             Case 20-4238, Document 40, 02/11/2021, 3035097, Page223 of 284
                                        A-1844


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NYU
Furman
Center   I                                                                           Advancing research and debate
                                                                                     on housing, neighborhoods,
                                                                                     and urban policy
                                                                                   SchoolofLaw
                                                                                   Wagner School of Public Service

          ■ The vast majority of eviction cases are related to non-payment of rent. The median
            amount sought in non-payment cases for 2020 (prior to the moratorium) was around
            $3,000.
          ■ Based on the previous 4-year average, we estimate that there would typically have been
            around 27,000 eviction filings in March and April 2020, and another 13,000 filings in
            May.

     While this analysis cannot nor does not predict future filing trends, it is our hope that it helps
     contextualize the issues you will discuss and debate.

     Additionally, we would also like to provide findings from an analysis that we completed in
     March 2020 that examined the professions most vulnerable to job loss during the COVID-19
     pandemic. We conducted this analysis to help inform understanding about the workers who may
     be at risk for non-payment of rent. We found the following:

          ■ Out of almost 3.2 million households in New York City, almost 1,032,000 (totaling
            nearly 3.5 million people) had at least one household member that worked in an
            occupation vulnerable to job loss, and that person earned about 67 percent of the total
            income for the household.
          ■ Lower income workers are significantly more likely to rely on employment income from
            jobs that are prone to job loss.
          ■ The majority of households with at least one member working in avulnerable occupation
            and income under $150,000 were renters.

     Thank you again for the opportunity to submit this testimony and the attached appendix. We
     hope that this information is helpful and would be happy to provide any additional housing data
     or analysis to the Council.




    139 MacDougal Street, 2nd floor INew York, NY 10012   1P212-,998-6713 1furmancenter@nyu.edu (furmancenter.org
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Appendix 1

NYU Furman Center Written Testimony to the New York City Council
April 28, 2020




      Private Eviction Filing Rate
      New York City, 2020




                                                                  Filings per 100 Units

                                                                  ■    Quartrtle 1, toa•LSt

                                                                  ■    Qua rtiS: 2

                                                                       Quartile 3

                                                                  I    QuartNe 4, hrh_=t




      Sources: Neiv York State Office of Court Administration's Universal Case Management
      System.NYU Furman Center
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Appendix 1

NYU Furman Center Written Testimony to the New York City Council
April 28, 2020


 Private Eviction Filings
 New York City: Jan-May, 2015-2019

 Black line =4yr average
 Gray lines =individual years

      20k


      15k


      10k
 ii

       5V


        0
            Jan         Feb            Mar              Apr             May




 Sources. Neiv York State Office of Court Administration's Universal Case
 Management System, NYU Furman Center
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Pending legislation on tenant protections


Speaker Johnson,

Some tenants are concerned about landlords tacking on fines for late
payment of rents which may be written into lease riders. When
considering legislation to protect renters who are unable to pay rents
now, Isuggest that aban be explicitly included to prevent this from
happening. Thanks.

Rosalie Grossman
151 W. 16th St.
mailto:rggrossmandsw@gmail.com
       Case 20-4238, Document 40, 02/11/2021, 3035097, Page227 of 284
                                  A-1848


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                                                                                                         NYC
                                                                                          United for Small Business NYC
April 28, 2020

Dear Chair Cohen and Members of the Committee on Consumer Affairs & Business Licensing:

United for Small Business NYC ("USBnyc") is acoalition of community organizations across
New York City fighting to protect small businesses and non-residential tenants from the threat of
displacement, with afocus on owner-operated, minority-run businesses that serve low-income
and minority communities. The threat of displacement to New York City's small businesses and
non-profits has been exacerbated by the COVID-19 crisis.

Our members and clients (small businesses, sole proprietorships, cooperatives, street vendors,
and non-profits who provide goods and services to the public) are seeing acatastrophic drop in
income, up to 100 percent. Because of this, we need swift action to protect small businesses
and non-residential tenants from displacement and closure. We applaud the relief package
introduced by Speaker Corey Johnson and Members of the Council, including one bill before
this committee: Intro 1912-2020.

The extensions proposed by Intro 1912 of the current eviction moratorium address agrowing
concern of small businesses regarding their ability to continue occupying their commercial
spaces due to the economic devastation caused by the coronavirus pandemic. While this policy
offers some relief for small businesses attempting to survive through this crisis, the relief is only
temporary. Without further legislation or government action, once the moratorium is over, small
businesses will be liable for back rent owed during the periods they were closed due to the virus
with no projection that their revenues will be restored to pre-pandemic levels, let alone increase
beyond those levels to cover this additional debt. The legislature should not presume that
property owners will, at their own discretion, agree to suspend or reduce payments of rent.

We would like to highlight three concerns we hope the Council will take into consideration as
this bill proceeds through the legislative process, in order to strengthen the effect of this bill and
include all small businesses it intends to protect.

First, many small businesses in the City rent workspaces under license agreements which tend
to include provisions allowing licensors to terminate agreements after one late payment and
enter the space to take possession of the business' belongings, essentially conducting an
eviction that would otherwise be illegal if the business was a residential tenant. Unfortunately, if
aproperty owner or licensor of commercial space decides to exercise their contractual right to
re-enter and take possession when a licensee defaults, Intro 1912 would not apply as there is
no court-ordered warrant of eviction in this situation.

Secondly, the protected party under this bill should more clearly include commercial tenants
who are named personally on alease or rental agreement. Sometimes small business owners
do not name their business as the tenant on acommercial lease (typically because they had not
formed alegal entity by the time the lease was executed, they could not afford to form alegal
entity, or the property owner preferred to name the business owner personally as the tenant). As
aresult, if the property owner files an eviction proceeding against the small business tenant, the
named respondent is a natural person. Under this bill, if the protected party is not anamed
business, it must fall within the definitions under §3(b)(1). To prevent any confusion for
commercial tenants named personally under their lease agreements, language should be added
to ensure this bill applies to such tenants.
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                                                                                                               NYC
                                                                                                 United for Small Business NYC
Finally, pursuant to §3(a) of the bill, the second moratorium extension would not
apply to atenant who has "effectively waived" its opportunity to show the court that it has
suffered substantial loss of income due to the coronavirus. This exception can be an issue (and
lead to more litigation) for commercial tenants who were improperly served, corporate tenants
who were unable to get representation in court, or tenants who otherwise were unable to appear
in court.

Our coalition supports Intro 1912 and the Council's intent to provide some relief to the City's
most vulnerable small business owners and their employees. However, the small business
community should not be expected to continue paying rent without income in acity where
commerce has come to ahalt. We urge the Council to take additional measures of rent relief are
necessary to ensure small businesses are as prepared for the long-term economic effects of the
virus as possible. The City should exercise its power under the State Home Rule Law to do
So l.



Sincerely,
United for Small Business NYC
    • Association for Neighborhood & Housing Development
    • Brooklyn Legal Services Corporation A
    • Chhaya CDC
    • Cooper Square Committee
    • Municipal Arts Society of New York
    • NYC Artist Coalition
    • NYC Network of Worker Cooperatives
    • Street Vendor Project, Urban Justice Center
    • TakeRoot Justice
    • Volunteers of Legal Service
    • Women's Housing and Economic Development Corporation




1 See New York State Constitution, Article IX. The powers of local governments to act in their own

jurisdiction are meant to be construed broadly by the courts. N.Y. Mun. Home Rule L. §51 (providing that
home rule powers "shall be liberally construed"); N.Y. Stat. Local Gov. §20(5) (same). Article IX
authorizes local governments to adopt local laws in awide range of fields including the government,
protection, order, conduct, safety, health and well-being of persons or property within the locality. N.Y.
Const. art. IX, §2(c)(ii)(10); Municipal Home Rule Law § 10(1)(ii)(a)(12); N.Y. City Charter §28(a).
In addition to the Home Rule powers enumerated above and granted by the Constitution and specific
State statutes, municipalities have police powers.
Legislation which has for its object the promotion of the public welfare and safety, falls
within the scope of the police power and must be submitted to even though it imposes
restraints and burdens on the individual.
People v. Ortiz, 479 NYS2d 613, 620 (2nd Dept 1984). The police power has been defined generally as
the power to regulate persons and property for the purpose of securing the public health, safety, welfare,
comfort, peace and prosperity of the municipality and its inhabitants. Village of Carthage v. Frederick, 122
N.Y. 268 (1890) (affirming local law imposing responsibilities on owners of real property in its limits). In
New York State, it is as old as cities themselves. Further, it is "a proper exercise of the City's police power
to regulate ... businesses in the public interest," Short Stop Industrial Catering, 127 Misc.2d 363, 366
(Sup. Ct. N.Y. Co 1985), and there is no exclusion for the regulation of real estate businesses.
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IN OPPOSITION to Int. 1912-2020 -Joint Hearing of the Committee on Housing &
Buildings and the Committee on Consumer Affairs and Business Licensing

        Iwork for asmall landlord -amom and pop shop who operate on thin margins.
Landlords, like the place Iwork for, account for 60% of rent-stabilized units throughout the city.
These 60% own less than 50 units each.

        Many of these hardworking people, like the ones Iwork for, are out in their buildings
personally cleaning and disinfecting door handles, rails, elevator buttons etc. —risking
contracting COVID-19 in order to keep their tenants safe. These same people are on-call 24/7
for their tenants and buildings. Yet these same people are being demonized by the likes of State
Senators Michael Gianaris, Julia Salazar, and Mayor DeBlasio and thrown under the bus when
the city and state advocate that tenants should stop paying rent altogether.

        Not only should tenants stop paying rent but now the city wants to rob landlords of, not
only their income, but their only restitution for their hard-earned revenue.

        While Michael Gianaris, Julia Salazar, and DeBlasio are pushing for rent strikes —who
will bear the burden when these 60% cannot afford their July 1st tax bills because no income is
being received; and no tax forgiveness or even deferment is being extended by the city or state?
And yet the city charges interest to late payers of 7—18% COMPOUNDED DAILY.

        Meanwhile the SBA and NYC's dismal "attempts" to provide loans to small business has
fallen flat on its face. No small-time landlord Iknow of has been the beneficiary of one of these
much-needed loans. Instead the money is shelled out to large corporations and corporate
landlords leaving that 60% of small-time landlords to rely heavily on afew tenants who are able
to pay their rents.

        Taxes have been deferred federally; individuals are receiving stimulus checks of
$1,200.00 (households $3,400.00). Unemployment claims have been provided with an
additional $600.00 weekly —making it more lucrative for some to stay on unemployment rather
than go back to work (I managed one such tenant who has been asked to return to work but has
declined as she is making more on unemployment). This has been done so that people CAN pay
their rent and meet their obligations. And yet this proposed bill and rhetoric spewed by our city
and state "representatives" tell people otherwise.

        This rent, that the city and state are telling people not to pay, is the very same rental
income that property owners need to pay their property taxes, water and sewer, utilities,
mortgage payments, fuel costs, payroll for superintendents and janitors to maintain and operate
their buildings. Not to mention money to pay to contractors for repairs and improvements to the
buildings where these same tenants reside. This harkens back memories to the abyss of NYC in
the 1970s and 80s where similar actions lead us down this path once before.

    As Landlords are the biggest taxpayers in NYC, we should take an socioeconomic view of
this proposal:
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    • Less income yields less tax payments collected by the city and state (and less money to
      maintain buildings and hire employees);
    • devalued properties because of less income and more deterioration (higher
        unemployment for supers, janitors and contractors, more people out of work; apartment
        & building conditions deteriorate without money for renovations),
    • which in turn yield less demand (people were fleeing NYC & NYS for the last decade
        which has ramped up exponentially now!!) lower rents and empty apartments yield still
        lower income (no recourse to collect delinquent rents)
            o People living rent free during the moratorium while landlords are expected to
                maintain services and are issued copious violations if this is not done.
    • less taxes billed on decreased assessed values =still lower tax revenue for NYC & NYS

        No other sector has been asked to bear such aburden as what the city and state are asking
of the real estate industry. Something you are asking of your biggest taxpayers and biggest
source of revenue that allows the city and state to operate. Those who provide shelter to millions
of New Yorkers, whom many have personal relationships with the landlords, who are working
with their tenants during this time to ensure that their financial obligations are not overwhelming
to their families.

        Tenants are being told not to pay their rent, but no one is telling tenants how their living
conditions can deteriorate if there is no money to repair buildings, maintain staff and cover other
costs. And if these buildings deteriorate, and those 60% of mom and pop landlords lose their
buildings because of the financial burden created by the city —who will run those buildings and
care for those tenants? Will the city take over the buildings? Need Iremind you that the New
York City Housing Authority is in fact New York City's very own "worst landlord".

        And to these 60% of mom and pop landlords who have no pensions, whose entire
families' livelihoods rely on these buildings, what will be done with them when they lose
everything? They will be forced on to food stamps and rental assistance programs —creating a
further burden on the system. Will they also be told not to pay their rent when it comes time?

        Consider the disastrous outcome of what is being proposed here. You are proposing to
kill the backbone of New York City —meanwhile states and corporations alike are bailed out and
provided asafety net.

        Free things never made anyone richer. In fact, it promulgates the cycle of poverty, but
also seemingly creates adependent voter base. The politization of this pandemic at the expense
of people's livelihoods has been sickening to watch. It needs to stop here and now.
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                                                                            April 28, 2030

New York City Council
Committee on Housing and Buildings



Dear Chairperson,

       We are writing to submit testimony that the City Council's proposed new rules will
impose an unreasonable burden on property owners and managers.

       First, Intro. 1912 gives tenants no incentives to pay their rent on time or cooperate with
landlords to come to amutual agreement on payment plans. It also provides no recourse for
landlords if tenants decide to Icave without paying their rent and break their leases, as is
currently happening. It in essence gives tenants 1year period of not having to pay rent without
compensating landlords for any loss revenue. Landlords still have to pay their mortgages, real
estate taxes, water/sewer bills and all the other uperuting expenses on top of that. This is an
unreasonable burden to impose of landlords at atime of national crisis and dwindling revenues
as we negotiate with tenants to reduce their monthly payments.

        Second, Intro. 1936 is avaguely written law that imposes ablanket restriction from
talking to tenants about their rental payments. NYC already has one of the nation's toughest, if
not toughest,anti-harassment laws for tenants.Imposing anew vaguely worded law would serve
no purpose other than to score political points while people are dying, losing their jobs and
otherwise suffering. The City Council would better serve the whole of the population by finding
ways to help tenants get financial assistance and lobbying Albany to address both sides of the
rental equation by also getting landlords assistance by reducing their tax burden, their water
burden and their mortgage burden. The last one can be addressed by making sure any landlord or
consumer taking mortgage forbearance will not be penalized for doing so by making sure banks
don't blacklist consumers or landlords for taking mortgage forbearance during anational crisis.

       Thank you for your time and consideration,




                                                                            Ameet Sachdev
                                                                            Member
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            CHAMBER OF COMMERCE




                                            Testimony
                                     New York City Council
                             Committee on Housing and Buildings
         Jointly with the Committee on Consumer Affairs and Business Licensing


                                     Tuesday, April 28, 2020


The Brooklyn Chamber of Commerce is among the largest and most influential business
advocacy organizations in New York, having spent the last hundred years developing and
promoting policies that drive economic development and advance its members' interests. The
Brooklyn Chamber is the voice of Brooklyn's business community, offering the promotion,
support and advocacy businesses need to continue creating jobs and opportunities in their
communities.


We submit testimony today regarding Introduction 1912 of 2020 regarding the moratorium on
evictions through April 21, 2021 or 7months after the state or federal moratoriums on evictions
expire. We understand that the purpose of this bill is to protect commercial and residential
tenants. Here at the Brooklyn Chamber of Commerce we have been working around the clock
to help our small businesses weather the COVID-19 crisis and offer them the support, tools, and
resources that they need to survive. We have seen firsthand how difficult it is for them cover
basic expenses such as salaries and rent at atime when many have been mandated to close
and others have been forced to pivot to acompletely new business model that does not offer
them the same amount as revenue.


Nonetheless, we believe Intro. 1912 will not help our businesses where it matters most — by
offering them resources and support to keep their enterprises alive. It does not provide them
financial relief from taxes or other payments owed to city government. In addition, it is unclear
whether New York City government has the authority to revise the authorizing state law that
permits marshals and sheriffs to enforce evictions and other civil judgments. Furthermore,
eviction proceedings should be tied to state mandates regarding moratoriums on evictions.
When the state re-authorizes evictions, every eviction still must go through adue process in civil
court. Because of this process, we do not understand why the city would prevent eviction
actions from taking place for 7months or more past the time when the state has authorized
evictions to take place.


Thank you for your consideration and for your support of New York City's small businesses.


Respectfully submitted:
Randy Peers, President & CEO
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TAKEROOT
JUSTICE
Testimony of Priya Sreenivasan before the New York City Council Committee on Housing
                                     and Buildings

                                          April 28, 2020


Thank you for allowing me the opportunity to provide testimony. My name is
Priya Sreenivasan and Iam alegal intern with the Housing Rights Practice at TakeRoot Justice.
We write today to comment on Intro 1936, which would amend the definition of harassment
to include threats based on an individual's status as aperson impacted by COVID-19.

TakeRoot Justice, formerly the Community Development Project at the Urban Justice
Center, has along history of providing legal services and support on housing issues in New York
City's low-income neighborhoods, particularly within immigrant communities and communities
of color. Through working in partnership with tenant associations, community-based
organizations, and city- and state-wide coalitions, we advocate with tenants for policies to stop
predatory landlords and to fight for safe housing. As amember of Stabilizing NYC -acoalition
of eighteen grassroots organizations, acitywide housing advocacy organization,
and TakeRoot Justice, we collectively work to combat tenant harassment and preserve affordable
housing.

As the COVID-19 pandemic has unfolded, our practice has adapted to ensure that our work is
responsive to the needs of the communities we serve. We have launched adedicated COVID-
19 hotline for our partner organizations across the boroughs, are providing legal research support
to coalitions, and have developed materials for virtual Know Your Rights training for
tenants. We also have been making hundreds of phone calls to pre-existing clients to check-in
and monitor their landlords' behavior.

In our work, we have already started to see landlords retaliate against their tenants for their
inability to pay rent as aresult of being impacted by COVID-19. We recently worked in a
building with tenants who were unable to afford their rent as aresult of loss of income because
during COVID-19, there has been reduced demand for their freelancing services. The tenants
asked their neighbors to withhold rent in solidarity, and in response, the landlord accused the
tenants of committing tortious interference. Tenants in the building received aletter from
attorneys at Belkin Burden Goldman that threatened to sue tenant leaders in New York Supreme
Court if anyone in the building withheld rent aresult of their organizing efforts. We anticipate
that other landlords may similarly harass tenants who are not able to pay rent due to the
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impact COVID-19, and we support the proposed amendment to the harassment
definition insofar as it offers some of these tenants potential legal recourse.

However, we are concerned about the exclusion of avast number of tenants from the definition
of people "impacted by COVID-19". As written, the definition leaves out acritical mass of
tenants who have been able to keep their jobs but still lost income as aresult of reduced hours,
rates, or commissions. In 2019, the New York City Mayor's Office of Media and
Entertainment partnered with the Freelancers Union and Upwork to release areport that
estimated one in three New York City workers (approximately 1.3 million) engaged in freelance
work in the previous 12 months.' Many of these individuals, along with tenants with jobs not
counted in this report, have had their incomes diminished as aresult of COVID-19, yet would
not be entitled to protection from harassment under this bill.

From our work, it is clear this is not an abstract concern; rather, it is the reality we see. The
tenants who received the letter from Belkin Burden mentioned above are an example of tenants
who would be excluded from this bill. We hope that this legislation will be astarting point for
offering tenants affected by COVID-19 amechanism to protect themselves against harassment,
and that it will be expanded to provide protection to all tenants who need it.



Thank you for your time.




 Priya Sreenivasan
 Legal Intern
 TakeRoot Justice




1Freelancers Union, New York City Mayor's Off. in Media & Ent., & Upwork. Freelancing in New York City

2019. https://wwwl.nyc.gov/assets/mome/pdf/freelancing-ny-report-09062019.pdf.


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                                                     Community Housing   Improvement Program   NYC




April 28, 2020



                  Testimony of Community Housing Improvement Program
             at aJoint Hearing of the Committee on Housing and Buildings and
                the Committee on Consumer Affairs and Business Licensing
                             Re: Intros. 1912 and 1936 of 2020



         Good afternoon and thank you for the opportunity to provide testimony to the
Committees on Housing and Buildings and Consumer Affairs and Business Licensing. My
name is Joseph Condon and Iam providing this testimony on behalf of the Community Housing
Improvement Program, also known as CHIP. CHIP is an organization made up primarily of
small- and medium-sized owners and operators of rent-stabilized housing in NYC. We have
about 4,000 members who own and operate about 400,000 units of rental housing. Our
members run hands-on small businesses by managing their own buildings and becoming long-
term fixtures in their communities. More than 50% of CHIP members have owned their property
for 20 or more years. They know their buildings; they know their employees; they know their
tenants. Many of our members also sit on local clubs or civic associations, some on their
community boards. During the COVID-19 pandemic, our members and their businesses are on
the front lines, making sure people have asafe, clean, properly functioning apartment building
to live in while we shelter in place. Many CHIP members go beyond this minimum standard.
         Because our members are long-term owners with community ties, they are extremely
sympathetic to the painful financial circumstances that COVID-19 has created. In fact, many of
our members have worked with their tenants who are currently experiencing temporary financial
difficulties. According to an internal survey of CHIP members conducted earlier this month,
more than 50% of owners who responded have either worked out payment plans or are
currently doing so with tenants whose financial circumstances have been impacted by COVID-
19. Another 25% of our members who responded stated that they expected to offer discounts,
forbearances, or payment plans on acase-by-case basis moving forward. Almost all of our
members have provided information on available governmental benefits to their tenants.
         But some of our members are also experiencing financial strain. And the rest are
nervous for what May and June will be. For CHIP members, the utmost concern is their ability to
provide safe, clean, and quality housing to the residents of this city. And just like any other
small business, without paying customers, it cannot survive. According to arecent survey of
CHIP members, more than 40% of owners who responded said they would not be able to pay
all their monthly operating expenses (e.g., salaries, utilities, property taxes, or mortgages) if they
could not collect any rent for one month. After collecting no rent for two months, the number
grew to 75%. And it is worth noting that small multifamily building owners were not eligible for
the Paycheck Protection Program that was part of the federal government's stimulus package to
help small businesses.
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         Unfortunately, despite this being atime where we need to put politics aside, many so-
called tenant activists are using the COVID-19 crisis as an opportunity to push apolitical
agenda rather than addressing the real needs of people during this time. Calling for city-wide
rent strikes without concern for the negative impacts of putting small- and medium-sized
property owners out of business is irresponsible. Canceling rent without also providing relief for
the expenses of small property owners is not aworkable option and should not be realistically
considered by these committees without providing commensurate relief on the expense side for
property owners. Relief in the area of property taxes is anecessary complement to any
moratorium. The ripple effects of not doing so will be felt most by building employees,
management staff, maintenance contractors such as carpenters, plumbers, and exterminators,
just to name afew.
         Property taxes are the biggest single operating expense for rent-stabilized building
owners. Between 30 and 40% of atenant's rent payment goes to the City in the form of
property taxes and other charges and fees. In some ways, the City is just as reliant on those
rent payments as the property owner. As someone once said, "even the people you pay rent to
have to pay rent." We think it is unfair to CHIP members for this Council to propose
moratoriums that effectively prohibit rent collection for acertain period of time without also
providing complimentary relief for owners who must still pay operational expenses during that
time. By only focusing on one side of the equation, these proposals add fuel to the political fire
of the anti-housing activists who are calling for arent strike for all. This is one of the main
reasons CHIP opposes Int. 1912-2020.
         Further, assuming that no one can pay rent ignores the significant benefits already
disbursed—and yet to be disbursed—by the state and federal governments to those who have
lost income during these difficult times. We understand that not everyone who has lost income
will be eligible for those benefits, and that the benefits may not completely make up for lost
income for those who are eligible. CHIP members are working with these tenants to figure
things out. Indeed, property owners and managers are in the best position to deal with the
variety of circumstances tenants are facing. But if everyone else who can pay rentjust stops,
the ability of an owner to provide relief to those who can't get it anywhere else is significantly
diminished.
         Another specific concern regarding Int. 1912-2020 is lack of distinction between tenants
in arrears as aresult of COVID-19 and its secondary effects, and tenants who were in arrears
long before the pandemic arrived. As currently drafted, the moratorium would cover these pre-
existing arrears.
         Int. 1912-2020 would also prevent evictions based on nuisance activity; criminal
conduct; illegal subletting, profiteering, and subdivision; or other misuses of an apartment that
endanger other tenants in the building, or at the very least impair their quality of life. While a
building owner is likely to be able to work out something with atenant who is experiencing
genuine financial difficulties because of COVID-19, should the tenant who was four months in
arrears before the pandemic struck receive the same immunity from legal process? Should a
person who is profiteering from their rent-stabilized apartment by using it as an illegal hotel be
protected because their income was reduced, giving them a license from the government to
refuse to pay rent?
         In sum, Int. 1912-2020 sends astrong signal from the Council that tenants do not have
to pay rent because owners cannot even attempt to collect those arrears for almost one year.
While the Council continues to recite kumbaya rhetoric of everyone working together in this time
of crisis, its actions belie its words. Where is the relief to property owners who will be forgoing
the rent while their expenses continue to accrue? Where is the seven-month extension on
property taxes due to the City? CHIP members are doing what they can to provide relief to their
tenants, but they cannot do it alone. We are asking the Council for help.
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         Aside from the practical concerns over the bill Int. 1912-2020 also suffers from multiple
legal infirmities that make a legal challenge inevitable, and an injunction against its enactment
and/or enforcement more likely than normal.
         First, Int. 1912-2020 is expressly pre-empted by §1(5) of the Local Emergency Housing
Rent Control Act of 1962 ("The Urstadt Law") which, in relevant part, precludes the New York
City government from enacting any "local law... subject[ing any housing accommodations] to
more stringent or restrictive provisions of regulation and control [of residential rents or eviction]
than those presently in effect." By forbidding NYC marshals and the NYC Sheriff from executing
any warrants of eviction during "suspension periods" of its own determination, Int. 1912-2020
would subject all housing accommodations in the City of New York that are named in warrants
of eviction to more stringent and restrictive regulation of eviction than those presently in effect,
under existing statutes as supplemented by the governor's Executive Order No. 202.8 (90-day
statewide eviction moratorium). Therefore, Int. 1912-2020 is facially invalid and unenforceable.
See Mayer v. City Rent Aqencv, 46 N.Y.2d 139 (1978) (striking down NYC local law pre-empted
by Urstadt).
         Second, Int. 1912-2020 vastly oversteps the boundaries of the City of New York's local
legislative powers under the home-rule provisions of the New York State Constitution and the
Municipal Home Rule Law. "The home rule provisions of the Constitution and the legislation
implementing it list several subjects about which local governments are given the power to
legislate." Council of City of New York v. Bloomberq, 6N.Y.3d 380, 392 (2006). The
enforceability of judgments issued by the New York City Housing Court and other New York
State courts is not among these enumerated subjects. NY Const., art. 9, §2(c)(ii)(1)-(10);
Municipal Home Rule Law §10(1)(ii)(a)(1)-(14). Therefore, should Int. 1912-2020 be enacted, it
will not be able to withstand achallenge on home-rule grounds in the New York State courts.
See Bloomberq (striking down NYC local law based on pre-emption by Municipal Home Rule
Law, among other grounds).
         CHIP has equally grave constitutional concerns with regard to Int. 1936-2020, which
would expand the definition of residential tenant harassment (intent rebuttably presumed) to
include "threatening any person lawfully entitled to occupancy of adwelling unit based on such
person's actual or perceived... status" as the member of a new protected class for purposes of
tenant harassment: "an essential employee, status as aperson impacted by COVID-19, or
receipt of a rent concession or forbearance for any rent owed during the COVID-19 period,"
defined in the same way as the "first suspension period" under Int. 1912-2020 above, that is,
from March 7, 2020 through, at the earliest, September 30, 2020.
         While it is certainly a laudable goal to attempt to deter anyone from "threatening" tenants
based on the current pandemic's direct or indirect effect on them, we argue that the lack of any
definition at all of "threatening" or "based on" in this bill—or anywhere else in the Housing
Maintenance Code, for that matter—makes Int. 1936-2020 void for vagueness under the New
York City Charter (Chap. 45, §1046(c)(1)), the New York State Constitution (Art. I, §6), and the
United States Constitution (14 th Amendment). In the absence of any such definition, the City
Council puts property owners on unconstitutionally deficient notice of what it is that gives rise to
the devastating rebuttable presumption of intent to harass tenants. Does "threatening... based
on" include warning atenant via a late rent notice and then by anotice to sure—as the law
mandates—that the failure to pay arrears by adate certain will result in eviction proceedings
once the COVID-19 moratorium expires? What exactly is the modicum of evidence required to
prove discriminatory intent? The tenant's hearsay account of a past request for payment? Or
even athird party's account of a past event, allegedly demonstrating the owner's intent to
discriminate against that particular tenant, or any tenant suffering from the primary or secondary
effects of the pandemic? Unless the Council will add language to Int. 1936-2020 that puts all
the foregoing questions to rest, CHIP respectfully urges that this bill be rejected by these
committees, and by the full Council if it gets that far.
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                                                                                                 4


         In fine, CHIP urges these committees, and the City Council as awhole, to either radically
amend or reject both Int. 1912-2020 and Int. 1936-2020, based upon the decimation of small
building owners that the former bill would cause; and based upon the legal infirmities of both
bills, which are so grievous that they are likely to be tied up in the courts long after the COVID-
19 pandemic has subsided.
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City Council Committee on Housing & Buildings and the Committee on Consumer Affairs
Remote Hearing -April 28, 2020
Oksana Mironova, Housing Policy Analyst, Community Service Society (f New York

My name is Oksana Mironova and Iam ahousing policy analyst with the Community Service
Society of New York. Thank you for the opportunity to present comments on the COVID-19
Relief Package, as it pertains to tenants.

The pandemic has intensified the city's ongoing housing crisis, already adaily reality for four in
ten low-income New Yorkers who are homeless or housing insecure. Before March 2020, many
low-income New Yorkers were spending asubstantial portion of their earnings on rent. For
example, our research has shown that the median rent to income ratio for low-income rent
stabilized households bypassed the severe rent burden threshold, increasing from 40 percent in
2002 to 52 percent in 2017.

                                                                                 After decades of climbing housing
FIGURE 1.        SHARE OF LOW-INCOME RENTERS EXPERIENCING
                 HOUSING HARDSHIPS (2019)                                        costs, low-income renters were already
                                                                                 experiencing high rates of housing
                                                                                 hardships. In 2019, 30 percent fell
                                                                                 behind on rent, 20 percent had utilities
                                                                                 shut off, 19 percent had to move in with
                                                                                 other people, and 15 percent were
                                                                                 threatened with an eviction.




        Fall Behind            Utilities   Move In With         Threatened
          On Rent             Turned Off   Other People        With Eviction

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     2014 CS.S 114—d Thi'd > _.   .




It is therefore unsurprising that                                Figure 2. Savings by race and Latinx origin, NYC tenants (2019)
many renters have been unable
to save money. The vast
                                                  Black
majority of low-income                                                                                               da
renters-70 percent—had less
than $1000 in savings for an                     Latinx
                                                                                M
emergency, like an unexpected
loss of income or a
hospitalization. Further, there
are major disparities in
                                                  Asian
                                                                           ca                 1•                      1•
savings by race among renters
across all incomes. Sixty three
percent of black renters and 60
                                                 White
                                                                          in              1A& 1 a
                                                          0%     10%      20%   30%     40%     50%       60%       70%   80%   90%   100%
percent of Latinx renters report
                                                                                 ■under$1K    ■$1K-$10K    ■$10K+
having less than $1,000 in
savings, as compared to 43
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City Council Committee on Housing & Buildings and the Committee on Consumer Affairs
Remote Hearing -April 28, 2020
Oksana Mironova, Housing Policy Analyst, Community Service Society (f New York

percent of Asian renters and 41 percent of white renters. This is in line with national research,
which points to abroadening racial wealth gap across all socioeconomic levels. Most black and
Latinx renters, and the vast majority of low-income renters do not have one months' worth of
rent in savings. And, the sudden onset of the pandemic has disproportionately impacted these
communities.

The pandemic not only created an impossible situation for New Yorkers who were already
homeless or housing insecure, but is now bringing many others closer to the edge. Our research
has showed that more than 126,000 low- and moderate-income renters in the private market have
minimal savings and have lost much or all of their income as of late March. This number will
increase dramatically in May.

Expanded unemployment insurance—covering more workers, with higher weekly benefits—will
help some, but will leave out important segments of the New York City workforce, like
undocumented workers. The stimulus check will offer some reprieve as well, but is aone-time
payment that also excludes undocumented New Yorkers. In the short term, delays in
unemployment insurance claims processing have been ahuge problem, because many renters
lack savings to get by, even for even afew weeks.

New York State has a90-day eviction moratorium in place, set to expire in mid-June. First, we
need to extend the moratorium, because we know that the economic effects of the pandemic will
be with us for along time. We support Intro 1912, which would pause evictions until September
2020 for all tenants, and until April 2021 for those directly impacted by the pandemic. We also
support Intro 1936, which would amend the definition of harassment in the Housing
Maintenance Code to include COVID-19 status —no one should be discriminated against
because they got sick.

Second, we need some sort of rent relief that is universally available and easily accessible to
anyone impacted by COVID-19, especially undocumented New Yorkers. Without it, we are
going to see amajor spike in evictions whenever the moratorium is lifted.

Looking toward the long term, we need to expand right to counsel to give more tenants afighting
chance in housing court. Further, we need to develop programs that allow mission-driven
nonprofit developers, or tenants themselves, to acquire properties that will come up for sale, or
go into foreclosure in the wake of the pandemic. This could include laws that give tenants,
nonprofits, or the city the right of first refusal, paired with targeted funding to support
acquisition.

Thank you for the opportunity to provide comments on the COVID-19 Relief Package. If you
have any questions, you can reach me at omironova@cssny.org.
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                                                                                              4/28/20


Dear Honorable Members of the NYC Council,


       Iknow that you are considering passing anew legislation in the wake of this Covid-19
Pandemic, to allow tenants to not pay rent.
Iwould like to ask Council members who are in favor of this alegislation, few questions.


                Landlords are currently providing crucial and essential services to
               tenants. Those essential services can only continue if landlords
               could collect rent.
       Specifically
       1.   How are landlords expected to pay for heat and hot water if tenants are not going to
            pay rent.
       2.   How do you expect alandlord to pay for the water and sewage that allows tenants
            to take showers and go to the bathroom.
       3.   Landlords are paying supers and porters to put out the garbage, and to clean/mop
            public spaces. How do landlords provide this without the critical cash flow that
            comes from rent collection.
       4.   How does City Council expect alandlord to pay property taxes without rent?
                      • Property taxes have skyrocketed in the last 3years to alevel that is equal
                         to 35% of rental income. We are in essence collecting taxes on behalf of
                         the city.
       5.   Why is landlord trying to collect rent, termed as "Harassment". Is alandlord not
            entitled to collect rent for proving shelter, heat, hot water, cleaning services etc.?


            Why are we even using the term "Harrasment"? All we want to do is collect rent on
            an apartment so we could pay our 1) property taxes 2) Super 3) the oil company for
            delivering oil 4) ConEdison for the running elevator


       6.   Why is the Government throwing all the burden of this pandemic on the landlords
            only?
               Why is the city council not considering abill to allow people to walk into the
               local supermarket pick up some groceries and walk out without paying.


                                                          Thank you,


                                                      - David Chemtob
                                                          917-681-5401
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To the esteem members of the City Council:


As someone who's been managing NYC rent regulated property for over 30 years, but who is not a
landlord, I've come to appreciate all arguments from both sides of the aisle in the on-going, now more
than ever, contentious issue of housing. Notwithstanding my professional occupation Iam also afather
of two millennials who themselves are dealing with the high cost of housing here in the City. So I'm
both an employee of the landlord/tenant industry and someone who needs to help subsidize his two
children in the landlord/tenant world.


With respects to the current proposed legislation before you, may Iask rhetorically, why are you looking
to create solutions to problems that don't exist, especially during acrisis of such global proportions?
This is asociety threatening pandemic we're all dealing with. Everyone person Iknow is going out of
their way to talk to their tenants to find workable solutions to something that for many of us we've
never seen the likes of before. Icannot imagine that some landlord is out there making threatening
overtures to tenants at this time. Forgive me for wearing blinders, but I
                                                                        just don't see it happening.


We manage over a1000 units between 28 properties and Ihave to say the conversations we're having
with tenants these days are some of the most sincere and genuinely human conversations we've ever
had. We hear the anxiety and concerns in their voices; for some we hear fear. But Ican assure you our
reactions aren't to disregard the epic proportions this crisis is having on all people. If anything Isee
people in this industry rising to the top with their hands held out for anyone who needs it.


We hear how appreciative our tenants are to see our maintenance people out there on the front lines
everysingle day doing what they can to keep buildings as clean as we can. They appreciate us being
here. There's anew found sense of appreciation that Ithink we're all feeling for everyone who is
helping each and every one of us to get through this. Ithink some people are even taking comfort in
just talking to people in our office as it's aform of distraction from their own thoughts while they remain
home.


Now more than ever, please, Ibeg you, do not widen the divide that separates us, but do what you can
to bring us together. If you are truly —truly— interested in helping your constituents during this
extremely difficult time, set aside your feelings of animosity and revenge for property owners and use
the occasion instead to let your humanity be the example. Help us to help them.


Please be well and stay safe.


Steven J. Lavelle, CPM CMCA AMS
Director of Operations
Ventura Land Corp.
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Council of New York Cooperatives & Condominiums
 TESTIMONY TO THE COMMITTEE ON HOUSING & BUILDINGS AND COMMITTEE
                                   ON CONSUMER AFFAIRS

                              Regarding Int. 1912 and Int. 1936

                                          April 28, 2020

       The Council of New York Cooperatives & Condominiums is a membership organization
providing information, education and advocacy for housing cooperatives and condominiums
located throughout the five boroughs of New York City and beyond. More than 170,000 New York
families make their homes in CNYC member buildings, which span the full economic spectrum
from very modest, income-restricted housing to solid middle class apartment complexes to
upscale dwellings. The common thread is that these buildings are owed by their residents and
operate as self-governing representative democracies.

       Today our City, State, and Nation face an unparalleled health and economic crisis. New
Yorkers are suffering greatly and it is understandable that the City Council is looking for solutions.
However, we write today to raise concerns about the cumulative impact of the legislation being
considered today and at upcoming hearings which is meant to help commercial tenants but may
hurt homeowners.

       There are around 100,000 households throughout the five boroughs in co-op buildings
that have commercial space and may be lucky enough to have commercial tenants during this
difficult time. The owners and shareholders in these buildings are not large real estate companies
— they are average citizens and families. These citizens and families rely on the rental income
from commercial tenants to offset their monthly maintenance and other carrying-costs.

       Many co-ops and condos are working collaboratively with their commercial tenants to
establish payment plans and other ways to weather this crisis together. It is almost always of
mutual interest to find away forward that prevents commercial tenants from needing to end a
lease or vacate asite, especially during these hard economic times when finding another tenant
would be extremely difficult. However, the legislation being considered today could mean that a
co-op or condo might be forced to wait until April 2021 to see any rent payments from a
commercial tenant. We are deeply concerned about the impact this might have on the operations
of our members who are already facing rising operating costs across the board.

       CNYC shares adesire to find relief for those New Yorkers who need it most. However, we
must caution against any broad legislation which could have major negative consequences for
our City's homeowners. We look forward to working with the City Council to address these issues
and countless others during this difficult time for all.
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                                        Holding Corp.

                                                     April 28, 2020

New York City Council
Committee on Housing and Buildings

                                                     RE: Intro. 1912

To Whom It May Concern:

J& LHolding Corporation is afamily owned and operated property management
company and Iam writing to express my concern about the proposed Intro. 1912.

While Iunderstand the desire to protect tenants under the circumstances before us with
the Covid-19 pandemic, but the general idea of this proposal blatantly ignores the
economic reality owners face in the name of political pandering.

How are we supposed to pay our property taxes in July and January if you are, in essence,
allowing tenants to not pay rent during atime period when two real estate tax payments
are due?

How can you explain shifting the financial burden to one group as you have proposed?

With the logic proposed, why are you not going after every other business? Why is it that
we are being vilified?

The proposal puts the financial burden solely on the backs of property owners. The
proposal is one sided, short sighted and apolitically motivated attempt at a"solution". It
is simple solution to acomplicated problem that does not solve any problems, it only
makes things worse.

Iurge you to look at the bigger picture when considering the approval of Intro. 1912.

                                                     Yours truly




                                                     JP Rutigliano




   1140 Bronx River Avenue —Bronx, NY 10472 —718.620.2200 —Fax 718.620.1870
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                      TESTIMONY OF THE QUEENS & BRONX BUILDING ASSOCIATION

                                            April 28 and 29, 2020




My name is Robert Altman, representing the Queens & Bronx Building Asociation, and Iam submitting
this testimony on Int. Nos. 1912, 1914, 1932 and 1936. But in general, let me express the Association's
general concern that the Council be very careful about inadvertently using the COVID-19 pandemic
situation as a means to protect populations who before the current pandemic had already been
delinquent in their obligations. We understand the Council's desire to minimize the damage from the
pandemic, but COVID-19 should not be used as asword by already problematic individuals. Some of the
overly broad legislation will frankly protect bad actors without the need to do so.




For example, in Intro. No. 1912, what if the protected person had, in fact, become delinquent in his or her
responsibilities before COVID-19, but because of COVID-19 now fits in the law. Moreover, what if aperson
is not tested for COVID-19 but now uses the generalities of this law to seek protection. Theoretically, with
tele-medicine consultations, it is quite easy to know what the law allows for and seek a consultation
without even really having ANY symptoms! It is not like adoctor can provide afull examination through
tele-medicine and determine if apatient is faking symptoms or asituation is real. At least aperson should
test positive for the virus or as part of adefense in acourt of law, show that he or she had contracted the
virus either though apositive test, or at least, showing signs of the antibodies after the fact. (And that
should also be true for any relatives the person is claiming they needed to care for.)




But even worse causation issues exist in Int. No. 1914. Here aperson is assumed to be impacted if another
member of the household had COVID-19. But what if that person was not the primary caregiver? In the
law, mere partial caregiving is sufficient (and when part it must be is not defined). What if the person
continued to live as if everything was normal? COVID-19 must at least be the cause of the hardship, not
an incidental situation.




And these same issues exist in Int. No. 1932 and 1936 because it basically uses the same definitions and
thus has the same flaws. Moreover, Intro. No. 1932 changes the dynamic of liability. If the business is
ruined, the guarantor now has no reason to leave quickly (under a personal good guy guaranty, the
guarantor will want to leave early to limit liability) and the landlord then must institute proceedings,
proceedings which the Council is seeking to stymie. It leaves the Landlord in aridiculous situation. And
again, what if the issues of the entity are pre and post-COVID-19.




And Igather because the Landlord is getting no revenue because the Council is not really allowing it, the
Council is willing to (i) forego all property taxes due to COVID impacts defined in the legislation, (ii) forego
all water bills due to the COVID impacts defined in the legislation, (iii) pay alandlord's heating, cooling,
electric, mortgage and operating payments which may not be impacted by an executive order because
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many loans are not of the type that are delayed (and mind you, must still be paid). The Council must make
provisions for this as not every landlord is adeep pocket. And Igather if asmall landlord is using the
money for its obligations, such as retirement, the Council is willing to subsidize such small landlords. And
for larger landlords, Igather the Council is ready to provide funds so the Landlord can pay its employees.




Finally, all of the legislation ignores basic economics. No rationale landlord wants to use the pandemic as
an excuse to harm atenant or collect against good people. Recent rent law changes basically make it
difficult to do so, and in the coming recession, harming good tenants who should be good again is bad
economics. In the last recession, Landlords worked with good tenants who came upon tough times. But
the Council seems to forget that. Trying to re-let vacant space in abad economy, only means alandlord
will face months of no rent and then the market rent will probably be much less anyway. The Council's
legislation ultimately fails to understand basic economics. And it fails on basic fairness because it allows
that those who are not impacted by the pandemic to take advantage of it without showing aneed for
assistance. Such blanket legislation is aboondoggle of the highest degree.
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           For Submission to the New York City Council Committee on Housing and Buildings




Thank you for this opportunity to submit my testimony during these trying times. Iam an owner of rent
stabilized apartments in the borough of Brooklyn and would like to testify to the following:

    •    The Housing Stability Act of 2019 passed by the NYS Legislature last year severely impacted my
         financial situation by decreasing revenue in the form of what Ican charge my tenants in rent,
         increase in expenses, specifically in legal fees due to the extended time it takes to now evict a
         tenant, and removal of any growth rate in rents due to the removal of IAI's and the vacancy
         bonus when tenants vacate an apartment.
    •    Covid-19 has further exasperated my financial situation with an increase in tenants not paying
         rent and acurrent rent strike being promoted by various legislators for political purposes.
    •    By extending Gov. Cuomo's freeze on evictions from the current 90 days to an additional 360
         days will drive me to foreclosure. Iwill not be able to evict non- paying tenants and without
         that rent, Iwill not be able to pay my mortgage.
    •    My bank in turn pays real estate property taxes and water and sewer taxes through my monthly
         payments which will mean the City of New York will be severely impacted as well.
    •    Housing Court rarely results in evictions, even before the Housing Stability Act passed in 2019.
         However, it is the most effective way for Landlords to collect rent arrears.
    •    By extending the eviction moratorium (which will be immediately challenged in court for lack of
         authority since only New York State has the authority to do so) will only exasperate adifficult
         situation for all parties involved, including tenants, landlords, and the City of New York.



This is not an exaggeration, but current reality.




                                                                                        /s/ Rosario Parlanti
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As asmall landlord with afamily owned building Iam shocked to see some of the proposals being used
to "protect" rights of certain groups.   As our governor has said many times, we are ALL in this together
and this is no time to politicize the issue. As the mayor and many council members seek to use this
pandemic as ameans to solidify their base and secure "favors" from the electorate in order to get
elected, they are using very short sited plans to do this. Putting in place programs that allow tenants to
withhold and potentially walk away for rents for 12 months does nothing to help the city's situation.
Small landlords do not have unlimited supply of working capital to keep buildings running up to the
City's high standards. Compliance with all the regulations that were in effect prior the pandemic plus
requirement to continue operating without any income to provide necessary updates will cause major
defaults/bankruptcies. If the City's plan is to have landlords walk away from their buildings so that the
city can take over and resell at alater date for aprofit ,then go ahead and pass the bills. Otherwise the
city itself will reap the pain of the bills it passes today as a"landlord" for all these buildings.   It simply
provides you with acity full of people who will make the same demands of you that they make of us.
And without the rents, the City will not be able to make any improvements and we will have 5boroughs
of "NYCHA" apartments-no heat, no service, etc.

Landlords want to be part of the solution and there has to be amiddle ground where we can work with
those tenants that can't pay and those that can. We are not the bad guys here.
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IN OPPOSITION to Int. 1912-2020 -Joint Hearing of the Committee on Housing &
Buildings and the Committee on Consumer Affairs and Business Licensing

        Iwork for asmall landlord -amom and pop shop who operate on thin margins.
Landlords, like the place Iwork for, account for 60% of rent-stabilized units throughout the city.
These 60% own less than 50 units each.

        Many of these hardworking people, like the ones Iwork for, are out in their buildings
personally cleaning and disinfecting door handles, rails, elevator buttons etc. —risking
contracting COVID-19 in order to keep their tenants safe. These same people are on-call 24/7
for their tenants and buildings. Yet these same people are being demonized by the likes of State
Senators Michael Gianaris, Julia Salazar, and Mayor DeBlasio and thrown under the bus when
the city and state advocate that tenants should stop paying rent altogether.

        Not only should tenants stop paying rent but now the city wants to rob landlords of, not
only their income, but their only restitution for their hard-earned revenue.

        While Michael Gianaris, Julia Salazar, and DeBlasio are pushing for rent strikes —who
will bear the burden when these 60% cannot afford their July 1st tax bills because no income is
being received; and no tax forgiveness or even deferment is being extended by the city or state?
And yet the city charges interest to late payers of 7—18% COMPOUNDED DAILY.

        Meanwhile the SBA and NYC's dismal "attempts" to provide loans to small business has
fallen flat on its face. No small-time landlord Iknow of has been the beneficiary of one of these
much-needed loans. Instead the money is shelled out to large corporations and corporate
landlords leaving that 60% of small-time landlords to rely heavily on afew tenants who are able
to pay their rents.

        Taxes have been deferred federally; individuals are receiving stimulus checks of
$1,200.00 (households $3,400.00). Unemployment claims have been provided with an
additional $600.00 weekly —making it more lucrative for some to stay on unemployment rather
than go back to work (I managed one such tenant who has been asked to return to work but has
declined as she is making more on unemployment). This has been done so that people CAN pay
their rent and meet their obligations. And yet this proposed bill and rhetoric spewed by our city
and state "representatives" tell people otherwise.

        This rent, that the city and state are telling people not to pay, is the very same rental
income that property owners need to pay their property taxes, water and sewer, utilities,
mortgage payments, fuel costs, payroll for superintendents and janitors to maintain and operate
their buildings. Not to mention money to pay to contractors for repairs and improvements to the
buildings where these same tenants reside. This harkens back memories to the abyss of NYC in
the 1970s and 80s where similar actions lead us down this path once before.

    As Landlords are the biggest taxpayers in NYC, we should take an socioeconomic view of
this proposal:
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    • Less income yields less tax payments collected by the city and state (and less money to
      maintain buildings and hire employees);
    • devalued properties because of less income and more deterioration (higher
        unemployment for supers, janitors and contractors, more people out of work; apartment
        & building conditions deteriorate without money for renovations),
    • which in turn yield less demand (people were fleeing NYC & NYS for the last decade
        which has ramped up exponentially now!!) lower rents and empty apartments yield still
        lower income (no recourse to collect delinquent rents)
            o People living rent free during the moratorium while landlords are expected to
                maintain services and are issued copious violations if this is not done.
    • less taxes billed on decreased assessed values =still lower tax revenue for NYC & NYS

        No other sector has been asked to bear such aburden as what the city and state are asking
of the real estate industry. Something you are asking of your biggest taxpayers and biggest
source of revenue that allows the city and state to operate. Those who provide shelter to millions
of New Yorkers, whom many have personal relationships with the landlords, who are working
with their tenants during this time to ensure that their financial obligations are not overwhelming
to their families.

        Tenants are being told not to pay their rent, but no one is telling tenants how their living
conditions can deteriorate if there is no money to repair buildings, maintain staff and cover other
costs. And if these buildings deteriorate, and those 60% of mom and pop landlords lose their
buildings because of the financial burden created by the city —who will run those buildings and
care for those tenants? Will the city take over the buildings? Need Iremind you that the New
York City Housing Authority is in fact New York City's very own "worst landlord".

        And to these 60% of mom and pop landlords who have no pensions, whose entire
families' livelihoods rely on these buildings, what will be done with them when they lose
everything? They will be forced on to food stamps and rental assistance programs —creating a
further burden on the system. Will they also be told not to pay their rent when it comes time?

        Consider the disastrous outcome of what is being proposed here. You are proposing to
kill the backbone of New York City —meanwhile states and corporations alike are bailed out and
provided asafety net.

        Free things never made anyone richer. In fact, it promulgates the cycle of poverty, but
also seemingly creates adependent voter base. The politization of this pandemic at the expense
of people's livelihoods has been sickening to watch. It needs to stop here and now.
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                  Rhumbline Realty Management Company
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                         rhumblinemanagement@) gmail. corn



April 28, 2020

RE: The New York City Council Committee on Housing and Buildings
Intro: 1912 & 1936

Last month when Governor Cuomo announced the shut down of the state
due to Covid-19 he also ordered the suspension and prohibition of eviction
cases for 90 days. That order effectively announced to tenants that they
didn't have to pay their rent for three months if they didn't want to.

At about the same time a group of state senators and representatives
proposed a bill that would have allowed tenants to not pay rent at all.
Fortunately that bill was not approved. Ireached out to Senator Hoylman,
who was a sponsor of this bill, and explained to him that it was absurd to
place the weight of the Covid pandemic squarely on the shoulders of the
apartment building owners.

It is unfortunate that my retail tenants have all been closed by the Governor's
order so they are unable to pay their rent. They have no reserves and I
already have to bear the burden of that lost income.

It is absurd for the government, city or state, to legislate a rent suspension
for residential tenants. Fortunately, the majority of my tenants are either still
employed or are now receiving unemployment benefits or had cash reserves
and are able to continue paying their rent. Some have asked if Iam waiving
the rent and Itell them no but pay what you can. Itell them that if they are
able then they should pay their rent. Unfortunately, some of my tenants think
that they should not have to pay their rent because of the current situation
whether or not they do have the ability to pay.

The retail market was already in a sorry state prior to the Covid outbreak.
Many retail businesses will not survive and many property owners will not
survive without their rents. Ihave applied for EIDL assistance loans in the
event that Ido not have the resources to continue to pay my bills but Ihave
not received any response from the SBA with regard to those applications.
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One of my stores was vacant for all of 2019 because of the already weak
retail market. Igave my new tenant three months free rent to build out his
store and he was supposed to open at the beginning of April. He is prohibited
from opening and has no ability to pay his rent. The situation is already dire
enough, we don't need politicians that are looking for votes to make matters
worse. It is one thing for an owner to manage his finances with astore that
he cannot rent but it is atotally different matter for the government to step in
and tell an owner that he loses all of his rights and is prohibited from
collecting rent or pursuing his legal rights.

Intro 1912 seeks to delay the enforcement of monetary judgements and
warrants of eviction until April 2021. That effectively tells tenants that they
don't have to pay their rent for ayear if they don't want to. Is the city going
to take over all of the buildings that owners cannot afford to keep because of
the effects of this legislation? The city cannot now manage the buildings it
has. Iwould be thrown in jail if Iran my properties the way the city does.
What about tenants that were already in default prior to the Covid outbreak?
If they were unable to pay before now they are being told that they don't have
to pay and there is nothing that the owner can do. This is starting to sound
like communism.

Intro 1936 seeks to increase the potential for harassment claims if an owner
tries to negotiate a payment plan with a tenant that has not paid their rent.
In my experience, owners always want to negotiate with tenants whether that
occurs before acase in court or once acase has started. We never want to
leave money decisions up to the courts because we know that the courts will
always decide in favor of the tenants.

We do not need the government taking over our properties and businesses
any more than they already have. Property values have already dropped
more than 20% since the revision of the housing laws that went into effect
last year. The city and state should stop trying to make housing affordable
on the backs of private property owners. Isuggest that the city and state
utilize existing programs like SCRIE and DRIE to help tenants keep their
rents affordable. The burden should not be placed on private property
owners when the government fails to come up with aplan to assist tenants.



Cordially,

Paul Kampa
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Intro 1912 will make it impossible for us to pay our property taxes and water bills in the foreseeable future. We have several
eviction proceedings already in the courts, measures that we were forced to take as alast resort after several attempts to
work with the tenants.


Obviously, these eviction proceedings have been paused because of the pandemic. The situation is detrimental to our rent-
paying tenants and our building because the last rent payment received from these delinquent tenants was in 2018.


If Intro 1912 passes, we would be facing 30-plus months of no rent revenue from multiple tenants, in addition to those
tenants now facing hardship due to COVID-19.



Lincoln Eccles
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                         VRFARWI
                               TME

RIS NYC LLC                                                                                PFREPUBLIC
56-23 55th Avenue, Maspeth, NY 11378

                                                                                           8 SERVICES of NYC
646.588.8393
                                                                                                    IMMOBILIZATION
                                                                                                    IMMOBILIZATION
www.risnyc.com




   April 27, 2020

   Testimony by Mike Gordon on Council Intro 1912

   My name is Mike Gordon and Iam speaking on behalf of RIS NYC LLC -Republic Immobilization
    Services. Our company is partnered with New York City to manage and enforce the traffic violation
   program with the overall goal of keeping our streets safe and accessible. Thank you for the opportunity to
   submit testimony with regard to Council Introduction 1912.

   RIS and its 56 employees work closely with the NYC Sheriff and the NYC Marshals to help manage the
   balancing of traffic flow, last-block delivery of consumer goods and accessibility for urgent care services
   within and around the City.

   Ultimately, our service ensures vehicles which should not be on City streets are removed and scofflaw
   offenders, which have accumulated numerous violations, honor them. By enforcing violations, which
   include multiple ignored parking tickets, red light camera violations, unresolved speed zone violations,
   fictitious and invalid plates, and improperly parked vehicles blocking fire/life/safety access, we are
   opening accessibility to residential, commercial, and public safety needs.

   In addition to assisting with traffic management our services generate $60 million in annual revenue for
   the city; revenue which would likely not otherwise be captured.

   While we all know that accessibility and revenue are important, the reality is that the real value of the
   work we do is the service we provide to help ensure the City can achieve its ambitious Vision Zero goals.
   The City Council and the DeBlasio Administration have led the nation on aprogram to create safer streets
   for both pedestrians and motorists. This enforcement measure would also be in line with the City's
   recently announced initiative to close 40 miles of streets to cars, so that pedestrians have more room to
   stay socially distant. The work we do, again in partnership with City Officials, is crucial to making those
   goals areality. We know too well that vehicle owners who ignore summonses are the same ones who
   block hydrants, stall efforts to clean city streets, run red lights and don't carry insurance.

   Intro 1912 would suspend the enforcement of monetary judgements for vehicle violations by both the City
    Sheriff and City Marshals. While we understand the good intentions behind this legislation, we submit to
   the Committee that with regard to the booting and towing program we manage, it will have the unintended
   consequence of making our streets less safe. At atime when our focus should be better management of
   the public streets for the safety of pedestrians and motorists, this bill takes the City in the wrong direction.

   Our company is committed to working with the Council to make our streets safer and we urge you to
   reject any initiative that would result in allowing the "car culture" to exploit acrisis.

   Thank you for your consideration.
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Iam Willy Chavarria owner of Palmer Trading Company Corp. tax ID # XX-XXXXXXX
located at 67 West Street Brooklyn, New York 11222. We are amens fashion label and
web store business operating out of the studio space. We have been open for over 10
years. Ihave been struggling to keep my employees and pay rent for our studio space
for the business during the government shut down. The building owner has not offered
forgiveness of any rent during the period of the shutdown. Iam requesting that City
Council of New York request rent forgiveness for months when our business must be
closed.


Ihave applied for all available assistance including PPP and Disaster Releif Loan but
have not yet received any support. Of course if Ido receive aloan it will be used entirey
for rent and payroll, but it will be impossible for my small business to recover from the
months of needed back paid rent. It must be


We are unable shut down and move out for several reasons one of them including
reasons also associated with the shutdown.
We have contacted local Law enforcement several weeks ago and we were informed
that we should not be congregating or moving until the stay home order has ended.
This would be a risk to our health and others, and could result in court summons.
In addition necessary services and business' are closed which makes moving out even
more unrealistic.


City and state governments have ordered us to stay home, so as tenants we really have
no other option.


We can not follow the local laws for safety and health as well if we are to follow the
guidance of the building management to either pay the rent or move out.


Thank you for considering this request.


Sincerely,


Willy Chavarria
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             What can the City Council do to provide real housing solutions for both
                                 Tenants and Home Providers?

Iand many other home owners Ispeak to are very distressed by the recent package of
legislation proposed by the City Council as aresponse to the COVID-19 pandemic.

This legislation will be incredibly detrimental to housing providers across my community and
New York City.

Throughout this crisis, property owners have gone above and beyond to make sure our
residents are safe. They work around the clock to source enough protective equipment for
building workers. They regularly disinfecting common areas, managing deliveries, and making
regular and emergency repairs to apartment units. Sadly, at least 19 building workers have
succumbed to the virus across the city -we honor them and their heroic service while
continuing to work under challenging conditions. Many other property owners are also working
to accommodate tenants who have been financially impacted, instituting payment plans and
other relief where needed.

Rental payments go to taxes, wages for building staff, and ongoing maintenance -it is not pure
profit. Not all property owners are able to forgo rental payments and simultaneously operate
their properties for the next year.

Additionally, many home providers supported the initial 90-day eviction moratorium so all New
Yorkers would have ahome where they could shelter in place while officials evaluated the
potential impact of the virus. We should be focused on rental subsidies, vouchers, and the
revival of FEMA's mortgage and rental assistance program that saved many New York families
after 9-11. These are proven solutions that help tenants and property owners, while ensuring
New York City can continue to collect tax revenue.

However, if home providers don't receive rental payments until April 2021, then they are unable
to pay property taxes, insurance costs, fuel, electricity, management costs, concierges, or
mortgage payments. If these buildings can't meet basic financial obligations, they risk
defaulting on mortgages and an inability to provide property taxes -which hurts their ability to
provide quality and safe housing for New Yorkers when they need it the most.

As we work to address reopening our economy while prioritizing the health and safety of all
New Yorkers, we need to support proposals and actions that embrace collaboration.
Additionally, we need to understand the reality that most small businesses and industries
across our City need real and immediate relief. We want you to advocate for realistic, balanced,
and legal policy solutions that help renters at their time of need while ensuring buildings can
continue to operate during this time of crisis.

Thank you for your time and service.

Sincerely,

Jimmy Santis
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                                                                                              4/28/20


Dear Honorable Members of the NYC Council,


       Iknow that you are considering passing anew legislation in the wake of this Covid-19
Pandemic, to allow tenants to not pay rent.
Iwould like to ask Council members who are in favor of this alegislation, few questions.


                Landlords are currently providing crucial and essential services to
               tenants. Those essential services can only continue if landlords
               could collect rent.
       Specifically
       1.   How are landlords expected to pay for heat and hot water if tenants are not going to
            pay rent.
       2.   How do you expect alandlord to pay for the water and sewage that allows tenants
            to take showers and go to the bathroom.
       3.   Landlords are paying supers and porters to put out the garbage, and to clean/mop
            public spaces. How do landlords provide this without the critical cash flow that
            comes from rent collection.
       4.   How does City Council expect alandlord to pay property taxes without rent?
                      • Property taxes have skyrocketed in the last 3years to alevel that is equal
                         to 35% of rental income. We are in essence collecting taxes on behalf of
                         the city.
       5.   Why is landlord trying to collect rent, termed as "Harassment". Is alandlord not
            entitled to collect rent for proving shelter, heat, hot water, cleaning services etc.?


            Why are we even using the term "Harrasment"? All we want to do is collect rent on
            an apartment so we could pay our 1) property taxes 2) Super 3) the oil company for
            delivering oil 4) ConEdison for the running elevator


       6.   Why is the Government throwing all the burden of this pandemic on the landlords
            only?
               Why is the city council not considering abill to allow people to walk into the
               local supermarket pick up some groceries and walk out without paying.


                                                          Thank you,


                                                      - David Chemtob
                                                          917-681-5401
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                       Testimonial against intro 1912 and 1936

Prohibit City Marshals and the City's Sheriffs from the taking and restitution of property or the
execution of moncy judgments until the later of the end of the COVID-19 crisis, or September.
For residential and commercial tenants impacted by COVID-19, Marshals and Sheriffs would
be barred from enforcing warrants of eviction or monetary judgments until April2021.

We have legal action against 3tenants who have not paid rent since 2018. They have
been taking advantage of me and living for free for over 2years. Intro 1912 will
allow this to continue for another year. Icannot afford to house these tenants who
do not contribute to paying for building operations. For example, water/sewer,
garbage removal, taxes, payroll, etc.. Moreover, now that people are home all day
due to public safety issues of COVIDI9, tenants are using more water/sewer and
making more garbage. The pandemic is causing operating expenses to dramatically
increase. To keep buildings clean, we have spent 200% more this month on cleaning
labor and supplies compared to the same period last year.

Intro 1912 was written to help tenants but it will end up hurting more tenants
instead. If landlords are incurring aloss every month, it will lead to maintenance
issues and an overall lower quality of living for tenants.
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      MANHATTAN

      Legal
      Services NYC
      DEMAND JUSTICE


April 27, 2020

The New York City Council's Committees on Consumer Affairs and Business Licensing and
Housing and Buildings

Re: Testimony regarding Intro 1912-2020

Dear Councilmembers:

Thank you for this opportunity to testify regarding Intro 1912-2020 which would bar marshals
and city sheriffs from executing money judgments or seizing property during the current
COVID-19 crisis.

Manhattan Legal Services is part of Legal Services NYC (LSNYC), the largest civil legal
services provider in the country, with offices in the Bronx, Brooklyn, Queens, Staten Island and
Manhattan. LSNYC fights poverty and seeks racial, social and economic justice for low-income
New Yorkers. For over fifty years, LSNYC has challenged systemic injustices and ensured the
well-being of communities across the city. This work includes preventing evictions and
preserving housing; demanding access to high-quality education, health care, and economic
security; ensuring safety and stability for survivors of domestic violence and immigrants; and
fighting for the dignity and respect of all New Yorkers.

LSNYC provides full representation to low-income New Yorkers in the areas of consumer law,
including, but not limited to, representing consumers who are defending debt collection lawsuits,
as well as advocating for those whose bank accounts have been restrained, or whose wages are
being garnished, and filing affirmative cases against debt collectors for violations of the Fair
Debt Collection Practices Act.

                     THE IMPACT OF INTRO 1912-2020 ON CONSUMERS

Many of our clients find out for the first time that adebt collector has obtained ajudgment
against them when their bank account is restrained, or their paycheck is garnished. Many of
these judgments were obtained years ago through sewer service, where the court papers were
never served on our clients, or were served, but sent to an out of date address. In our experience,
the vast majority of our clients have meritorious defenses to these judgments, but never had the
opportunity to present them to acourt because they were unaware that they had been sued.

A majority of our clients are low-income people of color, who have been disproportionately
impacted by the COVID-19 crisis, both in terms of ob loss and in terms of having higher rates of
infection. Although Intro 1912-2020 aims to prevent those already struggling economically as a


      Manhattan Legal Services 11West 125th Street, 2nd Floor, New York, NY 10027
      Phone: 646-442-3100 1Fax:212-348-4093 Iwww.LegalServicesNYC.org                     LSCI America's Partner
                                                                                               for Equal Justice
      Peggy Earisman, Project Director                                                    LEGAL SERVICES CORPORATION
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result of COVID-19 from further economic loss by suspending the enforcement and seizure of
assets, the bill does not completely address how this would be accomplished. This lack of detail
could lead to adifferent result than that intended by the City Council.

As an initial observation, the bill as written does not prevent adebt collector's attorney from
restraining abank account, which requires no intervention from asheriff or amarshal. Under
existing law, arestraint placed on an account will "freeze" the account for ayear. In our
experience, this is the most common action taken by debt collectors when attempting to collect a
debt. As aresult, if the bill is passed in its current form, debt collectors could employ an
attorney to place arestraint that will prevent the consumer from accessing desperately needed
money in their bank account.

As to sheriffs and marshals, the bill states that no execution will be permitted until the party
against whom it is sought has been given a"a reasonable opportunity to show the court having
jurisdiction over the matter that such party suffered asubstantial loss of income because of
COVID-19 and such court has found that such party has not suffered such aloss or has
effectively waived such opportunity." However, the bill does not explain when or how the
hearing will be provided. The bill also does not include any requirement about how consumers
will be notified of their right to show the court that they have suffered asubstantial loss of
income due to COVID-19.

Because of COVID-19, court operations are severely limited and aconsumer's only current
option when faced with arestraint or levy is to file an order to show cause with the appropriate
court. In order to file an order to show cause, many of our clients would need to physically go to
the court. Many of our clients have limited access to computers or other technology that would
allow them to file an order to show cause without going to court, and at this point, the courts'
approach to remote applications for stays is not uniform.

Most of our consumer clients are elderly and/or disabled, and of these, many are limited English
proficient. They struggle to file orders to show cause during normal times, when they can visit a
legal services office or take advantage of the court's access to justice programs such as CLARO
and Volunteer Lawyers for the Day. During this crisis, consumers are at aloss to know what to
do or where to turn to when they receive notice of agarnishment or restraint. Since many of
these judgments were obtained by default, the consumer may not even know which court entered
the judgment.

If the City Council's intention is to ensure due process to consumers, the mechanism for
triggering that due process should be defined. There are procedures that are already used in other
legal contexts that could be implemented to address these concerns.

For example, before taking action to enforce amoney judgment, the debt collector could be
required to send anotice to the consumer notifying him or her of the existence of the judgment
(including the court caption and index number) and informing the consumer of the types of
income that are protected from collection under the New York State Exempt Income Protection
Act ("EIPA"). Under EIPA, consumers receive an exemption form they can complete and return
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to the creditor to explain why their income is exempt. A similar form could be adopted for Intro
1912, informing the consumer of the temporary suspension of enforcement of judgments with a
check list where the consumer could indicate their eligibility for the suspension.

Notices could also be sent to consumers to inform them of their due process rights under Intro
1912, similar to the notices included on summonses in consumer credit transactions, which
inform the consumer of the risk to their assets and advise them of their right to consult with an
attorney. To ensure that limited English proficient consumers are protected, the notices should be
sent out in the consumer's first language.

If debt collectors are required to send notices prior to enforcement, we would caution that the
process should also include arequirement that the debt collector verify the address to make sure
it is avalid. Many default judgments are obtained after the debt collector served court papers to
an out-of-date address and often debt collectors seek to enforcement money judgments years
after the judgments are obtained, meaning that consumers have since moved.

Given the broad economic impact of COVID-19, it appears that most consumers would be
eligible for the suspension of the enforcement of judgments. In the interests of efficiency and
taking into account the court's reduced capacity, arpossible approach would be to create a
presumption that the consumer is entitled to the protection and the debt collector has the burden
to establish otherwise. This would be similar to requirements that prior to filing ahousing court
case, the landlord has an affirmative duty to establish that atenant is not in the military or
dependent on someone in the military by making an investigation and submitting asworn
affidavit to the court.

Intro 1912 protects consumers who have experienced substantial harm as aresult of the
coronavirus. The definition of substantial harm included in the act largely tracks the definition
contained in the CARES Act relating to establishing eligibility for Pandemic Unemployment
Assistance ("PUA"), but does not contain asimilar catchall provision in the list of harms, or
specifically provide for self-certification of eligibility. Without this language, consumers may
have more difficulty in taking advantage of the protections of Intro 1912-2020.

If self-certification is not provided for, acourt might ask consumers to present evidence of
substantial harm at ahearing or as acondition of having an order to show cause signed. Because
many low-income consumers have lost work at businesses that may not reopen, including small
businesses that do not maintain extensive records, they could have difficulty obtaining
documentation relating to their loss of employment. Similarly, if they lacked medical coverage,
there may have been barriers to their making formal attempts to seek amedical diagnosis. In our
experience, judges have declined to sign orders to show cause filed by consumers seeking to stop
debt collection when they have submitted asworn affidavit without written documentation, even
when no documentation was required by law. Specifically providing that self-certification is
sufficient to establish substantial harm would obviate this concern.

In addition, the impact consumers have experienced may not fit in to any of the listed categories.
Creating acatchall category and allowing consumers to submit alternative proof, such as letters
from acommunity-based organization could address this concern. For example, Real Property
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Law 227-c was recently amended to broaden the categories of documentation adomestic
violence victim can submit to establish his or her domestic violence status in order to take
advantage of the protections afforded by that provision.

We believe that ensuring clarity and transparency of the consumer's due process rights will
benefit both the consumer and the debt collector by eliminating unnecessary litigation.

Please do not hesitate to contact me at 646-442-3143 for further information.

Respectfully submitted,




Mary McCune
Senior Staff Attorney
Consumer Law Specialist
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TAKEROOT
JUSTICE
                                  New York City Council
                     Committee on Housing and Buildings Jointly with the
                    Committee on Consumer Affairs and Business Licensing

               Written Testimony of TakeRoot Justice in Support of Int. No. 1912
                   By: Cheryl Walker, Stephanie Storke, and Tedmund Wan

                                         April 28, 2020


Introduction

        TakeRoot Justice thanks the New York City Council for the opportunity to submit this
written testimony in support of Int. No. 1912.

         Following 18 years of impact as the Community Development Project of the Urban
Justice Center, TakeRoot Justice launched as an independent organization in July 2019. The
mission of TakeRoot Justice is to provide legal, participatory research and policy support to
strengthen the work of grassroots and community-based groups in New York City to dismantle
racial, economic and social oppression. We do this by partnering with grassroots and
community-based groups, who take the lead in determining the priorities and goals for our work,
as we believe that community organizing should be at the center of any effort to create
sustainable, systemic change. Our office represents residential and commercial tenants, as well
as consumers.

        On behalf of TakeRoot Justice, we would first like to thank the City Council and Mayor
for taking steps to protect tenants, small businesses, essential workers and the homeless, who are
at the epicenter of the unprecedented global COVID-19 pandemic.

Impacts of Unprecedented Circumstances

        COVID-19 has laid bare our city's underlying housing crisis and lack of social safety net.
As in any crisis, New York's most vulnerable citizens face the greatest consequences. Millions in
our city have lost their jobs or fallen ill. They, and many more, face agrim choice between
paying rent and buying basic necessities. So many New Yorkers lived paycheck to paycheck, and
therefore lacked sufficient savings to withstand the fact their paycheck is now gone. This
economic situation is particularly dire for communities of color, who have also
disproportionately suffered health-wise from the pandemic.

      Clearly, the pandemic will exact an enormous financial, emotional, and physical toll on
many throughout New York City. But, the City can blunt this toll by passing Int. No. 1912,
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which bars marshals and sheriffs from evicting all residential or commercial tenants or collecting
debts until at least September 2020, and from evicting or collecting from those most-directly
affected by COVID-19 until at least April 2021.

Residential Tenants

        First, the residential tenant protections of Int. No. 1912 would avert alooming crisis in
evictions and homelessness.

        Housing has become the front-line defense against the COVID-19 pandemic. The ability
to retain access to housing and remain in it is alife or death situation. Once the Governor's
eviction moratorium ends on June 20, 2020 renters who have been unable to pay their rent will
be left unprotected. Housing courts will swell with new cases, and many people will be evicted
and become homeless.

         This wave of evictions will not only have abrutal social impact but will also pose a
threat to public health and safety, and will overwhelm the City's emergency housing providers.
Overcrowded shelters will present anightmare for public health officials attempting to stop the
spread of this pandemic, unless the Council passes Int. No. 1912.

         Keeping people safe in their homes—and not homeless—is one of the most effective
ways to protect the health and economic well-being of our neighbors. We are in amassive public
health crisis, and nobody should be put out onto the street or be forced into an apartment right
now. Extending the eviction moratorium will allow the most vulnerable New Yorkers to weather
the crisis, get healthy, and get back on their feet by resuming their jobs, education, and lives after
the outbreak has ended.

Consumer Protections

        In addition to suspending evictions, Int. No. 1912 temporarily bars city marshals and
sheriffs from executing on money judgments against New Yorkers. Low-income New Yorkers
have always been harmed by wage garnishment and bank freezes (the two most common forms
of enforcing judgments). Now, though, these New Yorkers would be especially harmed, as they
face lost wages and no easy way to return to work. This harm would be most pronounced in
communities of color, where consumer debt is highest and where the effects of COVID-19 have
been the worst.

       The state and federal governments have failed to protect New York's consumers from
such ill-timed debt collection. It falls to the City Council to remediate this harm.

       At any given time, there are tens of thousands of unsatisfied money judgments against the
consumers and citizens of New York City. Often, these judgments are unsatisfied because the
consumer never even knew that they had been sued and unwittingly defaulted. Many more are
unsatisfied because an individual simply does not have the income necessary to both satisfy the
judgment and pay their family's living expenses. When one or more income earners in afamily
loses their employment due to the COVID-19 crisis, the damage caused by enforcing money
judgments will only be exacerbated. This is especially troubling when many families' budgets
were already stretched to the limit before the current pandemic.
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         Although Attorney General James issued aguidance to prevent banks and debt collectors
from satisfying money judgment with CARES Act stimulus funds, such guidance is not legally
binding and does not go far enough to protect New Yorkers' other hard-earned resources from
garnishment. Similarly, although the state and federal governments provided myriad forms of
relief to homeowners, student loan borrowers, and even large businesses, neither government
does enough to protect low-income communities that are often saddled with large consumer debt
loads.

        Moreover, without clear legal directive to stop all garnishments, many families with
funds that are legally exempt from judgment execution will inevitably still have their funds
improperly garnished by banks. While the Exempt Income Protection Act has been in effect for
more than adecade, bank personnel who are ill-informed continue to illegally freeze exempt
funds. Affected consumers frequently require lengthy legal services interventions to access their
exempt funds. An unequivocal stay on all garnishments and levies contemplated in Int. No. 1912
will leave no room for bank employees' confusion, and no excuses for banks to fail to observe
legal mandates to leave exempt income exempt.

       Further, the failure to stop money judgment enforcement is not only afinancial scourge
on low-income families, it is also athreat to public health and safety. When banks freeze a
consumer's account, the consumer often must go to abank branch several times to even discover
the reason for the freeze, let alone unfreeze the account. This is true even when the funds were
erroneously levied. Similarly, to vacate an improperly obtained default judgment, aconsumer
must personally go to the courthouse and file papers, go to apost office to mail the papers, then
appear in court on alater date to challenge the judgment. These trips--to banks, to courts, to post
offices—inevitably increase the chance that consumers, or court and bank employees who have
been deemed essential, will be exposed to the COVID-19 disease. Neither judgment debtors nor
essential workers should be subjected to such risks and contradict public health policy just so a
debt collector can garnish funds that afamily may need to put food on the table.

      Lastly, in addition to residential tenants and consumers, Int. No. 1912 protects
commercial tenants, by creating an eviction moratorium for these tenants as well. From our
office's work with the Commercial Leases Assistance Program, we know that small business
tenants face many of the same problems that residential tenants do. In particular, they also face
dire economic consequences from COVID-19 that are exacerbated by underlying inequalities.

Small Businesses

        In the best of times, the small business tenants we represent often experience landlord
harassment and have severely limited rights under their written leases—if they are lucky to have
awritten lease at all. Many of our clients are sole proprietors, dependent on the income from
their businesses to earn alivelihood for their families. Often, even if their businesses are
incorporated, landlords require small business tenants to execute personal guarantees, making a
tenant personally liable under acommercial lease.

        New York's small business tenants now face unprecedented challenges and we must act
to protect them. To ensure this moratorium will provide the most protection possible, we
recommend that the moratorium remain in effect, even where atenant has "effectively waived"
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the opportunity to demonstrate substantial loss of income due to COVID in acourt of law. The
waiver will disproportionately affect business owners and tenants who may be unable to
represent themselves in court due to illness, corporate clients who are unable to afford or secure
legal representation because they cannot represent themselves, and tenants who may be
improperly served. Additionally, we recommend that aparty who has suffered asubstantial loss
of income include acommercial tenant or guarantor who is personally liable under acommercial
lease agreement.

Closing

         While the protections afforded under Int. No. 1912, are important, we believe they are
insufficient in and of themselves to address the needs of the most vulnerable New Yorkers. Our
clients and partners desperately need rent relief. Otherwise, the least protected New Yorkers will
be forced to shoulder the enormous economic cost of this pandemic. Residents and small
business owners who find themselves without any source of income are facing grim realities.
While we understand that the City may not have the legal authority to legislate on residential
rents, it can take action to protect commercial tenants. We hope that the City will act swiftly to
support such efforts at all levels of government.

        On behalf of TakeRoot Justice, we thank you for standing up for New York City
residents, consumers, and small business owners in this time of crisis. We ask that the Council
seize this opportunity to pass Int. No. 1912 to fashion amore just society as we emerge from the
COVID-19 crisis.


On behalf of TakeRoot Justice,

Cheryl Walker
Staff Attorney, Capacity Building

Stephanie Storke
Staff Attorney, Housing Justice

Tedmund Wan
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                                                                               Law, research, and
                                                                               policy for organizing


                                                                               TAKEROOTJUSTICE.ORG
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City Council Legislation



To whom it may concern;


Hope this email finds you well and safe!
In these devastating times when everyone is going through so many hardships,
we have been apprised that the city wants to pass legislation regarding mostly
stopping evictions till April 2021. This will immediately result in lots of tenants
not paying the rent because there's no consequence they can get from the owner.
And they know that the owners hands are tied.
Such asituation will result in terrible hardships for the owners.
How will abuilding owner be able to pay his tax bill if his revenues are
tremendously cut?!
How will aowner pay for maintenance if there's no revenue to cover his
expenses???!!!
Does the city council want to see tenants in rotten apartments because the owner
can't afford repairs?M
How is abuilding owner supposed to survive these times if only the tenants
hardships are taken into account?!
Something needs to be done that's fair for everyone involved.
We urge the city council to consider property owners facing hardships in these
times just like tenants; and do what's fair to everyone!


Thanking in advance!
Stay safe!


Chany Friedman
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Do Not Kill NYC Housing


To whom it may concern,


Ihope this letter finds everybody healthy and safe,


I'm writing to you today as an owner from buildings in Manhattan, Brooklyn and
Bronx.
we are all suffering at this time with so many people are sick and so many people
are dying we are all in deep pain.


But NYC Landlords are already in deep pain way before this pandemic started.
The cost to keep abuilding running NY City went up tremendously the city
increased the Texas with big numbers the same with the water.


in additional the insurance cost double the last few years but the New York City
let as increase in the last five years only with afew percent combined.


In the last year since USA have atrade war with China the price of material when
up between 30 and 50%


The minimum wage is going up yearly with abig percentage.


The past summer the Legislature passed new laws, which is areal recipe for
bankruptcy for all owners!


In addition to that, we were notified about laws proposed to stop eviction for the
coming months or even longer.


It is very difficult for us to continue, when the tenants don't feel obligated to pay,
and subconsciously they know that nothing can be done from the management
side.


Realize, that it is acause and effect situation. If we don't receive their monthly
payments, we are unable to provide them with repairs, maintenance etc. and I
believe you don't want to see them live in neglected apartments.
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The way the New York legislator is dealing with the landlords we going to go back
to the 1960s and 70s which everybody threw away their buildings, New York
looked like aslum for many years.


please don't trash so much hard-working people their work-their money- and
effort.


In 2-5 years from now the people in New York will not forgive you.


Therefore I'm asking the legislature, Please! Please! do not pass through that law
and do what is fair for everyone.




Sincerely,



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Do Not Stop Eviction


To whom it may concern,


Hope you're doing well in these unusual times!


NYC housing laws has drastically changed in the past years. Resulting plenty of difficulties for the
building owners.


For instance, Ihad atenant living in an apartment close to 30 years, the tenant's monthly rent was $800.
When the tenant moved out, Ihad to renovate the apartment and put in at least $40,000. 1was
confident with my decision knowing that with a20% increase, plus the Vacancy longevity bonus I'll have
the money throughout the years. During the renovations the new laws passed, not allowing the landlord
to take any raise.

The $800 every month, is far from paying off the expenses, which leads me to amonthly deficit! 1The
$40,000 1invested, is challenging me to pay the essential expenses, and puts me in arisk of losing the
building.


Another tenant ours, just left her apartment. We can't afford even asimple paint jobM In such
neglected apartments you want to find the NYC residents living???


Furthermore, the law that was now introduced; "A landlord cannot evict atenant even after crisis is
over" this will really bring all building owners and tenants in big trouble.


Ireally beg to you, please do the maximum you can to prevent this law, and give the opportunity for the
building owners to earn their money as it should be.


Thank you!!



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    Testimony to the City Council Committee on Housing & Buildings and the Committee on
                             Consumer Affairs and Business Licensing


                                            April 28, 2020


                                             Ava Farkas
                            Executive Director, Met Council on Housing


Thank you Speaker Johnson and the Committee on Housing & Buildings and the Committee on
Consumer Affairs and Business Licensing


I'm pleased to testify in strong support of Intros 1912 which and Intro 1936.


Met Council's mission is to fight for Housing as ahuman right. The fact that it is not ahuman
right has exacerbated this current COVID-19 Crisis and its health impacts. 92,000 are homeless
and cannot shelter in place, and if we do not have a plan post eviction-moratorium then millions
more will find themselves in the same predicament.


Iwant to thank the City Council for supporting one of the critical services that Met Council
provides which is our tenant rights hotline and is now more important than ever. Our hotline
calls are confirming what everyone knows, that tenants who were barely able to afford their
rents before the pandemic are completely unable to now. Our hotline calls have gone from
questions about getting repairs to questions almost exclusively about inability to pay the rent
either due to layoff, reduction in hours, or roommates' layoff or reduction in hours.


We also have gotten at least one call from a health care worker whose roommate and primary
tenant have been harassing her into leaving the apartment before her sublease is up (and also
trying to force her to find her replacement) so Intro 1936 is critically important.


We also conducted asurvey of our base with 556 people responding and found the following
information:
    • 80% of people said that they will have problems paying the rent due to COVID-19
    • 58% were not able to pay in April and an additional 28% will not be able to pay in May
    • 60% were already paying over 30% of their income in rent


Both of these bills will provide acritical stop-gap measure and are an important first step to hold
things in place and give the Governor time to do his job of protecting the 5million tenants in
NYS by Canceling Rent. Without relief from Albany we are just kicking the crisis down the road.
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    WRITTEN TESTIMONY IN SUPPORT OF INTRO 1912-2020:

  Ceasing the taking and restitution of property and the execution of money
judgments by the city sheriff and marshals due to the impacts of COVID-19




                             PRESENTED TO:




The New York City Council's Committees on Consumer Affairs and Business
                    Licensing and Housing and Buildings




                              ON BEHALF OF:

                           Bromberg Law Office, P.C.

               Brooklyn Bar Association Volunteer Lawyers Project

                        Law Office of Ahmad Keshavarz

                              The Legal Aid Society

            Lincoln Square Legal Services, Inc. at Fordham Law School

                             Mobilization for Justice

                  National Center for Law and Economic Justice

                       New York Legal Assistance Group

             Queens County Bar Association Volunteer Lawyers Project

                                TakeRoot Justice

                   Teamsters Local 237 City Employees Union




                    HEARING DATE: APRIL 28, 2020

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This written testimony is submitted by consumer advocates, who work on behalf of consumers,
in support of Intro 1912 ("the Proposal"), which would require New York City marshals and
sheriffs to cease the taking of property and the execution of money judgments during the current
public health crisis until sufficient time has passed. We work on behalf of consumers, many of
whom are low-wage workers, are immigrants, have limited English proficiency, or are
financially insecure. Through our work on behalf of these consumers, we are uniquely positioned
to understand the unique harm caused by the execution of money judgments, particularly during
these unprecedented times of the COVID-19 crisis. We fully support the cessation of the
execution of money judgments, and applaud the Council for taking this vital step to protect
vulnerable New Yorkers during this difficult time.


The Need for Intro 1912


Many New Yorkers have already experienced job loss at unprecedented rates, and more and
more are facing the prospect of crippling financial insecurity. Enforcement of judgments through
bank account restraints, levies, and/or wage garnishment presents an emergency situation for
New Yorkers. During the current COVID-19 crisis, and in the months and years to come,
enforcement of money judgments will loom large and inflict severe consequences on a
substantial number of New Yorkers. Even before the crisis, debt collection lawsuits inundated
New York City courts. Hundreds of thousands of judgments (many by default, without proper
notice to the consumer) have been entered in consumer credit transactions in New York City
Civil Court over the past decade alone. The economic havoc the crisis has inflicted on so many
will cause many New Yorkers to rely on credit and incur additional debt, which will mean an
increase in debt collection litigation and the entry of more money judgments.


Because of improper service, many consumers only find out for the first time that they were sued
when they receive awage garnishment or their bank account is restrained. Without acessation of
judgment enforcement, these New Yorkers will face the choice of asserting their rights in court,
and possibly risking the health and safety of themselves and others, or suffer through this
unprecedented time without access to much-needed funds.

The New Yorkers who are most vulnerable to judgment enforcement are those who have the
most to lose: the working poor, whose income is subject to garnishment, and/or who may have
scraped together enough savings in abank account to pass the threshold for automatic bank
restraints. One example of aworking poor New Yorker is D.C., age 37, is aHispanic domestic
violence survivor and single mother of two children who lives in Queens. After she fled her
abuser, she lived on credit and tried to start her own business, which ultimately failed. She then
joined the gig economy and started working as for-hire vehicle driver to make ends meet. Like
tens of thousands of other people in New York City, she was sued by adebt collector, who

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obtained ajudgment against her, and then used that judgment to start garnishing her meager ride-
share earnings. D.C.'s story is like so many other New Yorkers who are currently facing and
who face the fearful prospect of judgment enforcement, and who would benefit from Intro. 1912.

By requiring marshals and sheriffs to halt executions and takings, the Council is acting to protect
the financial security of the most vulnerable New Yorkers during an unprecedented crisis, and at
atime when our state and federal governments are not taking action in this important area.


Concerns with the Proposal and Suggested Changes


While we fully support the goal of the Proposal: to reduce the risk of income execution and bank
levies, we have some concerns about certain provisions in the Proposal and respectfully suggest
that certain elements of the bill be clarified to better protect New Yorkers. As explained in more
detail below, our comments pertain to Section 3of the Proposal, which applies to judgment
execution during the period between the first and second suspension dates, defined in Section 2.
Because Section 3does not go into effect until after the first suspension date expires, which
is at the earliest, September 30, 2020, we urge the City Council to implement the remainder
of the Proposal and immediately prohibit execution of money judgments while it considers
the following suggestions.


The Proposal requires marshals and sheriffs to provide the party against whom they are
executing "a reasonable opportunity to show the court having jurisdiction over the matter that
such party suffered asubstantial loss of income because of COVID-19." (Intro. 1912 §3(a)(3).)
The Proposal is silent as to the nature, format, or frequency of this notice. We suggest that the
Proposal require aclear and easily understandable notice of the process be given to consumers as
apre-condition to enforcement.


We also have concerns about the address that might be relied on for any notice. In our
experience, many of the judgments that debt collectors seek to enforce were obtained on default,
and notice of the court action was served at an outdated address. Therefore, the Proposal should
require the marshal or sheriff to verify with athird party the current address of the party against
whom they are executing to ensure that any notices sent to the consumer will actually be
received. Any notice should also be easily readable and available in languages other than
English.


As currently drafted, the Proposal requires the consumer to demonstrate to acourt that they have
"suffered asubstantial loss of income because of COVID-19." (Intro. 1912 §3(a)(3).) We have
concerns about the fairness of placing the burden of proof on vulnerable consumers who, to be
able to invoke the protections of this Proposal, necessarily have to have been adversely affected
by COVID-19.



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We also have questions about the procedure itself, and what evidence will constitute proof, as
well as the quantity and quality of such proof. We urge the Council to clarify the procedure by
which consumers would show that they have suffered asubstantial loss of income due to
COVID-19: for example, the Proposal should clarify whether consumers will have to appear in
person and testify at ahearing. Any procedure and proof requirement also must take into
account the obstacles consumers faced in seeking medical diagnosis or treatment, the likely lack
of written documentation to establish they have sought medical help, the fact that many business
establishments that employed consumers are closed and may not re-open, and the fact that
consumers may no longer have access to proof of events that occurred months before the
collection is attempted. Any proof aconsumer is able to obtain may also be of questionable
evidentiary value, through no fault of their own.


The Proposal allows asheriff or marshal to enforce ajudgment against someone who has
suffered substantial loss of income because of COVID-19 if acourt finds the consumer "has not
suffered such aloss or has effectively waived such opportunity." (Intro. 1912 §3(a)(3).) The
Proposal does not specify what would inform acourt's finding or the basis for determining that a
consumer has waived their opportunity to make aCOVID-19-related assertion. No consumer
should waive such "opportunity" to show they have been adversely affected by COVID-19
because, for example, they default on ahearing, or do not understand the procedure.


The Proposal includes several specific examples of proof that consumers may use to show they
have suffered asubstantial loss of income because of COVID-19. (Intro. 1912 §3(b)(1)(a) -O).)
We recommend that the Council add acatchall provision under which consumers can assert
reasons not included in the list to establish they should not be subject to judgment enforcement
because of aCOVID-19-related reason.


In conclusion, thank you for the opportunity to submit this testimony and offer comments on the
Council's Proposal to protect tenants and consumers during the COVID-19 crisis. We
respectfully request that the Council immediately enact Sections 1, 2, and 4of the Proposal, and
take into consideration the above requests for clarifications regarding Section 3. We remain
willing and available to discuss these concerns in more detail and to provide model language if
doing so would be helpful.



Please contact Carolyn C(,fey at Mobilization for Justice (cc(,fey@nJ1egal.org), Tashi Lhewa
at The Legal Aid Society (tlhewa@gmail.com), or Sarah Rosenthal at New York Legal Assistance
Group (Rosenthal@nylag.org) for any questions about this testimony.




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                                     THE
                                     LEGAL AID
                                     SOCIETY
                                     The Legal Aid Society
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                                      New York, NY 10038
                                         (212) 577 3300




  Testimony of The Legal Aid Society Before The New York City Council Committee on
  Housing and Buildings and Committee on Consumer Affairs and Business Licensing on
                            Int. 1912-2020 and 1936 -2020.

                                          April 28, 2020




                                           Introduction

       Thank you Chairpersons Cornegy and Cohen, and members of the Committees on

Housing and Buildings, and Consumer Affairs and Business Licensing, for the opportunity to

testify on behalf of The Legal Aid Society ("the Society"), the nation's oldest and largest not-for-

profit legal services organization. We welcome this opportunity to endorse and share our view on

legislation that would temporarily halt the seizure of property and execution of money judgments

by city sheriff and marshals, as well as, expand the definition of harassment to include threats

based on aperson having been impacted by COVID-19.

       Through anetwork of borough, neighborhood, and courthouse-based offices in 26

locations in New York City, and more than 2,000 attorneys, paralegals, social workers,

investigators and support staff, along with volunteer help coordinated by the Society's Pro Bono

program, we provide comprehensive legal services to fulfill our mission that no New Yorker


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should be denied access to justice because of poverty. Through three major practices —Civil,

Criminal, and Juvenile Rights —the Society handles approximately 300,000 cases ayear in city,

state, and federal courts. This includes over 50,000 individual civil matters and law reform cases

which benefit over 2million low-income families and individuals. The Society acts as one of

New York City's first responders, protecting and enforcing the legal rights of families and

individuals through long-term advocacy for the right to counsel in criminal defense or juvenile

justice issues, and by directly addressing emergent and systemic issues our client communities

face.

         The Society's Civil Practice improves the lives of low-income New Yorkers who struggle

daily to buy food, pay rent, achieve or maintain self-sufficiency, and keep their families healthy

and safe. Through sixteen neighborhood and courthouse-based offices in all five boroughs and

23 city-wide and special projects, the Society's Civil Practice provides direct legal assistance to

low income individuals. In addition to individual assistance, the Society represents clients in law

reform litigation, advocacy and neighborhood initiatives, and provides extensive back up support

and technical assistance to community organizations.

         The Society commends the Committees for holding today's hearings on both bills which

will provide relief to numerous New Yorker who are currently on the edge of homelessness and

financial distress. We strongly support the passage of the bills and have some suggested

recommendations to strengthen the legislation.




                                         Intro. 1912-2020

         We strongly support the passage of Intro. 1912-2020, which will temporarily halt the

taking and restitution of property and execution of money judgments by city sheriffs and



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marshals. As you are aware, the COVID-19 pandemic is causing devastating and lasting

economic hardship that disproportionately impacts low- and moderate-income New Yorkers and

communities of color. This has caused numerous low- and moderate-income New Yorkers to default

or fall behind on financial obligations, including medical bills, credit card payments, auto loans,

student loans and rent.

        The COVID-19 pandemic has amplified New York City's ongoing housing crisis in ways

that are impossible to ignore. Housing insecurity is abrutal fact of life for many New Yorkers.

Forty-four percent of New York City renters are rent burdened, and four out of ten low-income

people in New York are either homeless or severely rent burdened.' Even in astrong economy,

abudget overwhelmed by housing costs increases afamily's risk of food insecurity, lack of

access to proper medical care and eviction. With little room for savings, areduction in work

hours or an unexpected expense may cause turmoil and ultimately, displacement. Similar to the

COVID-19 pandemic, involuntary displacement is not born equally in New York City, where

low-income black and Latinx households are most impacted by eviction and homelessness.

        Housing insecurity now impacts afar broader range of households than it did earlier this

year. Reeling from asudden loss of income, low- and moderate-income renters on the precipice,

rent burdened and without savings, have now fallen off of afinancial cliff. Stay-at-home orders

triggered mass layoffs and shuttered businesses and entire industries. A weekly survey,

conducted by public health experts over the course of the pandemic, found that one in three New




'Center for Budget and Policy Priorities, New York Federal Rental Assistance Fact Sheet, (Dec. 10, 2019),
available at: https://www.cbpp.org/research/housing/federal-rental-assistance-fact-sheets#NY.
2 Oksana Mironova, Community Service Society, Where Have All the Afordable Rentals Gone? (May 2019),
available at: https://www.cssny.org/publications/entry/where-have-all-the-affordable-rentals-gone; NYU Furman
Center, COVID-19 Cases in New York City, aNeighborhood-Level Analysis, (Apr. 10, 2020), available at:
https://funyiancenter.org/thestoop/entry/covid- l9-cases-in-new-york-city-a-neighborhood-level-analysis.



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Yorkers did not pay their rent or mortgage in April.' Sixty-two percent of those who were unable

to pay their rent stated that they feared eviction.

        While New Yorkers are now protected from eviction by Governor Andrew Cuomo's 90-

day eviction moratorium, the economic landscape is unlikely to be dramatically altered by the

end of the state moratorium on June 20. 4 By June 20, renters will owe months of rental arrears

and fees; many will promptly face eviction proceedings seeking thousands of dollars of debt and

dispossession. Far from solving the crisis, the end of this short-term moratorium will be

catastrophic for renters who have not received apaycheck in months.

        The eviction of any one household is atragedy; eviction of thousands of rental

households is ahumanitarian crisis. The loss of ahome is not the only consequence of eviction,

which it can have devastating, long-term negative effects on employment outcomes, school

performance and physical and mental health.' Mass displacement will undermine recovery

efforts for the foreseeable future and traumatize entire communities. Because truly affordable

housing is in limited supply in New York City, many renters will have no choice but to double-

up with friends or family or enter ashelter system already strained by an intractable

homelessness crisis. It is likely that among those evicted will be people sick with COVID-19 or

asymptomatically and unknowingly carrying the virus.




sCUNYNew York City COVID-19 Survey Week S(April 10-12), Ci_7NY Graduate School of Public Health & Health
Policy, available at https://sph.cuny.edu/research/covid-l9-tracking-survey/week-5/.
aSee, N.Y. Executive Order 202.8, (March 20, 2020), available at:
https: //www.govemor.ny.gov/sites/govemor.ny.gov/files/atoms/files/EO_202.8.pdf
sSee, e.g., Matthew Desmond and Carl Gershenson, Housing and Employment Insecurity Among the Working Poor,
(2016), available at:
https: //scholar.harvard.edu/files/mdesmond/files/desmondgershenson. sp20l 6.pdf?m=145263 8824.




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           Other jurisdictions have recognized that an effective response to this impending eviction

crisis includes an eviction moratorium that extends passed the state of emergency.' New York

should be leading this issue, and we strongly support the passage of legislation that will allow

our communities achance to remain intact as we recover from the global pandemic.

          New Yorkers face financial challenges beyond eviction. The hardship imposed by money

judgments include anine percent post-judgment statutory interest rate; systemic and systematic

improper service of process, and failure to apply existing laws when vacatur of judgments are

sought; and abusive debt collection practices in connection with financial services and products,

such as credit cards, auto loans and leases, rental arrears, student loans, and medical debt.

          Enforcement of judgments through bank account restraint, levies, and wage garnishment

presents adire situation for the hundreds of thousands of New Yorkers who have been impacted

by the economic devastation in the wake of the pandemic. At atime when almost half of all New

Yorkers do not have even $400 in cash to pay for emergency expenses, consumers across the state

are now confronted with loss of income due to illness and workplace closures related to the

pandemic.' Many other jurisdictions and some agencies have temporarily suspended enforcement

of judgments, but there remains atremendous need to cease enforcement for the vast majority of

the remaining judgment debtors.' It is critical that this bill pass to provide temporary relief to

New Yorkers facing limited income and savings from execution of money judgments.




6 Covid-19 Housing Policy Scorecard, The Eviction Lab, available at: https://evictionlab.org/covid-policy-
scorecard/.
7   Cargill, C., Maury, M., & Wimer, C. (June 2019), Spotlight on Emergency Expenses, available at
https: //robinhoodorg-production. s3.amazonaws.com/uploads/2019/06/EMERGENCY-EXPENSE-
REPORT_6_ 19_FINAL.pdf.
s Governor Cuomo and Attorney General James Temporarily Suspend State Debt Collection in Response to

Coronavirus. (March 17, 2020), available at https://www.govemor.ny.gov/news/govemor-cuomo-and-attomey-
general fames-temporarily-suspend-state-debt-collection-response; U.S. Department of Education. Secretary DeVos
Directs FSA to Stop Wage Garnishment, Collections Actions for Student Loan Borrowers, Will REfund More Than
$1.8 Billion to Students, Families, (March 25, 2020), available at
https://content.govdelivery.com/accounts/IJSED/bulletins/283 l7e2.

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        An increasing number of judgement debtors have approached the Society in the last few

weeks seeking assistance due to frozen bank accounts and garnished wages. For example, aclient

who was working from home last week discovered that her debit card was not working due to a

restraint on her bank account by Capital One Bank. The client was the sole wage earner in her

family, until she was let go on March 20, 2020 as aresult of her employer's inability to pay

employees due to the current pandemic. The bank account contained her last paycheck and retirement

funds that her disabled husband cashed, to pay for back due rent. Without access to her bank account

she was unable to pay for food, medication, and rent for her family. There are numerous other

similarly situated New Yorkers facing ongoing debt collection, and we expect adrastic increase in

the immediate aftermath of this crisis.

        The Society suggests the following supportive amendments, which will further the bill's goal

of reducing the harm of judgment enforcement during the current pandemic. We suggest the bill

clarify what constitutes a"reasonable opportunity to show the court having jurisdiction over the

matter that such party suffered asubstantial loss of income because of COVID-19." There must be

clarity about the procedure by which one would show they "suffered asubstantial loss of income." It

is critical that the process be easily understandable and accessible by the many judgment debtors and

renters who will need to prepare for and make this showing without the assistance of an attorney.

Over 95 percent of consumers are unrepresented in debt collection cases, and pro se legal assistance

programs for consumer debtors, such as the Civil Legal Advice and Resource Office (CLARO) and

Volunteer Lawyer for the Day (VLFD), have temporarily closed due to the ongoing public health

emergency. 9 In housing court, while the majority of landlords are represented by attorneys, most

tenants appearpro se. 10




9The New York State courts estimated in 2014 that 98% of consumers were unrepresented in debt collection cases.
See N.Y. State Chief Judge Jonathan Lippman, Law Day Remarks: Consumer Credit REforms 1(transcript) (Apr.
30, 2014). That percentage has slightly decreased to 96% of consumers in 2017 following an increase in civil legal

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          Similarly, a`reasonable opportunity' to make such ashowing must ensure address

verification, as numerous default judgments that are being enforced were obtained by service of

process on incorrect addresses. 11 Last, in listing the circumstances under which ajudgment debtor or

renter would be considered to have "suffered asubstantial loss of income" due to COVID-19, it is

important that there be acatchall provision for those who faced loss of income due to COVID-19 but

are not enumerated in the listed situations.




                                                Intro. 1936-2020

         We support and urge the passage of Intro 1936-2020, which amends the definition of

harassment in the Housing Maintenance Code to include threats against an individual based on their

status as aCOVID-19 impacted person, their status as an essential employee, or their receipt of a

rental concession or forbearance for any rent owed during the COVID-19 period. Access to safe and

stable housing is critically important for New Yorkers at atime when landlords increasingly look to

force tenants to leave their homes or otherwise give up their rights under law. Lack of housing would

force thousands of tenants to survive on the streets and face increased risks for both contracting

COVID-19 and experiencing serious complications from the virus. Homeless New Yorkers

cannot isolate at home or practice social distancing in congregate shelters. Those who contract

COVID-19 are at ahigh-risk of serious complications due to high rates of underlying health

conditions such as diabetes, heart disease, asthma, and COPD.


         The Society is concerned about reports of tenants facing increasing harassment related to

COVID-19, especially senior tenants. Our experience with harassment includes baseless eviction



services funding; According to 2018 data from the New York City Civil Court, out of atotal of 100,186 consumer
credit filings, attorney answers were filed in only 3,892 actions -- which is arate of representation of only 3.88%.
10New York City Office of Civil Justice, Universal Access to Legal Services: AReport on Year One cf
Implementation in New York City, (2018).
"Creditors obtained more than approximately 700,000 default judgments in consumer credit actions filed between
2008 and 2016.

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cases, illegal rent demands, vague nuisance allegations, withholding of repairs and maintenance,

and repeated buyout offers. With the eviction moratorium issued by Governor Cuomo and other

legislative measures to temporarily halt evictions, 12 we have seen landlords resort to harassment

to remove tenants facing financial challenges due to the pandemic. The bill provides necessary

relief to tenants facing "self-help evictions" and other forms of harassment during apublic health

emergency.

        We recommend that the bill include an additional definition of "a person impacted by

COVID-19." We propose including acatchall provision for aperson who may have been

impacted by COVID-19 for purposes of the legislation but does not fall into the listed categories.




                                                       Conclusion

        We applaud the Committees for holding today's hearing on these critically important

bills. They will go along way to protect low income and vulnerable New Yorkers trying to

survive while facing unemployment and financial distress. Thank you for your leadership on

these issues and for the opportunity to testify. We look forward to working with the Committees

and the City Council in the coming months.




Respectfully submitted,




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'2 See, e.g., N.Y.S. Assembly Bill A10290/N.Y.S. Senate 508192, "Tenant Safe Harbor Act" (prohibits landlords

from evicting tenants for non-payment of rent that accrued during the current state of emergency and for six months
after its eventual end.) available at: https://nyassembly.gov/leg/?bn=A10290&term=2019; N.Y.S. Assembly Bill
A10224/N.Y.S. Senate Bill S8125A (suspends rent payment for 90 days for those who lost their jobs or had to close
their businesses because of COVID-19.) available at: https://www.nysenate.gov/legislation/bills/2019/s8l25




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